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     1              IN THE UNITED STATES DISTRICT COURT
     2               FOR THE NORTHERN DISTRICT OF OHIO
     3                        EASTERN DIVISION
     4                            - - -
     5
           IN RE: NATIONAL             :    MDL NO. 2804
     6     PRESCRIPTION OPIATE         :
           LITIGATION                  :
     7                                 :
           ------------------------------------------------
     8     THIS DOCUMENT RELATES TO    : CASE NO.
           ALL CASES                   : 1:17-MD-2804
     9                                 :
                                       : Hon. Dan A.
   10                                  : Polster
   11                          - - -
   12                      January 22, 2019
   13                          - - -
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   14                   CONFIDENTIALITY REVIEW
   15
   16                    Videotaped deposition of ANDREW
          PALMER, RPh taken pursuant to notice, was held at
   17     the law offices of Morgan, Lewis & Bockius LLP,
          1701 Market Street, Philadelphia, Pennsylvania,
   18     beginning at 9:40 a.m., on the above date, before
          Ann Marie Mitchell, a Federally Approved
   19     Certified Realtime Reporter, Registered Diplomate
          Reporter, Registered Merit Reporter and Notary
   20     Public.
   21                          - - -
   22
                          GOLKOW LITIGATION SERVICES
   23                   877.370.3377 ph| 917.591.5672
                               deps@golkow.com
   24

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    1   APPEARANCES:                                   1 APPEARANCES VIA TELEPHONE/STREAM (cont.'d):
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          gkearney@baronbudd.com                       7    Corporation
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          Representing the Plaintiffs                  8
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           Representing Teva                          14    ARNOLD & PORTER KAYE SCHOLER LLP
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           Representing Teva                                Companies, Inc.
                                                      19
   21
           COVINGTON & BURLING, LLP                   20
           BY: LAUREN C. DORRIS, ESQUIRE                    VIDEOGRAPHER:
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           ldorris@cov.com                            23      Precision Trial Solutions
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           Representing McKesson                      24              - - -
                                             Page 3                                                   Page 5
    1   APPEARANCES (cont.'d):                         1               - - -
    2                                                  2               INDEX
    3     PIETRAGALLO GORDON ALFANO BOSICK &           3               - - -
          RASPANTI, LLP                                4
    4     BY: MICHAEL A. MORSE, ESQUIRE                5
          1818 Market Street                               Testimony of: ANDREW PALMER, RPh
                                                       6   By Mr. Simmer           13, 324
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    6     mam@pietragallo.com                          7
          Representing Cardinal Health                 8
    7                                                  9              - - -
    8                                                 10
        APPEARANCES VIA TELEPHONE/STREAM:
                                                                     EXHIBITS
                                                      11              - - -
    9
                                                      12
   10
          BARON & BUDD, P.C.                               NO.            DESCRIPTION               PAGE
                                                      13
   11     BY: WILLIAM POWERS, ESQUIRE
          600 New Hampshire Avenue NW                      Rite Aid- Resume of Andrew Palmer,    22
   12     The Watergate, Suite 10-A                   14   Palmer-1 Rph, CIPP-US, LPC, CCEP
          Washington, DC 20037                        15   Rite Aid- Organizational Chart,    47
   13     (202) 333-4562                                   Palmer-2 Corporate Loss Prevention
          wpowers@baronbudd.com                       16          Department (9575), Bates
   14     Representing the Plaintiffs
   15                                                             stamped
                                                      17          Rite_Aid_OMDL_0044554, 2
   16     MARCUS & SHAPIRA LLP
          BY: RICHARD I. HALPERN, ESQUIRE                         pages
   17     301 Grant Street, 35th Floor                18
          One Oxford Centre                                Rite Aid- Annual Performance Review            93
   18     Pittsburgh, Pennsylvania 15219              19   Palmer-3 FY 2011, Bates stamped
          (412) 471-3490                                          Rite_Aid_OMDL_0050666
   19     halpern@marcus-shapira.com                  20          through
          Representing HBC Service Company
   20                                                             Rite_Aid_OMDL_0050674
                                                      21
   21
   22                                                 22
   23                                                 23
   24                                                 24

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    1   Rite Aid- PowerPoint, "Division 2    115      1
    2
        Palmer-4 Region 22 & Group 51                 2
               Regulatory Compliance
    3
               November 2010," Bates                  3
               stamped                                          - - -
    4
               Rite_Aid_OMDL_0032890
               through                                4
    5
               Rite_Aid_OMDL_0033115                      PREVIOUSLY MARKED EXHIBITS USED
    6
        Rite Aid- Email dated 2008-02-19,    148      5
        Palmer-5 Bates stamped
               Rite_Aid_OMDL_0046594 and                        - - -
    7          Rite_Aid_OMDL_0046595
    8                                                 6
        Rite Aid- Department of Justice News 164
    9
        Palmer-6 Release, "Rite Aid                   7         Novack-7
               Corporation and                                  Novack-8
   10
               Subsidiaries Agree to Pay
               $5 Million in Civil                    8
   11
               Penalties to Resolve                   9
               Violations in Eight States
   12
               of the Controlled                     10
   13
               Substances Act," 2 pages              11
        Rite Aid- Article from the Lexington 167
   14
        Palmer-7 Herald Leader entitled              12
               "Rite Aid Pharmacy deemed
   15
               central to multi-state                13
   16
               drug probe," 3 pages                  14
        Rite Aid- PowerPoint, "Government      179
   17
        Palmer-8 Affairs DEA Compliance,"            15
               Bates stamped                         16
   18
               Rite_Aid_OMDL_0039845
               through                               17
   19
               Rite_Aid_OMDL_0039923                 18
   20
        Rite Aid- Email chain, top one dated 206     19
        Palmer-9 October 02, 2008, Bates
   21
               stamped                               20
               McKesson_MDL_00628212, 2              21
   22
               pages
                                                     22
   23
        Rite Aid- Email chain, top one dated 215     23
        Palmer-10 08 Dec 2008, Bates stamped
   24
               MCKMDL00628110 and                    24
               MCKMDL00628111
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    1   Rite Aid- Email chain, top one dated 218      1         - - -
    2
        Palmer-11 Feb 16 06, Bates stamped            2      DEPOSITION SUPPORT INDEX
               MCKMDL00536012 and                     3         - - -
    3
               MCKMDL00536013                         4
    4
        Rite Aid- Email chain, top one dated 220          Direction to Witness Not to Answer
        Palmer-12 19 Aug 2009, Bates stamped          5
               MCKMDL00627812 through
    5
    6
               MCKMDL00627814                                    Page Line
        Rite Aid- Email chain, top one dated 230      6
    7
        Palmer-13 19 Aug 2009, 4 pages                            18 9
        Rite Aid- Email chain, top one dated 231      7           19 18
    8   Palmer-14 25 Oct 2010, Bates stamped
               MCKMDL00629074 and                                 20 15
    9                                                 8           85 14
               MCKMDL00629075
   10   Rite Aid- Email chain, top one dated 239                  103 1
   11
        Palmer-15 30 Nov 2010, Bates stamped          9           104 8
               MCKMDL00628996 and                                 104 19
               MCKMDL00628997                        10
   12                                                             110 6
   13
        Rite Aid- Email chain, top one dated 247                  110 19
        Palmer-16 25 Mar 2011, Bates stamped         11           111 6
               MCKMDL00629858 and 629859
   14                                                             111 23
   15
        Rite Aid- Email chain, top one dated 252     12           289 7
        Palmer-17 31 Mar 2011, Bates stamped         13
   16
               MCKMDL00627679                        14

   17
        Rite Aid- Email dated December 03, 258       15   Request for Production of Documents
        Palmer-18 2008, Bates stamped                16          Page Line
   18
               MCKMDL00628183                        17

   19
        Rite Aid- Email chain, top one dated 276     18
        Palmer-19 2011-01-17, Bates stamped          19
   20
               Rite_Aid_OMDL_0050633                            Stipulations
   21
        Rite Aid- PowerPoint, "Anatomy of a 303      20
        Palmer-20 Pharmacy Case Presented by                     Page Line
   22
               Director Pharmacy Loss                21
               Prevention Andy Palmer,"
   23
               Bates stamped                         22
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   24
               through                               24
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    1        Certified Questions and Answers             1   suspicious orders that you recall, these three
    2               Page Line                            2   committees?
    3               110 2                                3             MR. LAVELLE: Again, objection to
    4                                                    4        the extent you would have to disclose
    5   BY MR. SIMMER:                                   5        attorney-client communications to answer
    6        Q. As far as you recall, however,           6        this question, which is seeking the
    7   you don't recall ever that any of these          7        substance of discussions that occurred,
    8   committees discuss a specific instance of --     8        including the pharmacy compliance
    9   concerning a suspicious order. Right?            9        committee. I direct the witness not to
   10             MR. LAVELLE: Objection to the         10        answer the question.
   11        form of the question. And I also object    11             THE WITNESS: At the advice of
   12        and direct the witness not to answer to    12        counsel, I will not answer the question.
   13        the extent it would disclose the           13
   14        substance of attorney-client               14                - - -
   15        communications.                            15     (End of certified questions and answers.)
   16             THE WITNESS: Yeah. At the             16               - - -
   17        advice of counsel, I'm not going to        17
   18        answer that question.                      18
   19   BY MR. SIMMER:                                  19
   20        Q. It was a yes or no question. I          20
   21   didn't ask you to divulge any attorney-client   21
   22   communications. You can answer.                 22
   23             MR. LAVELLE: Again, I direct the      23
   24        witness not to answer. It was a yes or     24

                                             Page 11                                                 Page 13
    1      no question seeking the substance of a        1              THE VIDEOGRAPHER: We are now on
    2      communication. So, yes, it does invade        2         the record. My name is Devyn Mulholland.
    3      the attorney-client privilege                 3         I'm a videographer for Golkow Litigation
    4      potentially.                                  4         Services. Today's date is January 22,
    5           MR. SIMMER: How in the world             5         2019. The time is 9:40 a.m. This video
    6      does that involve an attorney-client          6         deposition is being held in Philadelphia,
    7      communication? You've established no          7         Pennsylvania, in the matter of National
    8      predicate whatsoever for the objection.       8         Prescription Opiate Litigation. The
    9           You can answer.                          9         deponent is Andrew Palmer. Counsel will
   10           MR. LAVELLE: No, you can't.             10         be noted on the stenographic record.
   11      Direct the witness not to answer.            11              The court reporter is Ann Marie
   12           THE WITNESS: I don't even know          12         Mitchell, who will now swear in the
   13      what predicate means.                        13         witness.
   14           MR. SIMMER: He hasn't even              14                  - - -
   15      established that there was any kind of       15              ANDREW PALMER, RPh, after having
   16      attorney-client communication going on       16         been duly sworn, was examined and
   17      with regard to suspicious order              17         testified as follows:
   18      monitoring for these committees.             18                  - - -
   19           THE WITNESS: Yeah --                    19                 EXAMINATION
   20           MR. LAVELLE: Wait until he asks         20                  - - -
   21      a question that is directed to you. He's     21   BY MR. SIMMER:
   22      just arguing with me.                        22         Q. Good morning, sir. My name is
   23   BY MR. SIMMER:                                  23   Scott Simmer on behalf of the plaintiffs in this
   24      Q. Did the committees ever deal with         24   case.

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    1             Have you ever been deposed               1         Q. What's your understanding of why
    2   before?                                            2   you are here today?
    3        A. I've done grand jury testimony             3         A. My understanding, I'm here to
    4   before. I don't know if that's the same thing.     4   provide testimony regarding national type of
    5        Q. Okay. Well, let's go over some             5   litigation involving opioids.
    6   ground rules, just to make sure that we            6         Q. Have you ever reviewed any of the
    7   understand how we have to proceed today.           7   pleadings in this case?
    8             I'm going to be asking a series          8         A. No.
    9   of questions. You're going to answer. The court    9         Q. How did you develop your
   10   reporter is taking down word for word what each   10   understanding of what this case is about?
   11   of us says. That's -- it's important that we      11         A. General understanding from
   12   don't talk over each other.                       12   counsel and, you know, our legal department at
   13        A. Okay.                                     13   Rite Aid.
   14        Q. So -- and you have to answer              14         Q. So who have you spoken to about
   15   verbally, not nodding your head.                  15   this case?
   16             Do you understand?                      16         A. I've spoken to counsel.
   17        A. Yes.                                      17         Q. And you're pointing to whom?
   18        Q. Please wait before you answer to          18         A. To John and Kelly and other John,
   19   ensure I'm done before answering the question.    19   who is not here, and Matt.
   20             Is that fair?                           20         Q. You said you spoke to in-house
   21        A. Yes.                                      21   counsel as well?
   22        Q. And answer fully and accurately           22         A. Yes.
   23   and verbally, as I said.                          23         Q. And who is that?
   24             Do you understand?                      24         A. Jim Comitale is our general
                                                Page 15                                                Page 17
    1         A. Yes.                                      1   counsel. You know, this is a general topic in
    2         Q. And if you don't understand a             2   some of our --
    3   question, please say so and I'll attempt to        3             MR. LAVELLE: Object. Direct the
    4   rephrase. Otherwise, I'm going to assume you       4         witness not to disclose the substance of
    5   understand my questions. Okay?                     5         any communications. And I don't think
    6         A. Yes.                                      6         counsel has asked you for that. He just
    7         Q. And you understand you're going           7         asked you the names of people.
    8   to -- you need to answer truthfully, too.          8             THE WITNESS: There you go.
    9   Correct?                                           9   BY MR. SIMMER:
   10         A. Yes.                                     10         Q. When did you meet with them?
   11         Q. Okay. You can request a break at         11         A. I met with Kelly and Matt
   12   any time. I just ask that if a question is        12   yesterday. And with John and John Malloy -- I
   13   pending, you answer before we take our break.     13   can't remember when that was. Earlier than that.
   14             Is that okay?                           14   I believe that was last week.
   15         A. Okay.                                    15         Q. How long have you met with
   16         Q. And from time to time, one of the        16   counsel?
   17   attorneys may lodge an objection. Unless you're   17         A. Each meeting was probably
   18   instructed not to answer, you do need to answer   18   approximately five hours.
   19   the question.                                     19         Q. Did they show you documents?
   20         A. Okay.                                    20         A. They did.
   21         Q. Do you understand? Okay.                 21         Q. And what's the approximate number
   22             Is there any reason why you             22   of documents you looked at?
   23   cannot testify truthfully and accurately today?   23         A. Gosh. Maybe approximately 30.
   24         A. No.                                      24         Q. And what types of documents were

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    1   they?                                               1              Did they ask you to provide the
    2         A. There were some email documents,           2   documents on your computer?
    3   some presentations, some forms, things of that      3              MR. LAVELLE: Same objection.
    4   nature.                                             4   BY MR. SIMMER:
    5         Q. Okay. And you said you'd been              5         Q. You can answer.
    6   involved in a grand jury before?                    6         A. At an earlier point I believe
    7         A. Yes.                                       7   they did a diligence type of...
    8         Q. What was that about?                       8         Q. What types of things did they get
    9              MR. LAVELLE: Objection. Direct           9   from you?
   10         the witness not to answer. I think this      10         A. I believe that would be things
   11         is protected grand jury information.         11   like email.
   12   BY MR. SIMMER:                                     12         Q. Okay. Did they ask for any
   13         Q. Is this a case that's still under         13   documents that you stored on the hard drive of
   14   seal, as far as you know?                          14   your computer?
   15         A. I would not know the answer to            15              MR. LAVELLE: Again, object, the
   16   that.                                              16         witness not to answer to the extent it
   17         Q. Nothing about the grand jury --           17         would disclose the substance of
   18   in the grand jury process has been made public     18         attorney-client communications.
   19   that you know of?                                  19   BY MR. SIMMER:
   20         A. I don't know.                             20         Q. Did you provide a hard copy or
   21         Q. Was this as a witness in the              21   documents that were stored on the hard drive of
   22   grand jury you gave testimony?                     22   your computer?
   23         A. I'm not entirely sure I                   23         A. I don't know what -- that's a
   24   understand that either. I was asked to go and I    24   diligence IT-type process. I honestly don't
                                                Page 19                                                  Page 21
    1   went.                                               1   know.
    2         Q. When was this?                             2         Q. Did you provide copies of any
    3         A. Approximately a year ago, I                3   hard copy documents you had in your possession?
    4   believe.                                            4         A. No, no.
    5         Q. Where was it?                              5         Q. So documents that you created for
    6         A. It was in West Virginia.                   6   the company, where do you store those documents?
    7         Q. Other than the grand jury                  7         A. Well, there's email, which would
    8   testimony, have you given testimony in any other    8   be -- you know, we use Outlook for our email, so,
    9   matter?                                             9   you know, there's your inbox or -- would be where
   10         A. No.                                       10   emails would be available. You know, archive
   11         Q. Have you been involved in                 11   inbox, emails would be available. And then at
   12   litigation of any kind before?                     12   Rite Aid we have a shared drive where documents
   13         A. No.                                       13   can be available. Or your -- just your normal
   14         Q. In conjunction with your                  14   like -- what do they call, like a C drive.
   15   testimony today, did your counsel ask you to       15         Q. Okay. The C drive is what kind
   16   provide copy of your documents that were on your   16   of -- what documents are stored on the C drive?
   17   computer?                                          17         A. Whatever an individual puts on
   18              MR. LAVELLE: Objection. Direct          18   there. Same with the shared drive or anything
   19         the witness not to answer to the extent      19   else.
   20         it would disclose the substance of           20         Q. Okay. And did that -- and where
   21         attorney-client communications.              21   you stored documents, did that change as you went
   22   BY MR. SIMMER:                                     22   through your different jobs at the company?
   23         Q. I asked you a yes or no question.         23         A. Not in general, no, no.
   24   I'm not asking for the substance.                  24         Q. So the shared drive was something

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    1   that was common to all employees for Rite Aid       1   resume that you prepared and I guess then stored
    2   that could put documents on there?                  2   on LinkedIn?
    3         A. Yes, I believe so.                         3         A. This is not a resume, but this is
    4         Q. Okay. And is that all employees            4   a LinkedIn profile.
    5   that worked in the corporate headquarters.          5         Q. Very good.
    6   Correct?                                            6             Can we start with your
    7             MR. LAVELLE: Object. Object to            7   educational background, if you turn to the second
    8         form.                                         8   page of this.
    9             THE WITNESS: I believe all                9         A. Uh-huh.
   10         employees that work in the corporate         10         Q. It says that you went to the
   11         headquarters would have access to a          11   University of Cincinnati; is that correct?
   12         shared drive.                                12         A. That is correct.
   13   BY MR. SIMMER:                                     13         Q. And you have a BS in pharmacy
   14         Q. I want to go over some of your            14   that you received from the University of
   15   background.                                        15   Cincinnati?
   16                  - - -                               16         A. That is correct.
   17             (Deposition Exhibit No. Rite             17         Q. Any other college education
   18         Aid-Palmer-1, Resume of Andrew Palmer,       18   beyond that?
   19         Rph, CIPP-US, LPC, CCEP, was marked for      19         A. No.
   20         identification.)                             20         Q. I think you said before we got
   21                  - - -                               21   started that you have an RPh?
   22   BY MR. SIMMER:                                     22         A. Yes. RPh stands for registered
   23         Q. I'll hand you what we've marked           23   pharmacist.
   24   as Palmer Exhibit Number 1.                        24         Q. Okay. And that's -- it's simply
                                                Page 23                                                  Page 25
    1        A. Yep.                                        1   the licensure that you received, not an
    2        Q. I'll identify it for the record             2   indication of your degree. Right?
    3   as your resume that -- I think this is something    3              MR. LAVELLE: Object to form.
    4   we got off of LinkedIn.                             4              THE WITNESS: Yes. To be a
    5             Would you take a little moment to         5         registered pharmacist, you have to be
    6   look at that?                                       6         licensed.
    7             MR. LAVELLE: While the witness            7   BY MR. SIMMER:
    8        is reviewing, I'll just note that the          8         Q. Where are you licensed as a
    9        realtime is not working over here on this      9   pharmacist?
   10        side, so when we have a break, we'll need     10         A. I hold licenses in Ohio, Kentucky
   11        to address that.                              11   and Pennsylvania.
   12             MR. SIMMER: Can we go off the            12         Q. So -- and your resume or your,
   13        record for a moment and see if we can get     13   excuse me, your profile indicates that you
   14        that up?                                      14   graduated in 1989; is that correct?
   15             THE VIDEOGRAPHER: Off the record         15         A. That is correct.
   16        at 9:50 a.m.                                  16         Q. What was your first job
   17                 - - -                                17   post-graduation?
   18             (A discussion off the record             18         A. My first job post-graduation was
   19        occurred.)                                    19   for a company called SupeRX. They're no longer
   20                 - - -                                20   in existence. They were bought up a long, long
   21             THE VIDEOGRAPHER: We are back on         21   time ago. But I was a staff pharmacist for
   22        the record at 9:50 a.m.                       22   SupeRX Drugs in the Cincinnati, Ohio area.
   23   BY MR. SIMMER:                                     23         Q. How long did you hold that job?
   24        Q. This appear to be the -- your              24         A. I don't recall the exact time,

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    1   but at some point I transferred from the Ohio        1   would get a permanent opening.
    2   area across the river. Cincinnati's right on the     2              So initially I worked in multiple
    3   river with Kentucky. I was asked to take on a        3   locations.
    4   pharmacy manager role at a location in Kentucky,     4         Q. Was there a region of the country
    5   across the river. So I reciprocated licensure        5   where you served as a floater?
    6   into Kentucky and opened up a new store as the       6         A. Yes. Northern Kentucky.
    7   pharmacy manager for the Kentucky location.          7         Q. So you were still living in the
    8        Q. Again for SupeRX?                            8   same location where you had been?
    9        A. For SupeRX, yes, correct.                    9         A. Yes.
   10        Q. Just -- can we make sure we spell           10         Q. How long did you hold this
   11   SupeRX correctly? Could you spell it for the        11   position as a staff pharmacist?
   12   record, please?                                     12         A. I was promoted to pharmacy
   13        A. Yes. S-U-P-E-R-X.                           13   manager at a particular Rite Aid location,
   14        Q. How long did you hold this                  14   probably about a year or a little under a year
   15   position as pharmacy manager?                       15   after coming to work for Rite Aid.
   16        A. Let's see. Well, SupeRX was                 16         Q. So what, 1998, do you think?
   17   eventually purchased by Revco. So I was the         17              MR. LAVELLE: Object to form.
   18   pharmacy manager at that location for SupeRX for    18              THE WITNESS: I think early 1998
   19   a period of probably a year or a little more.       19         is probably correct.
   20   And then Revco eventually purchased the company     20   BY MR. SIMMER:
   21   SupeRX. So then I was the same position, same       21         Q. What were your responsibilities
   22   location, just with Revco versus SupeRX. And        22   as a manager?
   23   then eventually I left Revco.                       23         A. I was the pharmacy manager at a
   24        Q. And what year did you leave                 24   location in Falmouth, Kentucky initially. And as
                                                 Page 27                                                  Page 29
    1   Revco?                                               1   a pharmacy manager, responsibilities include
    2          A. I'm trying to think. It was                2   things like, you know, scheduling your staff, you
    3   around the time of my second kid, so -- I do know    3   know, ordering product, ensuring that
    4   what year that was. I would say 1997 or maybe        4   prescriptions are filled accurately and
    5   late 1996 I left Revco.                              5   correctly. You know, and -- you know, providing
    6          Q. And the pharmacies that you                6   patient counseling and, you know, basically just
    7   worked for for SupeRX and then later for Revco,      7   ensuring quality patient care to the community
    8   is it correct that those pharmacies dispensed        8   that you -- you're responsible for.
    9   controlled substances?                               9         Q. I believe that Rite Aid tracks or
   10          A. That is correct.                          10   keeps track of its pharmacies with a four-digit
   11          Q. You say you left Revco in 1997.           11   number.
   12              What was your next position?             12              Do you know what the four-digit
   13          A. Well, 1996 or 1997, I'm not               13   number was for this Falmouth, Kentucky Rite Aid
   14   100 percent certain.                                14   pharmacy that you -- where you were manager?
   15              But my next position was a staff         15         A. I do not. And it doesn't exist.
   16   pharmacist for Rite Aid.                            16   It hasn't existed for a long time.
   17          Q. Where was that?                           17         Q. That particular pharmacy doesn't
   18          A. Initially I was kind of a -- the          18   exist anymore?
   19   term that's frequently used in the industry is      19         A. It was sold to CVS. All of the
   20   floater person for Rite Aid. So I was not           20   Northern Kentucky pharmacies were sold to CVS at
   21   necessarily permanently assigned to a single        21   some point in time.
   22   location. It was, you know, fairly common to        22              And just to be clear, I believe
   23   kind of get initially hired on as a floater. And    23   at least today the store numbers are actually
   24   then when there was a permanent opening, you        24   five-digit numbers.

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    1       Q.       Are they? Okay.                        1   technician training program that was in its
    2               How long did you have that job as       2   infancy. And so I would travel throughout the
    3   the manager of the Falmouth, Kentucky pharmacy?     3   region and conduct technician training sessions.
    4          A. I would say a little under a              4         Q. You said you also received
    5   year.                                               5   training yourself to enhance your skills; is that
    6          Q. What was your next -- before I            6   right?
    7   move to that.                                       7              MR. LAVELLE: Object to form.
    8          A. Uh-huh.                                   8              THE WITNESS: I don't believe I
    9          Q. Did you dispense controlled               9         said that.
   10   substances from that pharmacy?                     10   BY MR. SIMMER:
   11          A. Yes.                                     11         Q. I'm sorry.
   12          Q. What was your next position after        12              I think you talked about how you
   13   your manager position at the Falmouth, Kentucky    13   received skills to work in the front end store;
   14   Rite Aid pharmacy?                                 14   is that right?
   15          A. That's a little hard to describe,        15              MR. LAVELLE: Object to form.
   16   because at that point in time, I was kind of       16              THE WITNESS: As part of my
   17   identified as somebody that, you know, both had    17         development, in preparation to possibly
   18   an interest in as well as was recognized as a      18         be a district manager, I spent some time
   19   potential candidate for a higher-level position.   19         learning the front end of the store.
   20   So I did a lot of things for the region in         20   BY MR. SIMMER:
   21   preparation for that. So I -- at that point, I     21         Q. During this time before you
   22   still filled in more like a floater                22   became a district manager, did you receive any
   23   pharmacist-type concept, if I was needed. But I    23   training in the handling of controlled
   24   also did additional responsibilities like          24   substances?
                                                Page 31                                                  Page 33
    1   conducting, you know, training sessions in the      1         A. Not as part of that, no.
    2   region, like I actually spent some time learning    2         Q. Had you received any training
    3   and working as a front end store manager. And I     3   prior to this time in the handling of controlled
    4   did a lot of, you know, training, regional-type     4   substances?
    5   training. And basically activities designed to      5         A. As a pharmacist, you know,
    6   prepare me for a potential district level role.     6   pharmacy -- what you learn in pharmacy school.
    7         Q. What region was this?                      7         Q. What kind of coursework did you
    8         A. This would be Kentucky, although           8   have in pharmacy school on the handling of
    9   there were stores in Kentucky, Tennessee, the       9   controlled substances?
   10   region had some stores in Indiana. I don't         10         A. Yeah, I don't recall. That's a
   11   recall if there were a couple in Ohio, but the     11   long time ago.
   12   easiest way to describe that region would be the   12         Q. So after this position, I'm not
   13   Kentucky region. That's how I would describe it.   13   sure there was a title for it, but after this
   14         Q. You said you did some training in         14   position, what was your next position you had
   15   the region.                                        15   with Rite Aid?
   16              What kind of training was this?         16         A. Pharmacy district manager.
   17         A. I did some training on the                17         Q. And is that what's reflected on
   18   computer system. So, for instance, new             18   your profile on page 2, pharmacy district
   19   technicians, you know, I would teach them the      19   manager, March 2000?
   20   basics of how to, you know, do things on the --    20         A. Yes. But I would like to
   21   on the computer.                                   21   clarify.
   22              I did some training on                  22             I believe the initial title was
   23   nutritional supplements at one point in time.      23   pharmacy development manager. It's always been
   24              And at that time we had a               24   referred to as PDM, but I believe when I took the

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    1   job it was called pharmacy development manager.      1   arrangement are you talking about changed over
    2   And then later on, it became pharmacy district       2   time?
    3   manager. But it's the same job with the same --      3         A. District level leadership at
    4   an acronym, but just to...                           4   retail pharmacy locations.
    5         Q. And is the date on your profile             5         Q. Do you mean who held the
    6   accurate, it was March 2000?                         6   positions or is it something different?
    7         A. Yes.                                        7              MR. LAVELLE: Object to form.
    8         Q. And was this in the same area               8              THE WITNESS: No. I would say
    9   where you had been working already in Kentucky?      9         organizational structure.
   10         A. It was, although I primarily, as           10   BY MR. SIMMER:
   11   a pharmacy district manager, had the more eastern   11         Q. So the positions themselves
   12   part of Kentucky. So as pharmacy district           12   changed; is that right?
   13   manager initially, my area was the eastern, I       13         A. The positions and
   14   would say third of the state.                       14   responsibilities, yes.
   15         Q. And what were your                         15         Q. As pharmacy district manager, did
   16   responsibilities as pharmacy district manager?      16   you have oversight responsibility for controlled
   17         A. So as pharmacy district manager,           17   substances?
   18   you would be responsible for staffing your          18         A. I would say that the pharmacy
   19   stores. You would be responsible for ensuring       19   manager had oversight regarding the dispensing of
   20   that the stores are open all of the scheduled       20   controlled substances in the store locations, but
   21   hours; for ensuring that, you know, vacations are   21   there were certain activities that I think would
   22   covered; for ensuring that, you know, your          22   fall into that bucket.
   23   associates are, you know, being taken care of.      23         Q. And what were those activities?
   24             Recruiting was a big part of the          24         A. One example I could provide is
                                                 Page 35                                                  Page 37
    1   job back then. So you would work with the school     1   back then, we had a report, a paper report called
    2   of pharmacy. I actually, you know, worked very       2   the Above Average report. And as a pharmacy
    3   closely with the students, you know, at the          3   district manager, it would be our responsibility
    4   school and things like that. You would also          4   to follow up on those and respond back.
    5   recruit existing pharmacists that were already       5         Q. What information was captured in
    6   working at other locations, be responsible for,      6   the Above Average report?
    7   you know, the overall, you know, administrative      7         A. The report, as I remember it
    8   aspect of running multi-unit locations.              8   being constructed, would have like a store number
    9             There was also a district                  9   and a particular kind of prescription at that
   10   manager. So at that point in time, there was a      10   store where, you know, the ordered amount
   11   district manager and a pharmacy district manager.   11   compared to -- I'm not sure how it worked exactly
   12         Q. What's the difference between the          12   at that time, but like the dispensed amount, you
   13   two positions?                                      13   know, was something that they wanted to be looked
   14         A. The district manager at Rite Aid           14   into.
   15   at that point in time had the overall               15         Q. Was this true for all drugs that
   16   responsibility for the stores. And the pharmacy     16   were ordered by the stores or just a certain
   17   district manager was more specific to, you know,    17   subset of the drugs ordered by the stores?
   18   the pharmacy piece, the recruitment piece, the      18              MR. LAVELLE: Object to form.
   19   staffing piece, the scheduling piece. You know,     19              THE WITNESS: Yeah, I really
   20   that arrangement, you know, sort of shifts and      20         can't answer that, cause I don't -- I
   21   changes throughout the years and throughout the     21         mean, at that point in time, I received,
   22   industry. But that's how it was at that point in    22         you know, a report, and I had a job to
   23   time.                                               23         do, which was to respond back on the
   24         Q. Just to be clear, what                     24         report. So I can't 100 percent say how

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    1         it was constructed.                               1         A. At that point in time, no, not
    2   BY MR. SIMMER:                                          2   that I'm aware of.
    3         Q. What kind of training did you                  3         Q. Do you know who had that
    4   receive in order to perform your job as a               4   responsibility to approve threshold increases?
    5   pharmacy district manager?                              5         A. No, not at that time.
    6         A. One of the things that they did                6         Q. How many pharmacies were you
    7   back then was they would take a pharmacy district       7   overseeing as pharmacy district manager?
    8   manager -- new pharmacy district manager and have       8         A. It varied over the course of this
    9   you spend some time with an existing pharmacy           9   time frame. So I would say on the low end, 25.
   10   district manager, or they were called pharmacy         10   On the high end, maybe 45. There were some
   11   development managers at that time. So one of the       11   times, for instance, during that time period
   12   things that they did training-wise is you would        12   where -- like if there was a vacancy in a
   13   spend I believe about a week, like with --             13   neighboring area that a different pharmacy
   14   traveling with another experienced pharmacy            14   development or district manager served, you know,
   15   development manager to learn the ropes, so to          15   they would divide it up and like the other two
   16   speak.                                                 16   neighbors would cover parts of it until they
   17             At that time, they also brought              17   hired someone in. So I think the range, I would
   18   you up to corporate for a few days, where              18   say, is 25 to 45.
   19   different like corporate people that had               19         Q. And just to make sure we cover
   20   knowledge of different aspects of the business         20   that -- and maybe it was a well-defined area, but
   21   would spent some time with you as well.                21   what was the approximate area or geographic area
   22             So I would say it was a                      22   that you covered while you were a pharmacy
   23   combination of some sort of corporate class-like       23   district manager?
   24   training with what I would describe more as, you       24         A. So initially the approximate area
                                                    Page 39                                                         Page 41
    1   know, real world training done with a -- with an        1   I covered was Eastern Kentucky. Like I said,
    2   experienced buddy.                                      2   that would be sort of the, you know, third of the
    3         Q. Did you receive training in how                3   state over this way. Pikeville, Prestonsburg,
    4   to handle controlled substances?                        4   Paintsville, that part of the state.
    5         A. I don't recall anything specific               5             I still lived in Northern
    6   to controlled substances. Like I said, a lot of         6   Kentucky, so that was not particularly convenient
    7   it, you know, was traveling with your experienced       7   for me, but, you know, you have to make
    8   pharmacy development manager. So I'm sure that          8   sacrifices to, you know -- like that to get the
    9   the things that, you know, you spent time on            9   job.
   10   together probably depended a little bit on what        10             So, you know, it was always kind
   11   that person had going on at that point in time.        11   of an understanding that if something closer
   12   But I don't recall anything specific.                  12   opened up, that I would be able to put in and get
   13         Q. Is it correct that during this                13   that. So at some point during this time frame, I
   14   time period that Rite Aid had a threshold system       14   went from having Eastern Kentucky to what I would
   15   for limiting the amount of controlled substances       15   describe as South Central Kentucky. So South
   16   that pharmacies could order?                           16   Central Kentucky would be like Richmond,
   17              MR. LAVELLE: Object to form.                17   Lexington, Berea. Less eastern and more middle
   18              THE WITNESS: I don't know at                18   of the state.
   19         that point in time if they did or did            19         Q. And approximately when did you
   20         not.                                             20   assume responsibilities for South Central
   21   BY MR. SIMMER:                                         21   Kentucky?
   22         Q. Did you have any supervisory                  22         A. I would say about the midpoint of
   23   authority over approving threshold increases for       23   that three-year time frame. So I'm guessing late
   24   the pharmacies that you managed?                       24   2001, maybe early 2002. I don't recall the exact

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    1   point in time.                                      1   2010.
    2         Q. And did you manage those South             2             Was this still on the corporate
    3   Central Kentucky pharmacies until you left this     3   headquarters?
    4   position in April 2003?                             4         A. Yes.
    5         A. That's correct. At the time that           5         Q. And what were your
    6   I came up to corporate, I was managing the more     6   responsibilities?
    7   south central area at that time.                    7         A. With the director of pharmacy
    8         Q. The next position on your profile          8   loss prevention position, my responsibilities
    9   you state is the senior manager, third-party        9   basically revolved around pharmacy shrink,
   10   operations.                                        10   controlling pharmacy shrink, improving pharmacy
   11             Can you tell us what that                11   shrink, developing programs and techniques to
   12   position entailed?                                 12   improve.
   13         A. Okay. So third-party operations           13         Q. And what do you mean by "pharmacy
   14   basically pertains to claims -- to pharmacy        14   shrink"?
   15   claims. So there's various components to that.     15         A. Okay. "Shrink" is sort of a
   16   There's processing of the claims, there's the      16   retail industry term that basically means a loss
   17   adjudication process. There is the plan setup in   17   of inventory, a comparison of book to physical
   18   order for all that to occur in the stores. And     18   inventory, a shortage.
   19   there also was a third-party call center. So       19         Q. So this was a responsibility for
   20   those were the types of activities.                20   every pharmacy that Rite Aid owned nationally?
   21         Q. Do I understand it correctly that         21         A. Yes. This was a corporate
   22   this third-party operations position was about     22   position. So this was not the kind of position
   23   the payment of claims?                             23   that was like the pharmacy district manager role.
   24             MR. LAVELLE: Object to form.             24   It wasn't a specific, you know, region or part of
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    1              THE WITNESS: I would say it's            1   the country. This was a corporate position.
    2         more than that. It's also the                 2         Q. How were you trained to perform
    3         infrastructure and support to enable          3   your new job?
    4         those things to occur.                        4         A. A lot of this one was learn as
    5   BY MR. SIMMER:                                      5   you go. I did have one predecessor. This was a
    6         Q. The title of the position, it              6   relatively new position. But I did have one
    7   says here, senior manager.                          7   predecessor that spent some time with me to, you
    8              Were you always the senior               8   know, sort of teach a little bit.
    9   manager of third-party operations during this       9              There also was a senior director
   10   time period?                                       10   of, for lack of a better term, regular loss
   11         A. April 2003 to January 2007, yes.          11   prevention, who was a very, very veteran person
   12         Q. Okay. And did you still live in           12   who also spent some time. But being a relatively
   13   Northern Kentucky at this time?                    13   new position, a lot of it was, you know, create
   14         A. No, no, no. This is -- this               14   and learn on your own.
   15   position is a corporate position. So to do this    15         Q. So are you saying that you
   16   position, I had to move from Kentucky to           16   created the job description yourself?
   17   Pennsylvania.                                      17              MR. LAVELLE: Object to form.
   18         Q. Okay. What responsibility did             18              THE WITNESS: No. As I stated
   19   you have with regard to controlled substances in   19         before, I did have one predecessor, so
   20   this position?                                     20         the job description would have existed
   21         A. Really none.                              21         before I arrived.
   22         Q. The next position you have on             22   BY MR. SIMMER:
   23   your profile is as director, pharmacy loss         23         Q. Did the job change when you took
   24   prevention in January 2007 and through August      24   over?

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    1         A. I would think with any corporate            1   as a two-page document, Bates ending
    2   job, part of your job is to change the position.     2   Rite_Aid_OMDL_0044554. And the second page is
    3   So yes. I mean, I implemented programs and           3   cut off, so...
    4   procedures that certainly didn't exist when I        4              MR. LAVELLE: I'll just note for
    5   took the role. I think that's true of any role       5         the record that the copies that have been
    6   at that sort of level.                               6         marked, the Bates numbers don't appear on
    7         Q. Who was your predecessor?                   7         them. It's obscured. As well as the
    8         A. My predecessor in this role was             8         confidentiality.
    9   Tammy Royer. She was the first director of           9              MR. SIMMER: John, what I would
   10   pharmacy loss prevention.                           10         suggest is, as we did in the prior
   11         Q. Could you spell her last name,             11         deposition where we had this issue, we'll
   12   please?                                             12         replace this document with one with a
   13         A. Yes. R-O-Y-E-R.                            13         Bates numbering on it.
   14         Q. You said you received some                 14              MR. LAVELLE: As long as we are
   15   training from her?                                  15         consulted and can agree on that, that's
   16         A. Tammy sat down with me on a                16         fine.
   17   couple of occasions and, you know, provided the     17              MR. SIMMER: That's exactly what
   18   kind of, okay, here's your desk, here's your        18         we did last time, so we'll do the same
   19   office, here's -- here's what I do, you know,       19         thing this time.
   20   today in my role. She actually had already left     20              MR. LAVELLE: Okay. Very good.
   21   the role for another position at that point, so     21              MR. SIMMER: Is that okay?
   22   she was kind enough to, you know, come back and     22              MR. LAVELLE: Absolutely. Thank
   23   spend some time with me to sort of show me the      23         you.
   24   ropes, so to speak.                                 24   BY MR. SIMMER:

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    1         Q. You said there was another                  1         Q. Do you recognize this document?
    2   individual that handled loss prevention in           2         A. I do not specifically.
    3   another part of the company that also gave you       3         Q. In the lower left-hand corner, do
    4   training.                                            4   you see where it says "January 2010"?
    5             Who was that?                              5         A. I do see that.
    6         A. So Cathy Langley. And again, I              6         Q. And you see that at the top of
    7   think in that case, you know, I would say less       7   the document, "Corporate Loss Prevention
    8   training but, you know, certainly mentoring,         8   Department."
    9   advising, you know. It's hard to say where           9              Do you see that?
   10   training and mentoring and guiding come to play.    10         A. I do see that.
   11   But certainly Cathy was a valuable mentor.          11         Q. Was that the department you
   12         Q. Let me hand you what we've marked          12   worked at?
   13   as Palmer Exhibit 2.                                13         A. Yes.
   14                 - - -                                 14         Q. And do you see right below that,
   15             (Deposition Exhibit No. Rite              15   it says, "28 Filled Positions, 2 Open Positions,
   16         Aid-Palmer-2, Organizational Chart,           16   3 Vendor-Paid Positions"?
   17         Corporate Loss Prevention Department          17              Do you see that?
   18         (9575), Bates stamped                         18         A. I do.
   19         Rite_Aid_OMDL_0044554, 2 pages, was           19         Q. Do you have an idea what that's
   20         marked for identification.)                   20   representing?
   21                 - - -                                 21         A. What this clearly represents is
   22   BY MR. SIMMER:                                      22   an org chart. So -- and obviously, I recognize
   23         Q. Take a look at that. And while             23   it as an org chart.
   24   you're doing that I'll identify it for the record   24         Q. Okay. Do you see your name

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    1   over -- I guess across the middle there as the      1   frame -- and I believe it would have been in
    2   Director, Pharmacy LP?                              2   2008 -- a new process was implemented by
    3        A. I do.                                       3   McKesson. And I was selected to be a part of
    4        Q. And that's loss prevention, I               4   that process, which involved DSD McKesson
    5   take it. Right?                                     5   thresholds. So part of the time, yes.
    6             MR. LAVELLE: Object to form.              6         Q. And what is DSD?
    7             THE WITNESS: Not everyone has an          7         A. DSD stands for direct store
    8        LP, but I -- I believe LP would certainly      8   delivery. So DSD means suppliers that are not
    9        be loss prevention.                            9   internal. It's not -- we have our own warehouses
   10   BY MR. SIMMER:                                     10   and distribution centers that provide some of the
   11        Q. Were you the only pharmacist that          11   products that are in the stores. The products
   12   worked in loss prevention at this time?            12   that are in the stores that do not come from that
   13        A. Yes.                                       13   internal warehousing would be products that come
   14        Q. Is there a reason that they had a          14   from direct store delivery vendors.
   15   pharmacist fill this position that you're aware    15         Q. And what was your responsibility
   16   of?                                                16   for this new threshold system that McKesson
   17             MR. LAVELLE: Object to form.             17   developed?
   18             THE WITNESS: I can't                     18         A. My responsibility was really to
   19        specifically speak to why Chuck               19   serve as a contact point and liaison between the
   20        specifically wanted me for this position.     20   stores and field and representatives at McKesson.
   21   BY MR. SIMMER:                                     21         Q. And tell us exactly what you did
   22        Q. And you're referring to Chuck              22   as a contact point and/or liaison.
   23   Kibler?                                            23         A. Sure. So the way the process
   24        A. Yes.                                       24   would work is if a store had been blocked on an
                                                Page 51                                                  Page 53
    1        Q. And that was your supervisor.               1   order of a particular base code from McKesson,
    2   Correct?                                            2   the process was designed to where the store would
    3        A. Yes.                                        3   have to contact their pharmacy district manager.
    4        Q. And was he your supervisor during           4   And then the pharmacy district manager, after
    5   the entire time you were working in loss            5   evaluating the situation, if they deemed some
    6   prevention?                                         6   sort of an increase was needed, they were to send
    7        A. No.                                         7   that information, the store number, the base code
    8        Q. Who else was your supervisor                8   involved, the business reason driving a need for
    9   besides Mr. Kibler?                                 9   an increase, and the percentage that they thought
   10        A. Bob Oberosler.                             10   was needed, they would send that to me. And then
   11        Q. Could you please spell his name?           11   I would also evaluate that. And if deemed
   12        A. Yeah. Let me...                            12   appropriate, I would forward those requests on to
   13   O-B-E-R-O-S-L-E-R. Yes.                            13   the McKesson representatives.
   14        Q. So the entirety of your position           14         Q. What were the criteria for
   15   was dealing with shrink; is that right?            15   determine (sic) whether a store actually needed a
   16        A. Pharmacy -- specifically pharmacy          16   threshold increase?
   17   shrink, pharmacy losses, that was the main focus   17         A. Are you saying what are the
   18   of the position.                                   18   business reasons in the process I described?
   19        Q. Did you have any responsibilities          19         Q. Well, you talked -- you said a
   20   for approving increases in pharmacy thresholds?    20   moment ago that the pharmacy district manager
   21        A. Yes.                                       21   would determine if they -- if he or she deemed
   22        Q. And what were those                        22   that it was -- the increase was needed. I am
   23   responsibilities?                                  23   just trying to establish what you mean by needed.
   24        A. At some point during this time             24         A. I don't think those were my exact

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    1   words, but let me -- I think I can still answer      1   example. So, for instance, when I first moved
    2   the question, though.                                2   into the town I grew up in, it was one square
    3             So if a particular store was               3   mile, with a very small population. Ten years
    4   blocked on a particular base code and the store      4   later, it's gigantic with a huge -- you know,
    5   sends an email or calls their PDM and says, hey,     5   much, much larger population. New businesses,
    6   you know, something's wrong here, I just tried to    6   new providers. You know, if a new hospital opens
    7   order this product and I have got a notation that    7   up next to the pharmacy or an existing hospital
    8   I can't order it, that I'm being blocked.            8   now opens a cancer unit.
    9             The pharmacy district manager              9               We talked about pour overs and
   10   then would basically determine or gauge, okay,      10   file buys. That's a -- that's certainly a big
   11   what -- you know, why is this being blocked.        11   one. Reasons like that.
   12   Hopefully they're familiar with the program. If     12         Q. You mentioned another name or
   13   not, they would probably call out and ask.          13   another term, "file buy." What is that? And
   14             And then they would, you know,            14   that's B-U-Y?
   15   take a look at or inquire of the pharmacist or      15         A. It is. And actually, file buy is
   16   the store, you know, okay, you know, what's --      16   really just another name for a pour over. I
   17   what's driving this need? Did you have a, you       17   shouldn't have caused confusion there, because
   18   know, a recent pour over, you know, they could      18   that's really the same thing. It's just -- some
   19   evaluate whether, you know, there's significant     19   people call it file buy, some people call it a
   20   organic growth.                                     20   pour over.
   21             That's why I was talking about            21         Q. So a file buy, in this instance,
   22   the business reasons, part of this. There's a       22   would be one pharmacy buying the business from
   23   number of different business reasons that           23   another pharmacy; is that right?
   24   would -- would drive those things.                  24         A. Yes. It's the same thing I
                                                 Page 55                                                  Page 57
    1       Q.      You used the term "pour over."           1   described earlier.
    2              What do you mean by that?                 2         Q. So in the process that you
    3          A. Okay. So a pour over is kind of            3   outlined, if the pharmacy district manager finds
    4   an industry accepted term. And basically what a      4   out that one of the pharmacies he or she is
    5   pour over is is when an existing pharmacy closes     5   managing has a need to increase its threshold,
    6   down or is going to go out of business, whether      6   the process first is that they contact that
    7   it's a chain or an independent, for obvious          7   pharmacy and understand what the reason is for
    8   reasons, it can't just like close and shutter its    8   that threshold increase; is that right?
    9   doors and the people that, you know, have            9              MR. LAVELLE: Object to form.
   10   prescriptions there are basically stuck with        10              THE WITNESS: That's generally
   11   nowhere to go.                                      11         correct, because they're going to have to
   12              So what happens is those existing        12         provide that reason when they respond.
   13   prescriptions, those -- those files, those          13   BY MR. SIMMER:
   14   patient records basically get acquired by another   14         Q. As part of doing that due
   15   pharmacy. So a pour over is where one pharmacy      15   diligence to determine whether to increase the
   16   is basically acquiring the business, the pharmacy   16   threshold, do I have it right that the district
   17   business of an existing pharmacy that is closing    17   manager would need to go look at the dispensing
   18   down.                                               18   data from the pharmacy?
   19          Q. And what are some of the things           19         A. I don't think that's correct in
   20   that would drive significant growth in the          20   all cases, no. Certainly in some maybe, but not
   21   prescriptions that a pharmacy would be              21   in all cases.
   22   experiencing?                                       22         Q. Is there any part of the process
   23          A. There's a number of them. I               23   along the way to get it sent up to McKesson that
   24   would say there's -- organic growth would be one    24   there's an examination of the prescribing data to

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    1   determine what's driving the need?                   1   confirm if that was in fact true, if there had
    2         A. I would say dispensing data. But            2   been a break-in.
    3   again, not in every instance. Every instance is      3              And similarly, if they indicated
    4   unique. So, for example, if one of our locations     4   that there was a pour over, I could confirm that
    5   was broken into at night and a significant           5   there was in fact a recent pour over or not,
    6   quantity of the drugs were stolen in a nighttime     6   so -- but it varied situation by situation.
    7   break-in, I don't -- and they were getting           7         Q. What were the sources of data
    8   blocked by McKesson on getting product in to take    8   that you referred to?
    9   care of their customers, I don't know in that        9         A. Well, in the example I gave you,
   10   case as an example there would be a need to, you    10   the source of data would be like their script
   11   know, necessarily dive into prescriber data, as     11   count, sales data, script count.
   12   you described it. You know what happened that's     12         Q. What is the name of the database
   13   driving the increase.                               13   where that sales data is housed?
   14         Q. So for the pharmacy district               14              MR. LAVELLE: Object to form.
   15   manager then to come to you and say that one of     15              THE WITNESS: So we have a
   16   my pharmacies needs an increase, is that all        16         mainframe system, so I don't want to try
   17   handled via email or is there some other way that   17         and get too techy here, but we sort of
   18   that request is handled?                            18         have a proprietary mainframe system.
   19             MR. LAVELLE: Object to form.              19         There's different ways that you can
   20             THE WITNESS: Email is generally           20         access the data in that system. Today,
   21         how that was handled, yes.                    21         for example, most of that access is
   22   BY MR. SIMMER:                                      22         through portal applications. If you go
   23         Q. And once you get that information          23         back to like my third-party days, most of
   24   from a pharmacy district manager -- strike that.    24         that would have been through what we
                                                 Page 59                                                  Page 61
    1             Once you got that information              1         called green screen applications.
    2   from a district manager, pharmacy district           2              But at the end of the day, you
    3   manager, what did you then do to examine that        3         know, there's a proprietary mainframe
    4   request?                                             4         system. And there's different ways that
    5          A. As we stated before, every                 5         you can access data within that system.
    6   situation is unique. So it's going to depend on      6   BY MR. SIMMER:
    7   each situation, but I can give you examples.         7         Q. Now, your first position I think
    8             So I might call the pharmacy               8   we established was as a director of pharmacy loss
    9   district manager if there -- what they put on        9   prevention.
   10   email isn't enough information, reach out to the    10              And that was until August 2010;
   11   pharmacy district manager and say, okay, you put    11   is that correct?
   12   down, you know, business increase or something a    12              MR. LAVELLE: Object to form.
   13   little more ambiguous. I might call and say,        13              THE WITNESS: That's correct.
   14   okay, can you give me more information.             14   BY MR. SIMMER:
   15             You know, I might go to sources           15         Q. And what was your next position
   16   of data information. So, for example, if the        16   after that?
   17   pharmacy district manager indicated that their      17         A. My next position was senior
   18   overall book of business was increasing by a        18   director, pharmacy loss prevention.
   19   certain amount, I could go into the system and      19         Q. Were your duties different than
   20   see or not see that in fact, you know, they were    20   your former position?
   21   up or down approximately that amount.               21         A. Not substantively, no.
   22             If their indication was that              22         Q. This was a promotion. Correct?
   23   there had been a break-in or a burglary,            23         A. It was.
   24   certainly working in loss prevention I could        24         Q. And did you take on additional

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    1   responsibilities?                                    1             MR. LAVELLE: Object to form.
    2         A. Not substantively.                          2             THE WITNESS: To some degree.
    3         Q. Did you receive any different               3        For instance, we -- we have a controlled
    4   training in order to perform your position as a      4        substance checklist that we utilize in
    5   senior director, pharmacy loss provision --          5        stores and in the field. And, you know,
    6   excuse me, prevention?                               6        certainly as a -- the pharmacist, or one
    7         A. No.                                         7        of them in the department, when revisions
    8         Q. I think you said your supervisor            8        to that checklist were done, they would
    9   had been Mr. Kibler.                                 9        consult me as a subject matter expert,
   10              Did the supervisor change at some        10        for example, to help.
   11   point in time while you were a senior director?     11             The checklist I believe was
   12         A. I can't -- Bob O came to the               12        already in existence when I got there,
   13   organization right around that time frame. I        13        but to help improve and enhance it.
   14   honestly can't remember whether it was Chuck or     14   BY MR. SIMMER:
   15   Bob that was there at that time. It was close.      15        Q. And what part of that checklist
   16         Q. Bob O is Bob Oberosler?                    16   had to do with controlled substances?
   17         A. Yes. He frequently goes by Bob             17        A. Well, the whole -- really the
   18   O.                                                  18   whole checklist. It's a -- it's a controlled
   19         Q. Just so we have an accurate                19   substance DEA checklist.
   20   spelling, can you spell his last name, please?      20        Q. And that was the title of the
   21         A. I believe I already did. I can             21   document, a controlled substance checklist?
   22   spell it again, though.                             22        A. I wouldn't want to speak to the
   23         Q. Yes, you could, please.                    23   exact phrasing of the title without it being in
   24         A. Okay.                                      24   front of me, but substantively, that's correct.
                                                 Page 63                                                 Page 65
    1         Q. I don't recall that you did.                1         Q. How was this checklist used?
    2         A. Okay. O-B-E-R-O-S-L-E-R.                    2         A. So at Rite Aid, there's a couple
    3         Q. And you held that position as               3   of different ways in which -- and this isn't the
    4   senior director until April 2011. Correct?           4   only checklist. We have some other checklists.
    5         A. That's correct.                             5   This is the one that relates to controlled
    6         Q. And what was your next position             6   substances, which is what you asked about.
    7   after that?                                          7              So the way this would be used is
    8         A. My next position was vice                   8   we have a controlled self-assessment program out
    9   president, compliance monitoring and privacy         9   in the stores, where pharmacy managers would
   10   officer.                                            10   complete this checklist. And then we also ask
   11         Q. And what were your                         11   our field leaders to periodically complete this
   12   responsibilities?                                   12   checklist on their stores. And then also our own
   13         A. Probably the biggest                       13   compliance team would complete these checklists
   14   responsibility was to serve as the HIPAA privacy    14   on a periodic basis as well. We refer to that as
   15   officer for Rite Aid. Some additional               15   three lines of defense.
   16   responsibilities were to serve as the USA Patriot   16              First line of defense being the
   17   Act compliance officer for Rite Aid. And then       17   store's self-assessment. Second line of defense
   18   the third areas of responsibility was around some   18   being the field leaders conducting an assessment
   19   regulatory compliance monitoring, including         19   of their stores. And the third line being the
   20   involvement in our store-level compliance           20   independent compliance folks conducting those
   21   program.                                            21   assessments.
   22         Q. Did you have any responsibility            22         Q. In this new position as a VP
   23   for controlled substances and controlled            23   compliance monitoring, you have responsibilities
   24   substances monitoring in this position?             24   for that controlled substances checklist.

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    1   Correct?                                          1       at 10:48 a.m.
    2             MR. LAVELLE: Object to form.            2                - - -
    3             THE WITNESS: I wouldn't say             3            (A recess was taken from
    4        responsibilities for the checklist.          4       10:48 a.m. to 11:09 a.m.)
    5        So -- and the individuals who conducted      5                - - -
    6        those checklists at that point in time       6            THE VIDEOGRAPHER: We're back on
    7        didn't report directly to me. I would        7       the record at 11:09 a.m.
    8        say I served as the department's sort of     8            MR. LAVELLE: Just note on the
    9        a -- you know, a -- a pharmacist that        9       record that counsel had an opportunity to
   10        could help with questions around the        10       confer off the record. We understand
   11        checklist, help in developing the           11       that there was a production issue with
   12        checklist, improving the checklist,         12       the documents that plaintiffs intend to
   13        things of that nature, subject matter       13       use as exhibits. And I think our
   14        guide.                                      14       agreement is that we'll just note the
   15   BY MR. SIMMER:                                   15       Bates numbers on the record. I'm going
   16        Q. What did you draw upon in order          16       to have a standing objection to all of
   17   to perform your responsibilities as a subject    17       them, but we will eventually confer and
   18   matter guide with regard to this controlled      18       substitute in as the ones that will be
   19   substance checklist?                             19       bound with the original of the
   20             MR. LAVELLE: Object to form.           20       transcript, documents that we agree are
   21             THE WITNESS: Internal knowledge,       21       fully as they were originally produced,
   22        experience. Sometimes I might have to       22       including Bates numbers and
   23        consult a reference or a more               23       confidentiality; is that correct?
   24        knowledgeable subject matter expert, if I   24            MR. SIMMER: That's correct.
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    1        was looking at the checklist and had a       1             And you're going to have that as
    2        question. But, you know, sort of a           2        a standing objection; is that right,
    3        combination of those -- those things.        3        John?
    4            And there were certainly other           4             MR. LAVELLE: Yes. Thank you,
    5        individuals that also helped in that         5        Mr. Simmer.
    6        process.                                     6   BY MR. SIMMER:
    7   BY MR. SIMMER:                                    7        Q. Before our break, sir, you talked
    8        Q. And who are they?                         8   about the fact that the pharmacy district
    9        A. I would say the -- one of the             9   managers reviewed the Above Average log; is that
   10   main ones would be Janet Hart.                   10   right?
   11        Q. And what was her role?                   11        A. Yes.
   12        A. Janet Hart works in our                  12        Q. And that's one of the things that
   13   government affairs. I think today it's called    13   you did as a pharmacy district manager. Right?
   14   regulatory affairs department.                   14        A. At that point in time, yes.
   15        Q. Am I correct her last name is            15        Q. And how often did you review that
   16   spelled H-A-R-T?                                 16   Above Average log?
   17        A. You are correct.                         17        A. That was a monthly report.
   18            MR. LAVELLE: Counsel, we've been        18        Q. So that's a monthly report after
   19        going for over an hour. When we get to a    19   the fact.
   20        convenient place, can we take a break?      20             In other words, the prescriptions
   21            MR. SIMMER: This would be a good        21   have already been filled. Right?
   22        time.                                       22             MR. LAVELLE: Object to form.
   23            MR. LAVELLE: Thank you.                 23             THE WITNESS: That was a monthly
   24            THE VIDEOGRAPHER: Off the record        24        report at that -- at that time, that was

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    1        a monthly report after the prescriptions        1   was it used. It's not used for anything.
    2        were filled.                                    2         Q. What is IIA?
    3   BY MR. SIMMER:                                       3         A. The International -- Internal --
    4        Q. Okay. And you said you did                   4   Association of Internal Auditors or the Internal
    5   follow-up after you looked at the log; is that       5   Audit Association.
    6   correct?                                             6         Q. So I'm just trying to understand.
    7        A. The report, yes.                             7              These lines of defense you're
    8        Q. And what kind of follow-up did               8   talking about, did it have anything to do with
    9   you do with pharmacies about the Above Average       9   monitoring controlled substances?
   10   log?                                                10         A. As described previously, we
   11        A. As a pharmacy district manager, I           11   applied that concept to our controlled substance
   12   would confirm what quantity was on hand at the      12   reviews.
   13   pharmacy in order to determine if any product was   13         Q. I think you testified earlier
   14   missing.                                            14   that the stores themselves were the first line of
   15        Q. So you're simply looking for                15   defense. Right?
   16   shrinkage; is that right?                           16         A. The controlled self-assessments,
   17        A. You're looking for loss, yes.               17   yes.
   18        Q. Nothing further in terms of your            18         Q. That wasn't my question.
   19   review of the Above Average log other than          19              My question was whether the
   20   looking for missing stock; is that right?           20   stores were themselves the first line of defense.
   21            MR. LAVELLE: Object to form.               21              MR. LAVELLE: Object to form.
   22            THE WITNESS: That's correct.               22              THE WITNESS: The stores do the
   23   BY MR. SIMMER:                                      23         controlled self-assessments, so yes.
   24        Q. Also before our break you talked            24   BY MR. SIMMER:
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    1   about what you called at Rite Aid the three lines    1         Q. Okay. So you -- the second time
    2   of defense.                                          2   now you've changed my question.
    3              Do you remember that?                     3              So you're saying the
    4         A. Yes.                                        4   self-assessment is the first line of defense.
    5         Q. And that has to do with I think             5   Right?
    6   also suspicious order monitoring is correct.         6              MR. LAVELLE: Object to form.
    7   Right?                                               7              THE WITNESS: That the stores --
    8              MR. LAVELLE: Object to form.              8         that the stores perform.
    9              THE WITNESS: Yeah, I'm not sure           9   BY MR. SIMMER:
   10         I understand.                                 10         Q. Is there any other things that
   11   BY MR. SIMMER:                                      11   the stores themselves are doing that you would
   12         Q. So what are the lines of defense           12   deem to be a first line of defense?
   13   that are actually protecting here?                  13         A. I can't, you know, apply a
   14              MR. LAVELLE: Object to form.             14   concept like that to other -- other things, as
   15              THE WITNESS: Three lines of              15   you're asking.
   16         defense is an IIA concept that we             16         Q. Was this first line of defense
   17         integrated specifically into specific         17   for the stores in place back when you were
   18         things like the control -- like the           18   pharmacy district manager?
   19         review process.                               19         A. No.
   20   BY MR. SIMMER:                                      20         Q. When did it go into place?
   21         Q. Was it also to monitor controlled          21         A. I don't recall exactly.
   22   substances?                                         22         Q. So back when we were looking at
   23         A. Again, the three lines of defense          23   your resume, Exhibit 1, we had talked about
   24   is an IIA concept. I'm not sure what you mean by    24   your -- the position you held as vice president

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    1   of compliance monitoring, privacy officer.           1   ethics component as well.
    2              It's right that you held that             2        Q. And this is a position you hold
    3   position until February of last year. Right?         3   today. Correct?
    4              MR. LAVELLE: Object to form.              4        A. That is the position I hold
    5              THE WITNESS: That's correct. I            5   today.
    6         would like to clarify, you keep referring      6        Q. And you're still working for Rite
    7         to this as my resume. This is not my           7   Aid Corporation?
    8         resume.                                        8        A. I work for Rite Aid Headquarters
    9   BY MR. SIMMER:                                       9   Corporation, not Rite Aid Corporation.
   10         Q. I apologize. You did refer to it           10        Q. Okay. Then with that correction,
   11   as a profile.                                       11   you still are working for Rite Aid Headquarters
   12              Your profile says that that was a        12   Corporation?
   13   position you held until February of last year.      13        A. Yes.
   14   Right?                                              14        Q. On the left-hand column of your
   15         A. Yes.                                       15   profile, it talks about different certifications
   16         Q. And what was your next position?           16   that you hold.
   17         A. My next position was the group             17              Do you see that?
   18   vice president, compliance, privacy and internal    18        A. Yes.
   19   assurance services.                                 19        Q. Can you tell us what the CIIP/US
   20         Q. And did you have different duties          20   is?
   21   in this position?                                   21              MR. LAVELLE: Object to form.
   22         A. Yes.                                       22              THE WITNESS: Yes.
   23         Q. And could you describe what your           23   BY MR. SIMMER:
   24   responsibilities are?                               24        Q. What is that?
                                                 Page 75                                                  Page 77
    1         A. My responsibilities in this role            1         A. CIPP-US stands for Certified
    2   are oversight of compliance, privacy and internal    2   Information Privacy Professional United States.
    3   assurance services activities.                       3         Q. And what organization did you
    4         Q. So oversight of compliance, what            4   receive that certification from?
    5   is that?                                             5         A. That is the IAPP, International
    6         A. In this role, I serve as the                6   Association of Privacy Professionals.
    7   chief compliance person at Rite Aid Corporation,     7         Q. And this -- when you list it as a
    8   so oversight of the compliance program.              8   certification, that's an actual certification
    9         Q. Who do you report to?                       9   you've received from that organization. Correct?
   10         A. I report to general counsel.               10         A. Yes.
   11         Q. You also said you had privacy              11         Q. Did you take an examination in
   12   responsibilities.                                   12   order to receive that certification?
   13             What are those?                           13         A. Yes.
   14         A. The privacy responsibilities are           14         Q. And what was involved in taking
   15   the privacy officer, you know, the HIPAA privacy    15   that examination?
   16   officer. That's actually -- that one carried        16         A. You mean like how did I take the
   17   over from the other role. I was the privacy         17   examination?
   18   officer before and after.                           18         Q. Did you have to take coursework?
   19         Q. And you also say that you have             19   Did you -- you know, just trying to understand
   20   responsibility for internal assurance. Correct?     20   what it took to take that examination, to prepare
   21         A. Correct.                                   21   for it.
   22         Q. And what did that involve?                 22              MR. LAVELLE: Object to form.
   23         A. Internal assurance services                23              THE WITNESS: Okay. The -- for
   24   involves internal audit. And we have a fraud and    24         the certification, it's self-preparatory.

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    1         So, for example, you can get books to          1   processes.
    2         study for the examination. You can take        2              Is that an accurate statement?
    3         practice tests to prepare for the              3              MR. LAVELLE: Object to form.
    4         examination. And then you have to go           4              THE WITNESS: Can you repeat
    5         take the test.                                 5         that?
    6   BY MR. SIMMER:                                       6   BY MR. SIMMER:
    7         Q. Did any part of this CIPP-US                7         Q. We looked at the society's
    8   involve controlled substances?                       8   website and they describe this CCEP certification
    9         A. No.                                         9   and the persons who receive it as being people
   10         Q. The second certification you list          10   who have knowledge of relevant regulations and
   11   here is CCEP.                                       11   expertise in compliance processes.
   12              Do you see that?                         12              Is that accurate?
   13         A. Yes.                                       13              MR. LAVELLE: Object to form.
   14         Q. And what organization did you              14              THE WITNESS: I think with
   15   receive that certification from?                    15         regards to compliance processes, yes.
   16         A. The SCCE, Society for Corporate            16   BY MR. SIMMER:
   17   Compliance and Ethics.                              17         Q. So you wouldn't say that the
   18         Q. And when did you receive this              18   knowledge of relevant regulations is something
   19   CCEP certification?                                 19   that's included in the CCEP certification you
   20         A. I don't recall exactly.                    20   received?
   21         Q. Can you describe what this                 21         A. I'm not sure how they can say
   22   certification is?                                   22   that when it comes to the fact that there's, you
   23         A. CCEP stands for Certified                  23   know, CCEPs in hundreds of different industries.
   24   Compliance and Ethics Professional.                 24   It's more general compliance, like they said,
                                                 Page 79                                                  Page 81
    1         Q. Similar to the prior                        1   processes.
    2   certification we just talked about a moment ago,     2         Q. So as part of receiving this
    3   was there an exam you had to take in order to get    3   certification, you didn't receive any specific
    4   this certification?                                  4   training in relevant regulations to the pharmacy
    5         A. Yes.                                        5   industry; is that right?
    6         Q. And you had to go through a                 6         A. No. Well, I'm sorry.
    7   period of self-study before you took the exam?       7              The way you phrased the answer
    8         A. Yes. And with this one, I                   8   to -- can you repeat the question? Because I'm
    9   attended a preparatory session as -- as well,        9   not -- just rephrase it for me, so I make sure
   10   where the exam was given at the end of it.          10   I've got that right.
   11         Q. When did you get this                      11              I said no, but I think it's yes.
   12   certification?                                      12         Q. So as part of receiving this
   13         A. I don't recall.                            13   certification, you didn't receive any specific
   14         Q. Now, but I think you'd agree that          14   training in relevant regulations to the pharmacy
   15   the corporation's compliance function could help    15   industry; is that right?
   16   mitigate compliance-related risk for the            16         A. That is correct.
   17   corporation. Right?                                 17         Q. Also in the society's website
   18              MR. LAVELLE: Object to form.             18   they describe this certification as giving the
   19              THE WITNESS: It could.                   19   person skills sufficient to assist the
   20   BY MR. SIMMER:                                      20   organization in understanding and addressing
   21         Q. In fact, we looked at the                  21   legal obligations; is that correct?
   22   society's website, and they say that this CCEP      22              MR. LAVELLE: Object to form.
   23   professional is someone with knowledge of           23              THE WITNESS: You're asking me to
   24   relevant regulations and expertise in compliance    24         speak towards what they're saying?

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    1   BY MR. SIMMER:                                       1        A. I don't know what they did or did
    2         Q. Yes, sir.                                   2   not want to hear. However, as a compliance
    3         A. There was no legal component.               3   officer, certainly I've had to provide my opinion
    4   I'm not an attorney. They're not attorneys. So       4   to the business where that may or may not be the
    5   I don't know that I agree with that.                 5   position the business would agree with.
    6         Q. So this certification you                   6        Q. Sometimes those opinions means
    7   received did not give you training in terms of       7   the company would lose money; isn't that correct?
    8   the legal obligations that a company has; is that    8        A. I think that's somewhat
    9   correct?                                             9   speculative as well. I don't -- you're asking to
   10         A. Not specifically -- no, not                10   predict the future with regards to, say,
   11   specifically obligations.                           11   something that did not occur.
   12         Q. They also describe this                    12        Q. So when you're giving your
   13   certification as giving the individual the skills   13   opinions to the individuals at Rite Aid about
   14   of promoting organizational integrity through the   14   compliance, it's your testimony that that would
   15   operation of effective compliance programs.         15   not result sometimes in them losing money that
   16              Is that a correct statement in           16   they otherwise would make?
   17   terms of your understanding of this                 17             MR. LAVELLE: Object to form.
   18   certification?                                      18             THE WITNESS: I think -- I think
   19              MR. LAVELLE: Object to form.             19        the keyword is "sometimes," probably
   20              THE WITNESS: I would agree with          20        sometimes.
   21         that one.                                     21   BY MR. SIMMER:
   22   BY MR. SIMMER:                                      22        Q. Tell the jury if you ever told
   23         Q. Now, then, as a compliance                 23   Rite Aid something that it didn't necessarily
   24   professional, it's fair to say, isn't it, that      24   want to hear about compliance.
                                                 Page 83                                                  Page 85
    1   sometimes you have to tell Rite Aid things they      1         A. Again, the way you're phrasing
    2   don't want to hear?                                  2   the question, to tell Rite Aid something they did
    3             MR. LAVELLE: Object to form.               3   not want to hear? Rite Aid is not a person. And
    4             THE WITNESS: Compliance officers           4   I don't know -- that would be like me asking you
    5         sometimes have to tell the organizations       5   what you do or do not want to hear. I don't know
    6         they're employed by things they don't          6   what you do or do not want to hear.
    7         want to hear.                                  7         Q. Well, let me rephrase the
    8   BY MR. SIMMER:                                       8   question.
    9         Q. Not just generally compliance               9              Tell the jury if you ever told
   10   officers, you yourself as a compliance              10   individuals at Rite Aid as -- when you were in
   11   professional have had to tell Rite Aid things       11   your position as a compliance professional, have
   12   they did not want to hear. Right?                   12   you ever told individuals at Rite Aid something
   13             MR. LAVELLE: Object to form.              13   that they didn't want to hear about compliance?
   14             THE WITNESS: I don't know. Rite           14              MR. LAVELLE: Object to form.
   15         Aid is not a person, so I don't know how      15         Direct the witness not to answer to the
   16         you could say things that Rite Aid does       16         extent it would disclose attorney-client
   17         not want to hear. That appears                17         communications.
   18         speculative.                                  18   BY MR. SIMMER:
   19   BY MR. SIMMER:                                      19         Q. You can answer.
   20         Q. Fair point.                                20         A. At the advice of counsel, I
   21             So have there been times when you         21   choose not to answer.
   22   as a compliance professional had to tell others     22         Q. So you're saying everything you
   23   working at Rite Aid things they didn't want to      23   did as -- in your position in compliance is
   24   hear?                                               24   always protected by attorney-client privilege.

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    1             Is that your position?                     1   increase process as a compliance professional.
    2        A. No.                                          2   Right?
    3        Q. For example, on your position in             3              MR. LAVELLE: Object to form.
    4   loss prevention, did you report to the general       4              THE WITNESS: As the director of
    5   counsel then?                                        5         pharmacy loss prevention, yes.
    6        A. No.                                          6   BY MR. SIMMER:
    7        Q. So were there situations when                7         Q. And there were times when you had
    8   you're working in loss prevention that you told      8   to tell pharmacies they couldn't receive a
    9   individuals something they didn't want to hear       9   particular increase that they were requesting
   10   about compliance?                                   10   from McKesson. Right?
   11             MR. LAVELLE: Object to form.              11              MR. LAVELLE: Object to form.
   12             THE WITNESS: Again, if we could           12              THE WITNESS: I did not
   13        not use the "did" or "did not want to          13         communicate directly with the pharmacies.
   14        hear."                                         14   BY MR. SIMMER:
   15             But what I will say is, you know,         15         Q. So who did you communicate with?
   16        in various roles at Rite Aid, being            16         A. The pharmacy district managers
   17        risk-minded and compliance-minded,             17   and representatives at McKesson.
   18        whether it be privacy or anything else,        18         Q. So there were times when you had
   19        sometimes the business has an idea or an       19   to communicate to those individuals that they
   20        initiative, and in various roles I have        20   could not receive threshold increases from
   21        had, I would provide them advice or            21   McKesson. Correct?
   22        guidance or my opinion that there are          22         A. There were times where either I
   23        risks associated with those initiatives        23   had to deny a request or ask for further
   24        as it relates to compliance. I think           24   clarification, yes.
                                                 Page 87                                                  Page 89
    1        that's what you're asking.                      1         Q. So tell us what instances you
    2   BY MR. SIMMER:                                       2   denied the threshold increase request?
    3        Q. So it's your testimony that what             3         A. I don't recall specific instances
    4   you did in your lo -- role on loss prevention was    4   at specific store locations.
    5   to identify risks for the company. Correct?          5         Q. How many times would you say
    6        A. That's part of -- part of, you               6   during your years working in loss prevention that
    7   know, a role or the roles that I've played with      7   you actually denied a threshold increase request?
    8   the company. Correct.                                8         A. I don't recall how many times.
    9        Q. Is that also true in the                     9         Q. 100?
   10   positions you've held after you left the loss       10         A. No.
   11   prevention department?                              11         Q. 50?
   12             MR. LAVELLE: Object to form.              12         A. Again, I don't recall, you know,
   13             THE WITNESS: That is -- that is           13   how many times, you know, I would have not
   14        correct.                                       14   forwarded a request on to McKesson from a
   15   BY MR. SIMMER:                                      15   pharmacy district manager.
   16        Q. So in loss prevention, for                  16         Q. But you're comfortable in
   17   example, you had to look at drug threshold          17   testifying that you did at least on occasion deny
   18   increases, didn't you?                              18   a request. Right?
   19        A. To clarify, I was involved in the           19         A. I am comfortable.
   20   McKesson threshold increase process. I would not    20         Q. And what are the reasons that you
   21   say drug threshold process.                         21   denied those requests?
   22        Q. Thank you for that correction.              22         A. One example would be the
   23             So -- but is it correct then that         23   threshold amount being requested appeared
   24   you were involved in the McKesson threshold         24   unreasonable. And after further discussion with

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    1   the pharmacy district manager, they agreed that      1   BY MR. SIMMER:
    2   the request was not the right percentage, for        2         Q. And so I'm simply asking, in
    3   example.                                             3   those instances where you were looking at
    4        Q. In that kind of instance, would              4   threshold increase requests that were sent to you
    5   you lower the percentage instead of denying it       5   by the pharmacy district manager, did you in
    6   outright?                                            6   every instance look at those with an eye toward
    7             MR. LAVELLE: Object to form.               7   potential risks to the company?
    8             THE WITNESS: Again, I'm not                8             MR. LAVELLE: Object to form.
    9        denying the request. In an instant like         9             THE WITNESS: No. Because in
   10        that, I would probably call the pharmacy       10         some instances, the pharmacy district
   11        district manager. We would have the            11         manager simply misunderstood the process.
   12        discussion. At that point in time, the         12   BY MR. SIMMER:
   13        pharmacy district manager may, you know,       13         Q. And that did not involve an
   14        withdraw the request or more likely would      14   assessment by you of potential risks to the
   15        send a new email with a different, more        15   company?
   16        reasonable amount.                             16         A. Would I conduct a risk assessment
   17   BY MR. SIMMER:                                      17   on every single request that was made? No.
   18        Q. And there were times as well that           18         Q. So if the pharmacy district
   19   you approved these increases. Isn't that            19   manager simply didn't understand the process,
   20   correct?                                            20   what would happen in that instance?
   21        A. There were times when I forwarded           21         A. As I described previously, there
   22   these requests to McKesson. Only McKesson can       22   would be a conversation with the pharmacy
   23   approve the increases. But yes, there were times    23   district manager who would basically say
   24   I forwarded the requests from the district          24   something to the effect of, okay, I didn't
                                                 Page 91                                                  Page 93
    1   manager on to McKesson for approval.                 1   understand.
    2         Q. Now, in your job in loss                    2                   - - -
    3   prevention, were you identifying risks to the        3              (Deposition Exhibit No. Rite
    4   company as well at that point?                       4         Aid-Palmer-3, Annual Performance Review
    5         A. It is my belief that every                  5         FY 2011, Bates stamped
    6   employee should be identifying risks to the          6         Rite_Aid_OMDL_0050666 through
    7   company.                                             7         Rite_Aid_OMDL_0050674, was marked for
    8         Q. So when you received threshold              8         identification.)
    9   requests from the pharmacy district managers, you    9                   - - -
   10   were analyzing those for potential risks to the     10   BY MR. SIMMER:
   11   company. Isn't that fair?                           11         Q. Hand you what we've marked as
   12         A. I don't know that that's                   12   Palmer Exhibit Number 3, if you would take a look
   13   accurate. At least not in every instance, no.       13   at that. I'll identify it for the record. And
   14         Q. So there are instances where you           14   again the Bates number is cut off, unfortunately,
   15   didn't look at it for potential risks to the        15   so this is Rite_Aid_OMDL_0050666 through
   16   company?                                            16   Rite_Aid_ OMDL_0050674.
   17         A. Yeah. I'm not sure I really                17              It's a multi-page document. I'm
   18   understand the question.                            18   only going to ask you questions about the very
   19         Q. Well, you just said a moment ago           19   first page of the document. Feel free to look at
   20   that everything every employee does at Rite Aid     20   the entire document if you'd like.
   21   is looking at potential risks to the company.       21         A. (Reviewing document.)
   22   Right?                                              22              Okay.
   23             MR. LAVELLE: Object to form.              23         Q. And you've seen this before, I
   24             THE WITNESS: They should.                 24   take it?

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    1           A.   Yes.                                        1         Q. So I just want to ask you some
    2           Q.   When was the last time you saw              2   questions about that. You say here that you
    3   this?                                                    3   "control or monitor."
    4         A. This is a performance review. I                 4              Is there a difference in terms of
    5   believe this is one of the performance reviews           5   what you were actually doing when you were
    6   that I saw during depo prep.                             6   controlling versus monitoring?
    7         Q. So you've seen this recently.                   7         A. Yes. I would say monitoring
    8   Right?                                                   8   doesn't necessarily involve an action. The use
    9         A. Yes, I believe so.                              9   of the word "control" here references the process
   10         Q. Am I right that this is your                   10   we've already described.
   11   performance review? And if I have it right, in          11         Q. So when you're monitoring, what
   12   the upper right-hand corner is -- there's               12   are you doing?
   13   "HRPP0009," then right below that is a date,            13         A. Monitoring would mean that the
   14   April 29, 2011.                                         14   process is flowing through you, that you see the
   15             Do you see that?                              15   activities and may or may not take different
   16             MR. LAVELLE: Object to form.                  16   actions to those.
   17             THE WITNESS: Yes.                             17         Q. And then the control part of it
   18   BY MR. SIMMER:                                          18   is the active part; is that right?
   19         Q. And am I right that that would be              19         A. Yes. That would be forwarding on
   20   the date of some kind that was generated when           20   to McKesson or not forwarding on to McKesson.
   21   this performance review was prepared?                   21         Q. Okay. And that's the next thing
   22         A. Yeah. I'm not sure if that date                22   you list there. You say "McKesson Threshold
   23   is when it was prepared, when it was posted, when       23   limits."
   24   it was uploaded. I don't know.                          24              That's one of the things that you
                                                      Page 95                                                 Page 97
    1         Q. If I have it right that there's a               1   control or monitor; is that right?
    2   portion of this that has general position                2         A. That was what I was referring to
    3   description, then there's a self-assessment part         3   here.
    4   of the form and then there's the supervisor that         4         Q. And which were you doing,
    5   does an assessment as well; is that right?               5   controlling or monitoring the McKesson threshold
    6             MR. LAVELLE: Object to form.                   6   limits?
    7             THE WITNESS: Yes.                              7         A. I believe it's both, because
    8   BY MR. SIMMER:                                           8   monitoring is seeing the activity. Controlling
    9         Q. And who was the supervisor that                 9   is potentially taking an action on an activity.
   10   was reviewing you for this performance review?          10         Q. So you were doing both with
   11         A. I don't know.                                  11   regard to McKesson threshold limits?
   12         Q. I direct your attention to the                 12             MR. LAVELLE: Object to form.
   13   "Self Assessment" portion in the middle of the          13             THE WITNESS: Yes. As described
   14   first page.                                             14         previously.
   15         A. Yes.                                           15   BY MR. SIMMER:
   16         Q. And if you would, would you read               16         Q. The next thing you say you're
   17   into the record, starting the second sentence,          17   doing is the "Above Average app."
   18   just read that second sentence where it says, "In       18             What is the "Above Average app"?
   19   addition."                                              19         A. App refers to application in this
   20         A. "In addition several processes I               20   instance, so the Above Average application was a
   21   control or monitor (See below) such as McKesson         21   portal application.
   22   Threshold limits, Monthly portal counts and Above       22         Q. Okay. And you go on to say that
   23   Average app have direct impact on in stock              23   "have direct impact on in stock position."
   24   position."                                              24             What is that?

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    1         A. That is the inventory, the                  1         was receiving -- I think I described it
    2   accuracy of the inventory.                           2         earlier, serving as a liaison or a
    3         Q. So if -- in your role as                    3         contact point between the stores and
    4   controlling or monitoring the McKesson threshold     4         McKesson, which is, you know, receiving
    5   limit, you did have a direct impact on the           5         requests from the pharmacy district
    6   in-stock position of stores in the company.          6         managers and taking a look at those
    7   Correct?                                             7         requests, working with the PDMs in many
    8         A. Potentially.                                8         instances, and then forwarding or not
    9         Q. That is, you could either say,              9         forwarding those requests on to McKesson.
   10   I'm not going to send this on to McKesson or I am   10         That's the process.
   11   going to send it on to McKesson.                    11   BY MR. SIMMER:
   12             In either event, it would impact          12         Q. I'm going to apologize. I a
   13   the in-stock position of that store. Right?         13   moment ago said I was only going to have you look
   14             MR. LAVELLE: Object to form.              14   at the first page of this exhibit. There is
   15             THE WITNESS: Yes. But that's              15   another page I want you to look at as well. It's
   16         not what this is really referring to.         16   the third page -- actually, yes, the third page
   17         What this is really referring to, again,      17   of the exhibit.
   18         you know, the concept of pharmacy loss        18         A. Yes, okay.
   19         prevention and that these tools could         19         Q. I'll identify it for the record
   20         potentially identify losses.                  20   as 0050668. And you see in the upper right-hand
   21   BY MR. SIMMER:                                      21   corner, "Page 3 of 9"?
   22         Q. So you're looking at losses again          22         A. Yes.
   23   in terms of shrinkage? Is that the same concept?    23         Q. Are we on the same page?
   24         A. Yes.                                       24         A. Yes.
                                                 Page 99                                                 Page 101
    1         Q. And so what you're doing here               1         Q. I'd like to have you read in that
    2   with the McKesson threshold limits, did it have      2   "Self Assessment" section the second full
    3   anything to do with suspicious order monitoring      3   sentence, where it starts "With regard to."
    4   as well?                                             4             Could you read that into the
    5              MR. LAVELLE: Object to form.              5   record, that full sentence, please.
    6              THE WITNESS: Yeah, I don't --             6         A. "With regard to regulatory
    7         McKesson -- this was a McKesson program        7   compliance I am an active participant in the"
    8         that they built. So I don't know that I        8   pharmacy "compliance subcommittee, the...risk
    9         can -- I can answer what I did, I can          9   initiatives team, the high level...risk
   10         answer the process. I'm not sure I can        10   assessment group, as well as...the biweekly
   11         answer your question, which appears to be     11   meeting with Robert Thompson on Pharmacy
   12         more relative to design or something.         12   Investigations."
   13   BY MR. SIMMER:                                      13         Q. I think you misread that. It
   14         Q. So I'm just trying to establish            14   says "leading the biweekly meeting."
   15   what it was you were doing when you were            15             Do I have that right?
   16   controlling or monitoring McKesson's threshold      16         A. Oh. It says, "as well as
   17   limits.                                             17   leading." I'm not sure what I said before.
   18              I think you've just testified            18         Q. Okay. This says you are "an
   19   that it really was limited to examining whether     19   active participant in the Rx compliance
   20   there was any shrinkage. Right?                     20   subcommittee."
   21              MR. LAVELLE: Object to form.             21             What is that subcommittee?
   22              THE WITNESS: No, no. The                 22         A. Rite Aid has a compliance
   23         process with regard -- what I was doing       23   committee structure. And that structure involves
   24         with regards to McKesson threshold limits     24   numerous subcommittees, including a pharmacy

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    1   subcommittee.                                        1         A. Yeah. I'm not sure I would use
    2         Q. And what were the                           2   the word "deliberated." But I think -- it
    3   responsibilities of that Rx compliance               3   depends. I mean, somebody may -- the various
    4   subcommittee?                                        4   members of the committee may bring up something
    5         A. I'm not the chair of the pharmacy           5   that they have an interest in or for discussion.
    6   compliance committee, nor do I have the charter      6         Q. And how do the members get these
    7   in front of me to be comfortable answering that      7   subjects that they're interested in?
    8   question.                                            8               MR. LAVELLE: Objection. Again,
    9         Q. So you do recall that that                  9         I'll direct the witness not to answer to
   10   subcommittee has a charter; is that correct?        10         the extent it would disclose the
   11         A. Many of the subcommittees have             11         substance of attorney-client
   12   charters. I don't know for sure if the pharmacy     12         communications.
   13   compliance subcommittee has a charter.              13               THE WITNESS: At the advice of
   14         Q. What people were on the                    14         counsel, I will not answer the question.
   15   subcommittee?                                       15   BY MR. SIMMER:
   16         A. At this point in time?                     16         Q. So the subjects that we're
   17         Q. Yes, sir.                                  17   talking about came from legal counsel; is that
   18         A. I can't give you an exact roster           18   correct?
   19   of membership for 2011.                             19               MR. LAVELLE: Same objection,
   20         Q. How many individuals were on the           20         same direction not to answer to the
   21   committee?                                          21         extent it would disclose the substance of
   22         A. Approximately 10 to 12.                    22         attorney-client communications.
   23         Q. And what did you actually do on            23   BY MR. SIMMER:
   24   this subcommittee?                                  24         Q. I'm only asking for a yes or no
                                                Page 103                                                Page 105
    1             MR. LAVELLE: Objection. I'll               1   answer on this, I'm not asking for any
    2         direct the witness not to answer to the        2   attorney-client communication.
    3         extent it would disclose attorney-client       3              Did the subjects that the members
    4         communications.                                4   of the subcommittee came up with come from
    5   BY MR. SIMMER:                                       5   counsel for the company?
    6         Q. You can answer.                             6          A. At the advice of counsel, I'm not
    7         A. I will not answer the question at           7   going to answer that question.
    8   the advice of counsel.                               8          Q. It's a yes or no question. You
    9         Q. Did this subcommittee report to             9   can answer. That's not violating any privilege.
   10   the general counsel?                                10   It's a yes or no.
   11         A. This subcommittee reports to the           11          A. Can you repeat it one more time
   12   corporate compliance committee, which the general   12   then?
   13   counsel is involved in.                             13          Q. The subjects you said that the
   14         Q. So a general description of what           14   members of the subcommittee came up with, did
   15   the subcommittee did is not a privileged            15   those come from counsel for the company?
   16   communication, however. I'm just trying to          16          A. Not all of them, no.
   17   understand what the subcommittee did.               17          Q. There were some that came from
   18         A. Any of the subcommittees                   18   counsel?
   19   generally discussed potential, you know,            19          A. I don't recall if some did or did
   20   initiatives, programs or, you know, compliance      20   not come from counsel, but certainly not all of
   21   information, related information.                   21   them.
   22         Q. And where did they receive                 22          Q. Were there some ideas or subjects
   23   information that they considered as they -- you     23   that you came up with and brought to the
   24   deliberated on this subcommittee?                   24   subcommittee?

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    1         A. I don't recall.                             1         Q. Were all the members of the
    2         Q. How often did this subcommittee             2   subcommittee corporate headquarters employees?
    3   meet?                                                3         A. I don't know that I can answer
    4         A. At this point in time?                      4   that 100 percent accurately.
    5         Q. Yes, sir.                                   5         Q. You also say here that you led
    6         A. I don't recall.                             6   "the biweekly meeting with Robert Thompson on
    7         Q. The next says you served on "the            7   Pharmacy Investigations."
    8   Rx risk initiatives team."                           8              What is that in reference to?
    9              What is that?                             9         A. So we had a meeting where myself
   10         A. The Rx risk initiatives team was           10   and a couple other individuals like HR would meet
   11   sort of a group that we brought together, or Rite   11   with Robert Thompson, who was the EVP of pharmacy
   12   Aid brought together, to where when a new large     12   at the time, to discuss significant
   13   initiative of some sort was being proposed, a       13   investigations involving pharmacists of various
   14   multi-functional group could discuss that           14   nature.
   15   initiative and, you know, whether there might be    15         Q. What are the types of things you
   16   any significant risks that are associated with      16   were investigating?
   17   it.                                                 17         A. It could be -- it could be all
   18         Q. Was this a standing committee or           18   kinds of things. It could be anything from, you
   19   was it an ad hoc committee?                         19   know, an issue involving theft of product, front
   20              MR. LAVELLE: Object to form.             20   end or pharmacy. It could involve inappropriate
   21              THE WITNESS: At this point in            21   behavior. It could involve allegations of
   22         time, I don't know.                           22   serious procedural violations. Any of a number
   23   BY MR. SIMMER:                                      23   of issues.
   24         Q. Did it become a standing                   24         Q. And what was the purpose of these

                                                Page 107                                                      Page 109
    1   committee later?                                     1   biweekly meetings you held with Robert Thompson?
    2       A. It is an existing committee that              2         A. I don't know that I can say
    3   meets on a periodic basis.                           3   specifically what the purpose was, because the
    4       Q. Has a charter?                                4   meetings were established before I -- I was not
    5       A. Again, I don't know which groups              5   the first person -- I didn't establish these
    6   have charters or not. I do not believe this          6   meetings. I took them over. So like I don't
    7   group has a charter.                                 7   know like if at the early onset there was some
    8       Q. Let me just go back for a second.             8   discussion of why are we doing this.
    9            On the Rx compliance                        9         Q. So any of the three committees
   10   subcommittee, were there meeting agendas?           10   that you refer to in this sentence involve
   11       A. At that point in time, I believe             11   suspicious order monitoring?
   12   so.                                                 12         A. No.
   13       Q. Was there a secretary of the                 13         Q. So not any aspect of what the
   14   committee?                                          14   activities were that these three committees were
   15       A. No.                                          15   involved in ever looked at suspicious order
   16       Q. Did someone take notes of these              16   monitoring. Correct?
   17   subcommittee meetings?                              17              MR. LAVELLE: Object to form.
   18       A. I don't know the answer to that.             18              THE WITNESS: I would never say
   19       Q. Were these face-to-face meetings?            19         ever regarding anything. That's asking
   20            MR. LAVELLE: Object to form.               20         for a recollection of, you know, eight
   21            THE WITNESS: Not everyone would            21         years and hundreds and hundreds and
   22       be present face to face but some people         22         hundreds of meetings. But the purpose of
   23       were.                                           23         the meetings was not directly suspicious
   24   BY MR. SIMMER:                                      24         order monitoring.

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    1   BY MR. SIMMER:                                    1         attorney-client communications to answer
    2        Q. As far as you recall, however,            2         this question, which is seeking the
    3   you don't recall ever that any of these           3         substance of discussions that occurred,
    4   committees discuss a specific instance of --      4         including the pharmacy compliance
    5   concerning a suspicious order. Right?             5         committee. I direct the witness not to
    6             MR. LAVELLE: Objection to the           6         answer the question.
    7        form of the question. And I also object      7              THE WITNESS: At the advice of
    8        and direct the witness not to answer to      8         counsel, I will not answer the question.
    9        the extent it would disclose the             9              MR. SIMMER: Madam Court
   10        substance of attorney-client                10         Reporter, I'd like to certify that last
   11        communications.                             11         series of questions and answers and we'll
   12             THE WITNESS: Yeah. At the              12         take this to the special master.
   13        advice of counsel, I'm not going to         13   BY MR. SIMMER:
   14        answer that question.                       14         Q. Would you read the next sentence
   15   BY MR. SIMMER:                                   15   after that, please, sir?
   16        Q. It was a yes or no question. I           16         A. Yes.
   17   didn't ask you to divulge any attorney-client    17              "I also traveled with the
   18   communications. You can answer.                  18   regulatory compliance group throughout the chain
   19             MR. LAVELLE: Again, I direct the       19   presenting on regulatory compliance and was also
   20        witness not to answer. It was a yes or      20   personally involved in conducting some high level
   21        no question seeking the substance of a      21   investigations."
   22        communication. So, yes, it does invade      22         Q. So you say that you traveled with
   23        the attorney-client privilege               23   the regulatory compliance group.
   24        potentially.                                24              Just trying to understand what
                                              Page 111                                                Page 113
    1             MR. SIMMER: How in the world            1   you mean by the regulatory compliance group.
    2        does that involve an attorney-client         2             What is that?
    3        communication? You've established no         3         A. There was a period of time where
    4        predicate whatsoever for the objection.      4   a multi-functional group from corporate would --
    5             You can answer.                         5   we referred to them as road shows -- would travel
    6             MR. LAVELLE: No, you can't.             6   throughout the regions or areas and speak to
    7        Direct the witness not to answer.            7   field leadership on a number of regulatory-type
    8             THE WITNESS: I don't even know          8   issues.
    9        what predicate means.                        9         Q. What was the purpose of those
   10             MR. SIMMER: He hasn't even             10   road show presentations that you gave?
   11        established that there was any kind of      11         A. Specifically mine or in general?
   12        attorney-client communication going on      12         Q. In general, sir.
   13        with regard to suspicious order             13         A. In general, okay.
   14        monitoring for these committees.            14             The purpose of the regulatory
   15             THE WITNESS: Yeah --                   15   road shows was to teach, reiterate and reinforce,
   16             MR. LAVELLE: Wait until he asks        16   educate on various compliance areas.
   17        a question that is directed to you. He's    17         Q. So at this point in time, you
   18        just arguing with me.                       18   were in the loss prevention department. Correct?
   19   BY MR. SIMMER:                                   19         A. Yes.
   20        Q. Did the committees ever deal with        20         Q. Was that part of compliance?
   21   suspicious orders that you recall, these three   21         A. Organizational structure?
   22   committees?                                      22         Q. Yes, sir.
   23             MR. LAVELLE: Again, objection to       23         A. Yes.
   24        the extent you would have to disclose       24         Q. So when you're talking about the

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    1   regulatory compliance group, that's an               1        Rite_Aid_OMDL_0032890 through
    2   overarching department that loss prevention is a     2        Rite_Aid_OMDL_0033115, was marked for
    3   part of; is that right?                              3        identification.)
    4         A. Well, there was no formalized               4                  - - -
    5   regulatory compliance group, but the loss            5   BY MR. SIMMER:
    6   prevention department reported up to the internal    6        Q. I'm going to hand you a massive
    7   assurance/compliance organization at that point      7   exhibit.
    8   in time.                                             8             MR. LAVELLE: Why don't you put
    9         Q. So when you talk about the                  9        those next to the court reporter so she's
   10   regulatory compliance group, there wasn't an        10        got them.
   11   actual official group by that name; is that         11   BY MR. SIMMER:
   12   right?                                              12        Q. What we've marked as Palmer
   13         A. That's correct.                            13   Exhibit Number 4. And lo and behold, the Bates
   14         Q. And instead, it was internal               14   numbers are on this document.
   15   assurance/compliance; is that right?                15        A. Good.
   16         A. There were more participants than          16        Q. Take a moment. I don't -- suit
   17   just internal assurance or compliance that          17   yourself, but I'm only going to ask questions
   18   participated.                                       18   about certain portions of this document. I'll
   19         Q. I'm just trying to establish, you          19   identify it for the record as
   20   said that a loss prevention department reported     20   Rite_Aid_OMDL_0032890 through 0033115.
   21   up to internal assurance/compliance?                21        A. Okay.
   22         A. That's correct.                            22        Q. Have you seen this before?
   23         Q. Who headed that group?                     23        A. Yes. I recognize this.
   24         A. At that point in time, that was            24        Q. When did you last see it?
                                                Page 115                                                Page 117
    1   Tony Bellezza.                                       1         A. I believe I saw some of this
    2         Q. And you say that you traveled               2   during depo prep. I don't -- this is huge. I
    3   throughout the chain.                                3   don't know that I saw all of it.
    4             What does that mean?                       4         Q. Is this the kind of presentation
    5         A. The chain would be the --                   5   that you were describing in the document we were
    6   wherever we had stores in the country. That          6   just looking at?
    7   means, you know, to different -- all across the      7         A. Yes, it is.
    8   country.                                             8         Q. So this would be the road show
    9         Q. And you gave presentations to --            9   presentation that you gave to field management?
   10   I believe you said to field management; is that     10         A. Well, this would be one example
   11   right?                                              11   of a road show presentation that a bunch of
   12         A. Yes.                                       12   different people gave to field management. I
   13         Q. This isn't the store managers?             13   certainly did not present on this entire
   14         A. No.                                        14   document.
   15         Q. So what level individuals are we           15         Q. So on the face page of this, it
   16   talking about that you gave these presentations     16   says, "Division 2, Region 22 & Group 51
   17   to?                                                 17   Regulatory Compliance, November" 2011.
   18         A. District and regional-type                 18             Tell us what that --
   19   leaders.                                            19             MR. LAVELLE: Object to form.
   20                - - -                                  20         2010.
   21             (Deposition Exhibit No. Rite              21   BY MR. SIMMER:
   22         Aid-Palmer-4, PowerPoint, "Division 2         22         Q. I'm sorry, 2010. Excuse me.
   23         Region 22 & Group 51 Regulatory               23             Tell us what that's saying on
   24         Compliance November 2010," Bates stamped      24   this face page.

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    1         A. That's reflective of the audience           1        A. Yes.
    2   for this particular session.                         2        Q. And do you see where it says, "4
    3         Q. So this is referring to division            3   years ago," and then there's an arrow over to
    4   2, which is a specific region of the country; is     4   "Today"?
    5   that right?                                          5        A. Yes.
    6             MR. LAVELLE: Object to form.               6        Q. Do you have an understanding what
    7             THE WITNESS: A division is the             7   was being presented in this slide about the
    8         largest sort of subgroup, if -- how Rite       8   regulatory landscape here?
    9         Aid stores are broken out, so yes.             9        A. This was part of Tony Bellezza's
   10   BY MR. SIMMER:                                      10   presentation. I'd have to speculate on what he
   11         Q. Did you have a hand in preparing           11   was referring to. This was not part of my
   12   any part of this presentation?                      12   presentation.
   13         A. The answer is yes. I just want             13        Q. So you don't have any
   14   to look to make sure I can find -- yes.             14   understanding what this is talking about?
   15         Q. And I think you said a moment              15        A. I could guess, but you're asking
   16   ago, there were a group of individuals that gave    16   me to speak to content in a presentation that I
   17   as a team -- on a team basis gave this              17   didn't write.
   18   presentation; is that right?                        18        Q. I'm just trying to understand
   19         A. Yes.                                       19   what you know and don't know about this
   20         Q. And it says -- we just went over           20   particular document.
   21   it a moment ago -- you actually were one of the     21              This is -- you're saying that you
   22   participants in giving these presentations.         22   don't have a firsthand knowledge about this
   23   Right?                                              23   slide; is that right?
   24         A. Yes.                                       24              MR. LAVELLE: Object to form.
                                                Page 119                                               Page 121
    1         Q. So how often did you give these             1             THE WITNESS: Yeah, but Tony
    2   presentations to specific field employees?           2        prepared his own slides and presented on
    3              MR. LAVELLE: Object to form.              3        his own material. And not everyone that
    4              THE WITNESS: Yeah. I don't                4        presented necessarily would even be in
    5         recall how often the road shows occurred.      5        the room during other presenters'
    6   BY MR. SIMMER:                                       6        material.
    7         Q. Did you try to hit regions of the           7   BY MR. SIMMER:
    8   country, you know, on a relative frequency           8        Q. So that it's possible you weren't
    9   that -- to keep the information up to date?          9   even in the room when this portion of this
   10              MR. LAVELLE: Object to form.             10   presentation would have been given. Right?
   11              THE WITNESS: I didn't schedule           11        A. It's possible. I tried to attend
   12         or wasn't really involved in the              12   them all, but again, my focus is on my part of
   13         scheduling of the road shows. I just          13   the presentation.
   14         participated on topics. So I can't            14        Q. How was it determined what part
   15         really answer that.                           15   of the presentation you would be giving?
   16   BY MR. SIMMER:                                      16        A. In my case, Tony Bellezza would
   17         Q. Who was the coordinator for these          17   ask me to do this or that. I think it changed
   18   road shows?                                         18   over time.
   19         A. I don't know.                              19        Q. Take a look at slides 39 and 40,
   20         Q. I direct your attention to slide           20   if you would. This is Bates ending 32928 and
   21   9.                                                  21   32929.
   22              Do you see the reference to              22        A. Yes.
   23   "Intense Regulatory Landscape" at the top of this   23        Q. It appears to be a list of "Top
   24   slide?                                              24   Areas of Noncompliance - Controlled Substances

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    1   (Total Company)."                                   1         A. That would.
    2              Do you see that?                         2         Q. Okay. And there are ordering
    3          A. I see that.                               3   limits under this DSD system; is that right?
    4          Q. Did you have a hand in preparing          4         A. Yes.
    5   that list?                                          5         Q. And the second big bullet, you
    6          A. No.                                       6   see, "McKesson CSMP thresholds."
    7          Q. Who would have prepared that?             7              Do you see that?
    8          A. I don't know. Generally it said           8         A. Yes.
    9   who was doing what presentations, but I can't --    9         Q. And that's different than the DSD
   10   it's a very large document, and at the moment, I   10   ordering limits. Right?
   11   can't seem to determine whose presentation we're   11         A. Yes.
   12   in.                                                12         Q. And it's a reference to
   13          Q. Again, you're just -- you don't          13   controlled drug only. Right?
   14   have any specific knowledge about the content of   14         A. Yes.
   15   those two slides. Right?                           15         Q. And the third one -- big bullet
   16          A. Not specifically. This wasn't            16   is "DC ordering limits."
   17   part of my presentation.                           17              And what does DC stand for?
   18          Q. Okay. Could you turn to -- I             18         A. Distribution center.
   19   guess there's not a number on it, but I think      19         Q. And what is that?
   20   it's slide 147. I'll identify it for the record    20         A. Distribution center is referring
   21   as 0033036, section "Controlled Drug Ordering      21   to our warehouse or warehouses.
   22   Limits. "                                          22         Q. And that specific ordering limit
   23              Do you see that?                        23   that's in reference to, what is that?
   24          A. 0033006?                                 24              MR. LAVELLE: Object to form.
                                               Page 123                                                 Page 125
    1             MR. LAVELLE: No. 33036.                   1             THE WITNESS: It's just what it
    2        Another 30 pages in.                           2         says. The distribution center will not
    3             THE WITNESS: Yes.                         3         ship more than 5,000 units of any
    4   BY MR. SIMMER:                                      4         controlled drug per order.
    5        Q. Is that a section you would have            5   BY MR. SIMMER:
    6   prepared?                                           6         Q. If you look at the next page,
    7        A. Yes, I believe so.                          7   which is 0033038, you see the big heading "DSD
    8        Q. Can I direct your attention to              8   Order Limits."
    9   the next page, please. That's Bates ending          9             Do you see that?
   10   33037.                                             10         A. Yes.
   11             Do you see that?                         11         Q. And did the DSD order limits
   12        A. Yes.                                       12   include controlled substances?
   13        Q. And it says "Types of Ordering             13         A. Yes.
   14   Limits."                                           14         Q. Okay. You see the bottom bullet
   15             Do you see that?                         15   here, where it says, "If a store is attempting to
   16        A. Yes.                                       16   order more than their limit the following message
   17        Q. And the first heading is "DSD              17   will invoke -- 'Order is greater than maximum
   18   Ordering limits."                                  18   order quantity allowed. Maximum order currently
   19             What is that?                            19   allowed for this NDC is X.'"
   20        A. DSD is direct store delivery. So           20             Do you see that?
   21   as we discussed before, that would be vendors      21         A. Yes.
   22   other than the Rite Aid warehouse.                 22         Q. Can you, in your own words, say
   23        Q. And that would include McKesson.           23   what was happening here?
   24   Correct?                                           24             MR. LAVELLE: Object to form.

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    1              THE WITNESS: The DSD order limit          1         A. Yes.
    2         process was not my area. That was sort         2         Q. Do you see where the heading says
    3         of a different individual's area. But I        3   "McKesson Controlled Substance Monitoring Program
    4         think it's -- it appears -- it's pretty        4   (CSMP) Thresholds?"
    5         straightforward as it's laid out here.         5         A. Yes.
    6   BY MR. SIMMER:                                       6         Q. Is this a slide you prepared?
    7         Q. Well, this is part of the slide             7         A. Yes.
    8   deck you said you prepared. Right?                   8         Q. Tell us what you're conveying in
    9         A. I prepared this working with and            9   this slide.
   10   I thought what you said was presented. So I         10         A. The -- basically a summary of how
   11   apologize. But this would have been prepared        11   the threshold monitoring process works.
   12   with more than one person having input into this,   12         Q. And this is the threshold
   13   because there's really three different              13   monitoring process that McKesson set up. Right?
   14   individuals involved and three different            14         A. Yes.
   15   processes involved.                                 15         Q. And this is the one I think you
   16              So just to be clear, I believe I         16   testified earlier was set up in 2008 by McKesson?
   17   presented this material, but I certainly wouldn't   17         A. Yes.
   18   have prepared this material on my own. I would      18         Q. And the one we looked at earlier,
   19   have needed other individuals' assistance. So if    19   you had a role in controlling or monitoring.
   20   I said prepared versus presented, I apologize.      20   Right?
   21         Q. That's fine. With that                     21              MS. DORRIS: Object to form.
   22   correction.                                         22              THE WITNESS: Did someone say
   23              So you did present this slide.           23         something?
   24   Right?                                              24   BY MR. SIMMER:

                                                Page 127                                                    Page 129
    1         A. I believe I did present this                1         Q. You had responsibility, you
    2   particular piece of material.                        2   talked about it in your evaluation, that you
    3         Q. And it is your testimony that DSD           3   had responsibility --
    4   order limits include controlled substances.          4         A. No, I thought I heard somebody
    5   Right?                                               5   else.
    6         A. Yes.                                        6         Q. -- for the CSMP. Right?
    7         Q. And if a store ordered more than            7              MR. LAVELLE: By way of
    8   their limit, they would be told that they -- a       8         explanation, counsel for McKesson is down
    9   maximum order quantity allowed, and they would       9         there, and she just made an objection to
   10   actually be told what the quantity limit is.        10         the form of the question.
   11   Right?                                              11              Do you need the -- do you need to
   12         A. That's what it says, so I assume           12         have the question repeated?
   13   that to be correct.                                 13              THE WITNESS: Yeah. I'm sorry,
   14         Q. Who was responsible for the DSD            14         that...
   15   orders?                                             15   BY MR. SIMMER:
   16         A. At this point in time?                     16         Q. I'm just trying to establish that
   17         Q. Yes, sir.                                  17   this CSMP threshold with regard to Rite Aid, you
   18         A. The individual who had expertise           18   said in your performance evaluation, the
   19   in this area I believe was Charlie Miller.          19   self-assessment section, that you had a role in
   20         Q. And what department did he work            20   controlling or monitoring this. Right?
   21   in?                                                 21         A. Yes. I've described my role
   22         A. Pharmacy operations.                       22   many, many, many times to this point.
   23         Q. Can I direct your attention to             23         Q. I'm just trying to establish,
   24   the next page.                                      24   that's what you were talking about in reference

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    1   on this slide. Right?                                1        of you object. You don't need to do a
    2        A. Yes. I'm referring to the                    2        piling on here, so...
    3   description of my role in the process that I have    3             MR. LAVELLE: Well, it's a bad
    4   described many times.                                4        question, but go on.
    5        Q. Can I direct your attention to               5             MR. SIMMER: You want to be the
    6   the third bullet, please, when it -- where it        6        questioner, John?
    7   says, "When a monthly threshold is met, all or       7             MR. LAVELLE: I will be later
    8   part of the order will be denied, with a 'Monthly    8        today.
    9   regulatory limit exceeded' message on the            9             THE WITNESS: Can you repeat the
   10   invoice."                                           10        question?
   11             Do you see that?                          11   BY MR. SIMMER:
   12        A. Yes.                                        12        Q. I'm trying to understand a
   13        Q. And tell us what you mean by                13   circumstance when McKesson denied all of the
   14   what's happening here.                              14   order, what's your understanding about why they
   15             MR. LAVELLE: Object to form.              15   made that decision to deny all of the order?
   16             THE WITNESS: So the way it would          16             MS. DORRIS: Object to form.
   17        work is when a store places an order and       17             THE WITNESS: It would have to do
   18        all or part of that order hits the base        18        with how much of the threshold was left.
   19        code limit, they would receive a message       19        So, for example, if the previous order
   20        on the invoice.                                20        used up all of the monthly threshold,
   21             So the way in which the store             21        then the subsequent order all would be
   22        would be informed would be right here.         22        denied. If the previous order didn't use
   23   BY MR. SIMMER:                                      23        up all of the order, and the second order
   24        Q. So there are instances where all            24        in its entirety took it over the limit,
                                                Page 131                                                 Page 133
    1   of the order was denied. Right?                      1         then in that case, part of the order
    2        A. Yes.                                         2         would be denied. It's a math thing.
    3        Q. And there were instances where               3   BY MR. SIMMER:
    4   part of the order was denied. Right?                 4         Q. So in that instance, your
    5        A. I believe that to be correct.                5   understanding is that McKesson would fill up to
    6        Q. So how do I know which is which?             6   the threshold and then that's all that would be
    7   I mean, is it always all or is it always part?       7   shipped. Right?
    8             MR. LAVELLE: Object to form.               8             MS. DORRIS: Object to form.
    9   BY MR. SIMMER:                                       9             THE WITNESS: And the message
   10        Q. Just trying to understand.                  10         would invoke.
   11        A. You would know what you ordered             11   BY MR. SIMMER:
   12   and you would know what you received, so it         12         Q. Look at the last bullet on this
   13   wouldn't be a difficult mathematical calculation    13   page. Do you see where it says, "If a store has
   14   to ascertain that.                                  14   an order blocked and has legitimate need to order
   15        Q. So instances where McKesson                 15   more, the store needs to contact their PDM who
   16   denied all of the order, what would go into that    16   will review the need and contact Andy Palmer
   17   decision, as you understand it?                     17   (extension 7866), with the following information:
   18             MS. DORRIS: Object to form.               18   1) Store Number, 2) The product required, and 3)
   19             MR. LAVELLE: Also object to               19   The business reason" for "the percentage increase
   20        form.                                          20   requested"?
   21             THE WITNESS: Yeah, I'm only --            21             Do you see that?
   22             MR. SIMMER: Only one of you gets          22             MR. LAVELLE: Object to form.
   23        to object on that. The CMO says one            23             THE WITNESS: Yes.
   24        objector only. So once one objects, all        24   BY MR. SIMMER:

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    1         Q. And that's the process that you             1   slide?
    2   went through when you looked at threshold            2         A. The distribution center limits on
    3   increases. Right?                                    3   controlled substance orders.
    4         A. Yes. This is the process that               4         Q. Now, did these requests to
    5   has been described multiple times.                   5   increase above the threshold come to you in your
    6         Q. When you again -- when you say              6   role?
    7   the PDM who will review the need, what did you       7         A. No.
    8   mean by that?                                        8         Q. Who would review those?
    9         A. Meaning that they should take a             9         A. Those would go to Janet Hart.
   10   look at the product and talk to the store and try   10         Q. And just so I can clarify, the
   11   and gain an understanding of what is, you know,     11   CSMP threshold increase requests, those came to
   12   specifically occurring, driving that -- driving     12   you.
   13   that need.                                          13             Was Janet involved in that
   14         Q. And what are business reasons              14   decision as well?
   15   that would justify an increase?                     15             MR. LAVELLE: Object to form.
   16         A. We've actually covered that, but           16             THE WITNESS: No, no.
   17   I will be happy to provide some examples.           17   BY MR. SIMMER:
   18         Q. Just give us an -- give me some            18         Q. But with regard to the Rite Aid
   19   examples of business need.                          19   distribution centers, that was a decision made by
   20         A. Okay. So a pour over or file buy           20   Janet. Right?
   21   was one of the things we discussed. Organic         21         A. Those were reviewed by Janet.
   22   growth was one of the things we discussed. Some     22         Q. Who prepared the content
   23   other, you know, reasons would be new -- a new      23   describing this on this slide?
   24   provider in the area. I think we discussed that,    24         A. I can't answer that.
                                                Page 135                                                 Page 137
    1   like a new hospital opening up or, you know, the     1         Q. This is a slide you gave in these
    2   existing hospital opening a cancer treatment         2   presentations?
    3   clinic. A new type of prescriber, for example,       3         A. I presented. I would assume
    4   like a podiatrist that maybe there was no            4   Janet helped put this together.
    5   podiatrist in the area before, some new type of      5         Q. As you understand it, since
    6   prescriber. And possibly supply chain issues         6   you're the one who gave the content on this, that
    7   with the Rite Aid distribution center would be       7   Rite Aid, for its own distribution centers, had a
    8   another relatively common business reason.           8   quantity limit of 5,000 dosage unit of any
    9         Q. Is it your understanding that the           9   controlled drug and any location for one month.
   10   PDM, when they're submitting this request, would    10   Right?
   11   have had the opportunity to review prescription     11              MR. LAVELLE: Object to form.
   12   data at the store level?                            12              THE WITNESS: That's what it
   13         A. I can't -- I can't answer that.            13         says, yes.
   14         Q. You don't know one way or the              14   BY MR. SIMMER:
   15   other whether they ever looked at prescription      15         Q. That's the content you gave on
   16   data at the store level?                            16   this slide, right, when you gave this
   17         A. I do not.                                  17   presentation?
   18         Q. I direct your attention to the             18              MR. LAVELLE: Object to form.
   19   next page, please.                                  19              THE WITNESS: Yes.
   20             Do you see where it says "Rite            20   BY MR. SIMMER:
   21   Aid Distribution Center Limits on Controlled Drug   21         Q. And the second bullet, you say
   22   Orders"?                                            22   that, "If a store orders" more than 5 units, "the
   23         A. Yes.                                       23   order will be cut back to" 5 units "by the
   24         Q. And what's being conveyed on this          24   shipping DC."

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    1             MR. LAVELLE: Object to form.                  1         Q. And the slide also goes on to
    2             MR. SIMMER: I haven't asked my                2   say, "Historically this has been a rare
    3         question yet.                                     3   requirement with less than a dozen locations
    4             MR. LAVELLE: Well, you said                   4   currently authorized for over 5000 units of any
    5         5 units. It says 5,000.                           5   item per order."
    6             MR. SIMMER: I'm sorry.                        6              Do you see that?
    7             MR. LAVELLE: I'm just trying to               7         A. Yes.
    8         help you.                                         8         Q. So is it your understanding that
    9   BY MR. SIMMER:                                          9   this is indeed a rare occurrence?
   10         Q. "If a store orders over                       10              MR. LAVELLE: Object to form.
   11   5,000 units the order will be cut back to              11              THE WITNESS: Yeah. I believe
   12   5,000 units by the shipping DC."                       12         that to be correct, but those are -- you
   13             And that's the threshold limit               13         know, Janet would have prepared the
   14   that was imposed by Rite Aid for its own               14         slide. But I have no reason to believe
   15   distribution centers. Right?                           15         it wouldn't have been correct.
   16         A. Yes.                                          16   BY MR. SIMMER:
   17         Q. You see where it says, too, that              17         Q. With regard to the three
   18   if they want more, they can request more through       18   different monitoring systems we're talking about
   19   their PDM?                                             19   here -- strike that.
   20             MR. LAVELLE: Object to form.                 20              With regard to the three
   21             THE WITNESS: Yes, yes.                       21   different types of ordering limits that were
   22   BY MR. SIMMER:                                         22   being used here, do I have it right that stores
   23         Q. And the next bullet says what the             23   utilized all three of these?
   24   PDM should do in terms of reviewing that request.      24              MR. LAVELLE: Object to form.
                                                    Page 139                                               Page 141
    1             Do you see that?                              1             THE WITNESS: Your question said
    2        A.    Yes.                                         2        stores use? I don't think that's what
    3        Q.    If you look at the next slide,               3        you actually meant. Stores don't use a
    4   please.                                                 4        distribution center limit on controlled
    5              Do you see the header on this                5        drug orders.
    6   slide says, "Rite Aid Distribution Center Limits        6             Would you like to clarify?
    7   on Controlled Drug Orders"?                             7   BY MR. SIMMER:
    8              Do you see that?                             8        Q. So we have three different
    9         A. Yes.                                           9   systems. Right?
   10         Q. And do you see where it says, in              10        A. Three different limits.
   11   the first bullet, "If there is a valid need to         11        Q. I'm trying to understand, all
   12   increase a threshold for a controlled substance        12   three limits would be applicable to all the
   13   the PDM should contact Janet Hart."                    13   stores. Right?
   14              Do you see that?                            14        A. Yes.
   15         A. Yes.                                          15        Q. I asked the question right.
   16         Q. Do you have an understanding what             16   Okay. Thank you.
   17   is meant by valid need?                                17             And so would the thresholds for
   18         A. I would assume that's the same                18   each of these three different limits was
   19   thing as business need in the case of the              19   monitored across all stores across the entire
   20   McKesson thresholds.                                   20   country. Right?
   21         Q. And you gave this slide in your               21             MR. LAVELLE: Object to form.
   22   presentations. Right?                                  22             THE WITNESS: I don't know that I
   23         A. I would have spoken to this slide             23        can answer that the way that you phrased
   24   if I would have been presenting, yes.                  24        the question.

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    1   BY MR. SIMMER:                                       1             I want to make sure I understand
    2        Q. What question can't you -- or can            2   that you would agree with me that Rite Aid had an
    3   you answer?                                          3   obligation to prevent diversion.
    4             MR. LAVELLE: Object to form.               4             MR. LAVELLE: Object to form.
    5             THE WITNESS: I believe there are           5             THE WITNESS: Okay. Your
    6        or were stores that don't even have             6        question is in regard to diversion in
    7        pharmacies. So when you say stores,             7        general, which is simply the deviation
    8        there would certainly be some stores --         8        from a known or established path. I'm
    9        if the store doesn't have a pharmacy            9        assuming that what you probably mean is
   10        department, it wouldn't apply.                 10        drug diversion.
   11   BY MR. SIMMER:                                      11   BY MR. SIMMER:
   12        Q. Subject to your qualification               12        Q. Yes. Drug diversion.
   13   then for Rite Aid pharmacies, these three           13             Did Rite Aid have an obligation
   14   ordering limits processes were used for all of      14   to prevent drug diversion?
   15   those stores nationwide. Right?                     15             MR. LAVELLE: Object to form.
   16        A. Yes. These were chain-wide                  16             THE WITNESS: I believe so.
   17   programs.                                           17   BY MR. SIMMER:
   18             MR. LAVELLE: Counsel, if we're            18        Q. Based on your experience working
   19        ready to move to another document, it's        19   with the company, you're familiar with the
   20        about 12:30. This might be a good time         20   concept of a suspicious order in the context of
   21        for a lunch break?                             21   controlled substance distribution, aren't you?
   22             MR. SIMMER: Can we go about 10            22        A. The general concept, yes.
   23        more minutes? Do you have a problem with       23        Q. And what in your words does it
   24        that?                                          24   mean?
                                                Page 143                                                 Page 145
    1            MR. LAVELLE: It's okay by me.               1        A. A suspicious order would be a
    2            What do you -- what are your                2   highly unusual order.
    3        thoughts? Are you okay? Do you need a           3        Q. And you would agree with me that
    4        break? Can you go another 10 minutes?           4   Rite Aid had an obligation to report any
    5            THE WITNESS: I can go another 10            5   suspicious orders to the DEA. Right?
    6        minutes.                                        6            MR. LAVELLE: Object to form.
    7            MR. LAVELLE: Okay.                          7            THE WITNESS: I'm not 100 percent
    8   BY MR. SIMMER:                                       8        familiar with the exact DEA requirement.
    9        Q. Do you understand what the term              9        My understanding is distribution centers
   10   "diversion" means?                                  10        have an obligation to report suspicious
   11        A. I believe I do.                             11        orders.
   12        Q. Can you tell us in your own words           12   BY MR. SIMMER:
   13   what diversion means?                               13        Q. Not the company itself. Right?
   14        A. Diversion would mean deviation              14            MR. LAVELLE: Object to form.
   15   from an established path.                           15            THE WITNESS: Again, I'm not -- I
   16        Q. And based on your knowledge and             16        don't know that I can answer that
   17   experience, you would agree with me that Rite Aid   17        question. That's not really...
   18   had an obligation to prevent diversion. Right?      18   BY MR. SIMMER:
   19            MR. LAVELLE: Object to form.               19        Q. Do you have an understanding of
   20            THE WITNESS: I believe that Rite           20   what specific departments of the company had the
   21        Aid did have policies, procedures,             21   obligation to report suspicious orders to the
   22        processes to prevent drug diversion.           22   DEA?
   23   BY MR. SIMMER:                                      23            MR. LAVELLE: Object to form.
   24        Q. Wasn't quite my question.                   24            THE WITNESS: I believe

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    1        distribution centers would have an              1          Q. Hand you what we've marked as
    2        obligation to report suspicious orders.         2   Palmer Exhibit Number 5.
    3   BY MR. SIMMER:                                       3                   - - -
    4        Q. You would agree with me that Rite            4              (Deposition Exhibit No. Rite
    5   Aid had an obligation not to ship any suspicious     5          Aid-Palmer-5, Email dated 2008-02-19,
    6   orders. Right?                                       6          Bates stamped Rite_Aid_OMDL_0046594 and
    7              MR. LAVELLE: Object to form.              7          Rite_Aid_OMDL_0046595, was marked for
    8              THE WITNESS: I can't answer               8          identification.)
    9        that.                                           9                   - - -
   10   BY MR. SIMMER:                                      10   BY MR. SIMMER:
   11        Q. You don't know the answer to that           11          Q. While you're looking at that,
   12   question?                                           12   I'll identify it for the record as
   13        A. I don't know the answer to that             13   Rite_Aid_OMDL_0046594 through 46595.
   14   question.                                           14          A. Okay.
   15        Q. Do you know what the red flags of           15          Q. Have you seen this document
   16   diversion are?                                      16   before?
   17        A. I know of the concept for red               17          A. Not that I recollect.
   18   flags as it relates to diversion.                   18          Q. It appears to be an email that
   19        Q. And what's your understanding of            19   you sent to Janet Hart on February 19, 2008.
   20   the concept of the red flags of diversion?          20              Do you see that?
   21        A. That red flags represent                    21          A. Yes.
   22   indicators that may indicate a deviation from the   22          Q. And the subject is "proposed
   23   path or a possible deviation from the path.         23   McKesson response."
   24              MR. SIMMER: We can take our              24              Do you see that?
                                                Page 147                                              Page 149
    1        break for lunch.                                1         A. Yes.
    2              MR. LAVELLE: Okay.                        2         Q. And then it has an attachment,
    3              THE VIDEOGRAPHER: Off the record          3   "DEA Dosage Report Response.doc."
    4        at 12:31 p.m.                                   4             Do you see that?
    5                  - - -                                 5         A. Yes.
    6              (A luncheon recess was taken from         6         Q. Am I right that the attachment
    7        12:31 p.m. to 1:12 p.m.)                        7   here is where it says "DEA Dosage Report
    8                  - - -                                 8   Response"?
    9              THE VIDEOGRAPHER: We're back on           9             Do you see that?
   10        the record at 1:12 p.m.                        10         A. Yes.
   11   BY MR. SIMMER:                                      11         Q. Am I right that that is a
   12        Q. Mr. Palmer, are you familiar with           12   response that you appear to have prepared?
   13   Rite Aid's suspicious order monitoring program?     13             MR. LAVELLE: Object to form.
   14        A. No, not really.                             14             THE WITNESS: I don't know.
   15        Q. Have you ever had any role in,              15   BY MR. SIMMER:
   16   you know, development or just -- of a suspicious    16         Q. You don't recall having prepared
   17   order monitoring program of any kind?               17   this?
   18              MR. LAVELLE: Object to form.             18         A. I do not recall.
   19              THE WITNESS: My understanding is         19         Q. It appears, though, that you sent
   20        the suspicious order monitoring program        20   this document to Ms. Hart; is that right?
   21        is -- relates to the distribution              21         A. Yes.
   22        centers. I've not really had much              22         Q. I direct your attention to the
   23        involvement in the distribution centers.       23   first paragraph of the attached document here.
   24   BY MR. SIMMER:                                      24             Do you see where it says, "Rite
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    1   Aid already has sophisticated tools in place to     1              THE WITNESS: This would probably
    2   effectively monitor controlled substance            2         be our -- our pharmacy dispensing system
    3   purchases relative to potential diversion"?         3         and the other corresponding systems that
    4              Do you see that?                         4         go with it like replenishment are all
    5         A. Yes.                                       5         proprietary. It's not a canned product
    6         Q. And what's your understanding              6         we purchase.
    7   what's being said here?                             7   BY MR. SIMMER:
    8              MR. LAVELLE: Object to form.             8         Q. And you're familiar with the fact
    9              THE WITNESS: It appears to be            9   that they -- it is utilized for controlled
   10         saying just what it does, that we have       10   substances?
   11         tools in place to detect controlled          11         A. Utilized for controlled
   12         substance diversion.                         12   substances for what? Are you talking about --
   13   BY MR. SIMMER:                                     13         Q. It says here that it "monitors
   14         Q. You have no recollection of               14   all purchases...of Controlled substances."
   15   having written that; is that right?                15              Do you see that?
   16         A. I can't answer just based on this         16         A. Yes.
   17   whether I wrote this or was just emailing it to    17         Q. And in fact, is that something
   18   Janet. There's not enough information here for     18   you believe is going -- went on with its
   19   me to determine that.                              19   proprietary application?
   20         Q. Look at the -- under the first            20              MR. LAVELLE: Object to form.
   21   bullet, do you see where it says, "Rite Aid        21              THE WITNESS: Yes. I believe
   22   utilizes a proprietary application that monitors   22         this is referring to the inventory
   23   all purchases (both" from Rite Aid's own           23         replenishment piece of the pharmacy
   24   distribution centers and McKesson) of Controlled   24         system that, as was described previously
                                               Page 151                                                  Page 153
    1   substances                                          1      with -- relative to one of those blocks,
                                                            2      would have that capability.
                                                            3   BY MR. SIMMER:
    4              Do you see that?
    5         A. Yes.
    6         Q. Can you help us with some of the
    7   terminology in this sentence?
    8              What is GCSN, do you know?
    9              MR. LAVELLE: Object to form.
   10              THE WITNESS: GCSN stands for
   11         generic code sequence number.                11            MR. LAVELLE: Object to form.
   12   BY MR. SIMMER:
   13         Q. And what is the generic code
   14   sequence number in reference to?
   15         A. GCSN is an industry-based number
   16   that sort of is a way of grouping like products,
   17   is my understanding. That's the best way I can
   18   sort of explain that.
   19         Q. And this sentence where it's
   20   talking about the system that Rite Aid utilizes    20   BY MR. SIMMER:
   21   that is described here as "proprietary             21        Q. In the second sentence it goes on
   22   application," do you have an understanding of      22   to say, "Exceptions are generated for field
   23   what's being talked about?                         23   review and response monthly."
   24              MR. LAVELLE: Object to form.            24             What's your understanding of

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    1   what's being said there?                           1   proprietary product, in the sense that a vendor
    2         A. I actually can't recall or I              2   sort of provided and supported the, you know,
    3   don't know specifically what -- what exceptions    3   functionality there.
    4   they were referring to there.                      4              NaviStor came first. NaviStor
    5         Q. Okay. The third sentence, it              5   utilized point of sale system feeds to provide,
    6   says, "By utilizing both Rite Aid distribution     6   you know, KPIs as a result of things coming from
    7   center purchases as well as McKesson purchases     7   the register-type systems.
    8   this application better identifies potential       8              NaviScript was a sort of -- sort
    9   diversion than any reporting from McKesson."       9   of a different tool -- they're the same company,
   10             Do you have an understanding            10   but NaviStor is what was referred to really that
   11   what's being said there?                          11   original bucket that is front end POS generated.
   12         A. I believe this is referencing the        12              NaviScript is the piece that is
   13   portal application, the Above Average portal      13   drawing data feeds from pharmacy systems versus
   14   application.                                      14   cash register systems.
   15         Q. And it says here this is a better        15         Q. Who is the vendor that created
   16   system than just any reporting from McKesson.     16   this NaviStor/NaviScript?
   17   Right?                                            17         A. It's on the tip of my tongue. If
   18             MR. LAVELLE: Object to form.            18   I heard it, I would know it immediately, but I
   19             THE WITNESS: Yes. That would be         19   can't recall it at this exact moment.
   20         because it has the ability to see both.     20         Q. Is it something the company still
   21         McKesson can't see both sides of the        21   utilizes?
   22         fence is what that's referring to.          22              MR. LAVELLE: Object to form.
                                                          23              THE WITNESS: The company still
                                                          24         uses NaviStor/NaviScript, but I don't
                                              Page 155                                                       Page 157
                                                           1         think -- I think it's evolved and
                                                           2         changed. I don't think that the -- it's
                                                           3         a vendor-based application at this point.
                                                           4   BY MR. SIMMER:
                                                           5         Q. Now, you say that NaviStor
                                                           6   utilized a point of sale system. So help me
                                                           7   understand what you mean by that.
    8        Q. Look at the second bullet, if you          8             So is NaviStor analyzing the
    9   would.                                             9   actual sales at the pharmacy level?
   10        A. Uh-huh.                                   10         A. Well, NaviStor was built less
   11        Q. Do you see where it says, "Rite           11   around pharmacy versus NaviScript, which is all
   12   Aid also utilizes a Data Mining vehicle called    12   about pharmacy.
   13   Navistor/Naviscript to monitor multiple key       13             So NaviStor would be getting data
   14   performance indicators related to potential       14   from the cash register systems. Certainly that
   15   diversion"?                                       15   would include pharmacy cash registers, but
   16             Do you see that?                        16   NaviStor was not just about pharmacy or pharmacy
   17        A. Yes.                                      17   cash registers. NaviStor was really about, you
   18        Q. There're two different terms used         18   know, the ability to see, you know, transactions
   19   there. I wonder if you could help us understand   19   occurring at, you know, those cash registers in
   20   the difference between them.                      20   order to determine, you know, if, for instance --
   21             It says, "Navistor/Naviscript."         21   I guess an example would be somebody who's taking
   22             Is there a difference?                  22   an $18 product, say, whatever, a carton of
   23        A. Yes. A little bit. So                     23   cigarettes, and they're modifying that price down
   24   NaviStor/NaviScript was not a Rite Aid            24   to $2 or, you know, applying a coupon that

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    1   shouldn't have been applied. So it's those sorts     1   be -- these key performance indicators could be
    2   of activities.                                       2   used to detect policy violations of different
    3        Q. Do I have it right then that                 3   sorts or nature.
    4   NaviScript would actually see the point of sale      4             And what do you mean by that?
    5   transaction on a per-prescription basis?             5         A. So there are lots of policies
    6        A. Both NaviStor and NaviScript had             6   relative to things you can or cannot do at the
    7   the ability to see information related to the        7   cash register, price modifies, voids, things like
    8   cash register.                                       8   that.
    9        Q. You also say in that sentence,               9             So, you know, an example there
   10   "key performance indicators."                       10   would be -- let's say you had a cashier that was
   11              And you referred to that a moment        11   sweethearting merchandise to a customer, meaning
   12   ago I think as KPI; is that right?                  12   basically not charging them for it. They could
   13        A. Yes. KPI is short for key                   13   be doing that by voiding certain items in the
   14   performance indicator.                              14   transaction. And utilizing NaviStor, you could
   15        Q. Tell us in your own words what              15   see that maybe you had a particular cashier at a
   16   key performance indicators means.                   16   particular store voiding lots of merchandise,
   17        A. So a key performance indicator              17   which would allow you to look into that and say,
   18   would be a particular attribute or action or        18   okay, we might have an issue here.
   19   activity that could be pulled into NaviStor or      19         Q. Now, in the context of the DEA's
   20   NaviScript that would be useful in terms of         20   concerns about controlled drug diversion, how
   21   detecting theft, detecting procedural abuses,       21   were these key performance indicators used?
   22   detecting policy violations of different sorts or   22         A. So that's really NaviScript. And
   23   nature, so...                                       23   it evolved. So NaviScript got better and better
   24        Q. I think we understand what you              24   and better as we added more KPIs and, you know,
                                                Page 159                                                 Page 161
    1   mean by a theft, but why don't you go ahead and      1   improved it.
    2   say it again, what you mean when you reference       2              But key performance indicators,
    3   theft.                                               3   like cycle counts down, order adjustments, DSD
    4              What is that?                             4   orders through telestock, you know, these are all
    5              MR. LAVELLE: Object to form.              5   examples of KPIs that could be indicative of drug
    6              THE WITNESS: So theft would be a          6   losses at a store.
    7         loss of product or inventory that would        7         Q. Again, I think you're talking
    8         result in shrink. So when you -- when          8   about shrinkage, though. Right?
    9         the books say you have this amount or          9              MR. LAVELLE: Object to form.
   10         dollar amount, and the physical inventory     10              THE WITNESS: It is shrinkage,
   11         reveals that you don't, the difference        11         but it's certainly also drug diversion,
   12         between the two is shrink.                    12         which is what you asked.
   13   BY MR. SIMMER:                                      13   BY MR. SIMMER:
   14         Q. You also say that the key                  14         Q. Well, let me go through that and
   15   performance indicators would be used to detect      15   make sure I understand.
   16   procedural abuses.                                  16              You said cycle counts down.
   17              What do you mean by that?                17              How does that key performance
   18         A. An example -- a procedural abuse           18   indicator indicate potential diversion?
   19   would be where something, you know, might be        19         A. Okay. So in the pharmacy like
   20   allowable to a certain degree, but, you know, you   20   the front end, there is an inventory -- PI, a
   21   can see from the KPI that it's being used more      21   perpetual inventory system. So the system should
   22   than it should be. Coupon abuse would be an         22   know exactly how much of a given product -- and
   23   example.                                            23   this is true in the front end or the pharmacy --
   24         Q. Finally you said that they could           24   how much of a given product that store has. So a

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    1   thief could, for example, realize that if the        1   down. And an adjustment up or adjustments up
    2   thief stole X number of product off the shelf,       2   could be -- could be indicative of internal
    3   that now is going to indicate that there's -- you    3   theft.
    4   know, there's only one there instead of three,       4         Q. Again, this is an indication of
    5   which means, you know, product is not going to       5   internal theft only. Right?
    6   come in, inventory is not going to be accurate.      6         A. Yes.
    7              So in order to potentially try to         7         Q. It would not be indicative of any
    8   hide or mask their theft, what they might do is      8   inappropriate prescribing, for example. Right?
    9   cycle count the product down to where now the        9         A. Neither of those two KPIs would
   10   system says there's one on the shelf, even though   10   be indicative of that.
   11   you just stole two. So...                           11         Q. Were there any KPIs that the
   12         Q. In that instance, this -- you're           12   company used to identify inappropriate
   13   concerned about a Rite Aid employee actually        13   prescribing?
   14   altering the system to make that cycle count        14         A. I can't see -- again, I wasn't in
   15   down. Am I right?                                   15   this department the entire time, but I cannot see
   16         A. Yes. That would be indicative of           16   how any NaviStor or NaviScript KPI would be able
   17   internal theft.                                     17   to do that.
   18         Q. You also mentioned order                   18                 - - -
   19   adjustments as being a key performance indicator    19             (Deposition Exhibit No. Rite
   20   of diversion.                                       20         Aid-Palmer-6, Department of Justice News
   21              Tell us what you mean by that.           21         Release, "Rite Aid Corporation and
   22         A. So the way the inventory                   22         Subsidiaries Agree to Pay $5 Million in
   23   replenishment system would work is the system       23         Civil Penalties to Resolve Violations in
   24   would basically use your usage and the on-hand      24         Eight States of the Controlled Substances
                                                Page 163                                                 Page 165
    1   numbers to determine what the order should be.       1         Act," 2 pages, was marked for
    2              So in the old days of pharmacy,           2         identification.)
    3   you would have to basically walk the shelves and,    3                  - - -
    4   you know, I want two of this, I want one of this.    4   BY MR. SIMMER:
    5              With a replenishment system, the          5         Q. I'll hand you what we've marked
    6   system knows what you dispensed, it knows what       6   as Palmer Exhibit Number 6. Take a moment to
    7   you transferred, returned, those things we talked    7   review that.
    8   about. And it knows what you're supposed to have     8         A. (Reviewing document.)
    9   on hand.                                             9         Q. While he's looking at it, I'll
   10              So the system builds the order           10   identify it for the record as a press release
   11   for you. And, you know, that's -- that's sort of    11   from the Department of Justice dated Monday,
   12   a suggested order. But both in the front end and    12   January 12, 2009.
   13   the pharmacy, you have the ability to adjust        13         A. Okay.
   14   orders.                                             14         Q. Do you recall having seen this
   15              So a good example -- a good front        15   press release?
   16   end example would be, I know that in an upcoming    16         A. I have, yes.
   17   ad, Tylenol PM is on sale. And the system only      17         Q. And this is in reference a
   18   wants to sell me -- you know, give me four of       18   settlement that Rite Aid entered into -- excuse
   19   these, but, you know, I know that I'll have         19   me, Rite Aid Corporation and its subsidiaries
   20   customers wanting Tylenol PM, so I'm going to       20   entered into for $5 million.
   21   adjust it from 4 to 10, or something like that.     21             Do you see that?
   22              Similar in the pharmacy, the             22         A. Yes.
   23   order is going to be generated. The pharmacist      23         Q. And this settlement actually
   24   would have the chance to adjust that order up or    24   occurred while you worked in loss prevention.

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    1   Right?                                               1   BY MR. SIMMER:
    2              MR. LAVELLE: Object to the form.          2         Q. Hand you what we've marked as
    3              THE WITNESS: The settlement               3   Palmer Exhibit Number 7.
    4         occurred?                                      4         A. Uh-huh.
    5   BY MR. SIMMER:                                       5         Q. Take a look at that. And I'll
    6         Q. Yes, sir.                                   6   identify it for the record as an article from the
    7         A. That does not mean that the                 7   Lexington Herald Leader dated January 14, 2009.
    8   activities involved in the settlement occurred.      8   The headline is "Rite Aid pharmacy deemed central
    9         Q. That's right.                               9   to multi-state drug probe."
   10              The settlement itself occurred           10         A. Yes.
   11   while you were working in loss prevention.          11         Q. Are you familiar with the fact
   12   Right?                                              12   that the Rite Aid pharmacy in Lexington, Kentucky
   13         A. The settlement itself.                     13   was central to this settlement in 2009?
   14         Q. Okay. If you look at the third             14             MR. LAVELLE: Object to form.
   15   paragraph, do you see where it says, "According     15             THE WITNESS: When you say
   16   to information contained in the agreement, the      16         "central," no, I don't know if it was
   17   DEA conducted an investigation of 53 separate       17         central. And to be clear on my response
   18   Rite Aid locations starting in 2004. The            18         before, this says, "at pharmacies." I
   19   investigation revealed a pattern of violations of   19         would note that that's plural.
   20   the CSA"?                                           20             So when you asked before about me
   21              Do you see that?                         21         being familiar with these issues, I am
   22         A. Yes.                                       22         familiar with this one store. I have no
   23         Q. And do you see that first bullet,          23         idea what -- you know.
   24   "At pharmacies in Kentucky and New York, Rite Aid   24   BY MR. SIMMER:
                                                Page 167                                                 Page 169
    1   knowingly filled prescriptions for controlled        1         Q. Okay. Well, let's look at the
    2   substances that were not issued for a legitimate     2   news article itself.
    3   medical purpose pursuant to a valid                  3              Do you see in the first paragraph
    4   physician-patient relationship"?                     4   where it says, "A Rite Aid Corp. store in
    5             Do you see that?                           5   Lexington is responsible for more than
    6         A. Yes.                                        6   three-quarters of the prescription-drug
    7         Q. Do you have an understanding what           7   violations in a multi-state federal
    8   was involved in that particular portion of this      8   investigation"?
    9   settlement?                                          9              Do you see that?
   10         A. Not all of it, no.                         10         A. Yes.
   11         Q. You were a district manager, I             11         Q. Is that something you were aware
   12   think you said, of pharmacies in Kentucky?          12   of, that this Lexington store was responsible for
   13         A. Yes.                                       13   three-quarters of the violations in this
   14         Q. Were you a district manager of             14   particular settlement?
   15   the Lexington Rite Aid pharmacies?                  15              MR. LAVELLE: Object to form.
   16         A. Yes.                                       16              THE WITNESS: I am familiar with
   17                  - - -                                17         the Lexington store and the allegations
   18             (Deposition Exhibit No. Rite              18         around the Lexington store.
   19         Aid-Palmer-7, Article from the Lexington      19         Three-quarters, one-half, one-fifth,
   20         Herald Leader entitled "Rite Aid Pharmacy     20         one-eighth, no.
   21         deemed central to multi-state drug            21   BY MR. SIMMER:
   22         probe," 3 pages, was marked for               22         Q. Any reason to dispute the
   23         identification.)                              23   accuracy of that statement in this news article?
   24                  - - -                                24              MR. LAVELLE: Object to form.

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    1             THE WITNESS: No.                          1   BY MR. SIMMER:
    2   BY MR. SIMMER:                                      2        Q. You're saying that because the
    3        Q. Look further on into the article.           3   company didn't admit any liability, there's a
    4   It would be the fourth paragraph.                   4   potential nothing happened at all at this
    5             Do you see where it says, "The            5   Lexington store that you managed. Right?
    6   investigation revealed 16,000 violations in         6             MR. LAVELLE: Object to form.
    7   Kentucky and seven other states"?                   7             THE WITNESS: I would say that
    8             Do you see that?                          8        this location was one of the Lexington
    9        A. Yes.                                        9        locations I supervised for a period of
   10        Q. And look in the next paragraph.            10        time. I would say that there was issues
   11   "About 12,600 of the violations came from one      11        that later came to light around this
   12   Lexington Rite Aid from 2001 to August 2005,       12        particular diet clinic and this
   13   according to a Department of Justice news          13        particular product, which I also would
   14   release. The store moved from 393 Waller Avenue    14        point out is not an opioid. So I'd like
   15   to 1335 South Broadway."                           15        to make that clear, since this is opioid
   16             Do you see that?                         16        litigation.
   17        A. Yes.                                       17   BY MR. SIMMER:
   18        Q. Did I read that correctly?                 18        Q. It's a controlled drug, though.
   19        A. You did.                                   19   Right?
   20        Q. And that was a store over which            20        A. It is a controlled drug.
   21   you had managerial responsibility. Right?          21        Q. Any dispute about that, that this
   22        A. For a period of time, yes.                 22   was a controlled substance under your watch.
   23        Q. What period of time during the             23   Right?
   24   time period that became an issue in this           24             MR. LAVELLE: Object to form.
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    1   settlement were you the district manager of this    1             THE WITNESS: It's a controlled
    2   Lexington store?                                    2        substance.
    3         A. Well, going off of this 2001 to            3   BY MR. SIMMER:
    4   August of 2005, probably 2000 -- parts of 2002      4        Q. Did the company penalize you in
    5   till 2003.                                          5   any way as the district manager for violations at
    6         Q. So are we talking at least a year          6   this Lexington store?
    7   that you were the manager over this store?          7        A. No.
    8         A. Probably about a year.                     8        Q. Never came up again that you were
    9         Q. So as manager of the store, would          9   in any way responsible for what happened at the
   10   it be fair to say that the buck stopped with you   10   Lexington store?
   11   if something went wrong with one of the stores     11        A. No.
   12   you were managing?                                 12        Q. What had you done to actually
   13              MR. LAVELLE: Object to form.            13   make sure that this Lexington store was complying
   14              THE WITNESS: I would not say            14   with the law?
   15         that. And I would also point out that        15             MR. LAVELLE: Object to form.
   16         the settlement also clearly states that      16             THE WITNESS: I can tell you in
   17         this is neither an admission of liability    17        at least one instance I was in this
   18         nor a concession by Rite Aid.                18        Lexington store when the state board
   19   BY MR. SIMMER:                                     19        investigator visited the store and was
   20         Q. So you're saying this did not             20        perfectly okay with the process that they
   21   happen; is that right?                             21        were following in that location.
   22              MR. LAVELLE: Object to form.            22             So I had no reason to believe
   23              THE WITNESS: You're saying what         23        that there was anything going on at this
   24         did not happen.                              24        location that in any way could be

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    1         improper.                                     1         prescriptions, but no, I do not agree
    2   BY MR. SIMMER:                                      2         with that.
    3         Q. Turn to the second page of this,           3   BY MR. SIMMER:
    4   if you would.                                       4         Q. So this news article is wrong.
    5              Last full paragraph on the page.         5   Right?
    6   And it's somewhat cut off, but I can read a         6              MR. LAVELLE: Object to form.
    7   portion of it.                                      7              THE WITNESS: It's not
    8              Do you see where it says, "'The          8         necessarily wrong. It's not saying what
    9   fact that so many prescriptions came from one       9         you're implying it's saying.
   10   office and that the Rite Aid store checked with    10   BY MR. SIMMER:
   11   the corporation about obtaining more phentermine   11         Q. So in that opening sentence where
   12   were red flags that should have been heeded,'      12   it says, "A Rite Aid...store in Lexington is
   13   said Robin Gwinn, an assistant U.S. attorney"?     13   responsible for more than three-quarters of the
   14              Do you see that?                        14   prescription-drug violations in a multi-state
   15         A. I do, I do.                               15   federal investigation," you don't think that
   16         Q. Do you agree with that statement,         16   that's a correct statement, do you?
   17   that these were red flags of diversion?            17         A. Let me ex --
   18              MR. LAVELLE: Object to form.            18              MR. LAVELLE: Object to form.
   19              THE WITNESS: Not necessarily.           19         Objection, asked and answered.
   20   BY MR. SIMMER:                                     20              THE WITNESS: No. I -- I would
   21         Q. You don't agree with that                 21         put it this way. All this is saying is
   22   statement.                                         22         that three-quarters of the individual
   23              Why not?                                23         violations occurred in that particular
   24              MR. LAVELLE: Object to form.            24         location.
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    1             THE WITNESS: The fact that the            1             That doesn't address the level of
    2        location was next to the clinic and that       2        the violations. That doesn't address
    3        the clinic patients chose to go to the         3        anything else.
    4        closest available pharmacy? Would you go       4             So I do not believe that that was
    5        to the closest available pharmacy?             5        the significant driving issue here.
    6   BY MR. SIMMER:                                      6   BY MR. SIMMER:
    7        Q. I'm asking you the questions,               7        Q. At the time this investigation
    8   sir. You're not asking questions today.             8   was going on, did the company take you aside and
    9        A. I answered -- I answered the                9   say, Mr. Palmer, you were the district manager
   10   question. Not necessarily.                         10   over this store, tell us what happened at this
   11        Q. Okay. So the company paid                  11   store?
   12   $5 million, didn't they?                           12             MR. LAVELLE: Object to form.
   13        A. The company paid $5 million for            13             THE WITNESS: No, not that I
   14   issues involving 53 different locations, I         14        recall.
   15   believe.                                           15   BY MR. SIMMER:
   16        Q. Three-quarters of it related to            16        Q. You never helped the company, you
   17   the Lexington pharmacy that you were the manager   17   know, understand the nature of the violations
   18   of. Right?                                         18   that happened in Lexington?
   19             MR. LAVELLE: Object to form.             19             MR. LAVELLE: Object to form.
   20        Objection, asked and answered.                20             THE WITNESS: Not that I recall.
   21             THE WITNESS: I do not agree that         21        There were other individuals that would
   22        three-quarters of what was settled here       22        have been much more knowledgeable.
   23        was relative to this issue. It's              23   BY MR. SIMMER:
   24        possible that three-quarters of the           24        Q. But you were the district manager

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    1   in charge of that store for at least a year, I       1   entitled "Government Affairs DEA Compliance,"
    2   think we said. Right?                                2   Bates number Rite_Aid_OMDL_0039845 to 0039923.
    3              MR. LAVELLE: Object to the form.          3         A. (Reviewing document.)
    4         Objection, asked and answered.                 4               Okay.
    5   BY MR. SIMMER:                                       5         Q. Have you looked -- seen this
    6         Q. Right?                                      6   document before?
    7         A. I was a pharmacy district manager           7         A. Yes.
    8   for this location for a portion of the time          8         Q. When is the last time you saw it?
    9   involved here.                                       9         A. During depo preparation.
   10         Q. And you feel no responsibility at          10         Q. And is it a document that you had
   11   all for what happened at that store in Lexington.   11   a hand in preparing?
   12              Isn't that right?                        12         A. It looks like a portion of it,
   13              MR. LAVELLE: Object to form.             13   yes.
   14              THE WITNESS: I do not.                   14         Q. Can you tell us what this
   15   BY MR. SIMMER:                                      15   document is?
   16         Q. Had nothing to do with you.                16         A. This appears to be another one of
   17   Right?                                              17   the regulatory road show presentations.
   18              MR. LAVELLE: Object to form.             18         Q. And this one having to do with, I
   19              THE WITNESS: I don't understand          19   take it, if you look at page 2, the DEA
   20         what you're asking.                           20   settlement we just looked at. Right? I'm
   21   BY MR. SIMMER:                                      21   looking at the slide 2. It's 39846.
   22         Q. You were the district manager in           22               See that?
   23   charge of this store, but you're saying I had no    23         A. Yes. It looks like there's a
   24   responsibility for what happened there. Right?      24   slide in here that states that, yes.

                                                Page 179                                                   Page 181
    1               MR. LAVELLE: Object to form.             1          Q. It says, "Rite Aid & DEA
    2          Objection, asked and answered.                2   settlement 1/9/2009."
    3               THE WITNESS: If I didn't know at         3               See that?
    4          the time I was the district manager that      4          A. Yes.
    5          there were issues that would surface          5          Q. This document came with no cover
    6          years down the road as an issue, how          6   or anything else.
    7          could I be responsible for it?                7               Do you remember approximately
    8                   - - -                                8   when you were doing the road show that you would
    9               (Deposition Exhibit No. Rite             9   have been giving this presentation?
   10          Aid-Palmer-8, PowerPoint, "Government        10          A. Probably 2009.
   11          Affairs DEA Compliance," Bates stamped       11          Q. Okay. And you would have gone on
   12          Rite_Aid_OMDL_0039845 through                12   this road show for what purpose?
   13          Rite_Aid_OMDL_0039923, was marked for        13          A. These would be the same
   14          identification.)                             14   regulatory road shows we talked about earlier.
   15                   - - -                               15          Q. And you were one of the
   16   BY MR. SIMMER:                                      16   presenters of this particular road show
   17          Q. I'm going to hand you what we             17   presentation.
   18   have marked as Palmer Exhibit Number 8. And         18               Is that what you recall?
   19   again I apologize, the Bates number is cut off on   19          A. I am assuming so, because there's
   20   the bottom of this.                                 20   an exception in the back that has my contact
   21          A. Yep.                                      21   information and some of my material.
   22          Q. For the record, and we'll replace         22          Q. Okay. So when it has your name
   23   this with the proper Bates number on this, but      23   in it, that's some indicator that you had a hand
   24   I'll identify the record as a presentation          24   in preparing the slide deck. Right?

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                                                Page 182                                                 Page 184
    1         A. Yeah. And I recognize some of               1   see where it says "Rite Aid DEA Form 106
    2   these slides, too.                                   2   Process"?
    3               MR. LAVELLE: Just wait until the         3              Do you see that?
    4         question is finished before you answer         4         A. Yes, yes.
    5         it, so the record is clear.                    5         Q. And what's your understanding the
    6               THE WITNESS: Oh, yep. I'm                6   Form 106 process is describing?
    7         sorry.                                         7         A. So a Form 106 is the form that
    8   BY MR. SIMMER:                                       8   has to be filed with the DEA to report a theft or
    9         Q. Look at the third slide that's              9   loss of controlled substances. So when it refers
   10   39847.                                              10   to the DEA Form 106 process, that's the Rite Aid
   11               Do you see that? Do you see             11   process for filing the loss forms.
   12   where it says "Thank you!" right in the middle of   12         Q. And so that has to do with the
   13   the page?                                           13   theft or loss part of this settlement. Right?
   14         A. Yes.                                       14   What we're talking about, the 106 process?
   15         Q. What's meant by that?                      15              MR. LAVELLE: Object to form.
   16         A. I don't know.                              16              THE WITNESS: I don't know that
   17         Q. It's not being sarcastic at all;           17         it has anything to do with the
   18   is that right?                                      18         settlement. There's always been --
   19               MR. LAVELLE: Object to form.            19         pre-2009, post-2009, there's always been
   20               THE WITNESS: I don't know.              20         a DEA Form 106 process.
   21   BY MR. SIMMER:                                      21   BY MR. SIMMER:
   22         Q. No understanding at all why, in            22         Q. So your testimony is you do not
   23   the third slide of a slide deck discussing the      23   recall that as part of this 2009 settlement, the
   24   $5 million settlement, someone says "Thank you!"    24   company had to put in place a compliance program.
                                                Page 183                                                 Page 185
    1   Right?                                               1   Right?
    2         A. It's not my slide.                          2              MR. LAVELLE: Object to form.
    3         Q. You didn't prepare that slide?              3              THE WITNESS: It states in the
    4         A. No.                                         4         document you previously gave me that Rite
    5         Q. And you know that how?                      5         Aid had to put in place a compliance
    6         A. Because I know what slides I did            6         program.
    7   and didn't do. This was not my slide.                7   BY MR. SIMMER:
    8         Q. Do you know who prepared that               8         Q. Well, that's what I'm trying to
    9   slide?                                               9   understand.
   10         A. No.                                        10              So this discussion of the 106
   11         Q. Look at several slides back. And           11   process, is that part of the compliance program
   12   again, I apologize, the slides themselves aren't    12   that the company had implemented following this
   13   numbered, so I'll refer to -- oh, you don't have    13   settlement?
   14   Bates numbers on it.                                14              MR. LAVELLE: Objection, asked
   15         A. It's okay.                                 15         and answered.
   16         Q. The one that says "Compliance              16              THE WITNESS: I understand the
   17   Program." That's all it says on the page.           17         confusion, but the 106 process was not
   18             There you go.                             18         implemented as a result of the
   19             So am I right then that what              19         settlement. The 106 process existed
   20   follows is a description of a compliance program    20         before.
   21   the company is putting in place following this      21   BY MR. SIMMER:
   22   settlement?                                         22         Q. So it's a process that already
   23         A. I don't know.                              23   was in place. This is simply going out on your
   24         Q. Look at the next slide. Do you             24   road show and reminding people what the 106

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    1   process is.                                          1   BY MR. SIMMER:
    2             Do I have it right?                        2         Q. So this portion of the
    3             MR. LAVELLE: Object to form.               3   presentation talking about loss prevention, drug
    4             THE WITNESS: I think that's                4   loss investigations, it's your testimony this is
    5        correct.                                        5   simply a summary of what was already in place; is
    6   BY MR. SIMMER:                                       6   that right?
    7        Q. Turn back to -- and again, I                 7         A. I haven't gone through this
    8   really apologize, this makes it more difficult.      8   entire deck at this point in time.
    9   The slide that begins "Loss Prevention Drug Loss     9         Q. And you referred to it a bit ago,
   10   Investigations."                                    10   that you had -- this deck refers to you
   11             Do you see that? It's quite a             11   specifically as someone that these losses are to
   12   ways into it. I think this -- if I hold this up,    12   be reported to. Right?
   13   maybe you'll --                                     13         A. I'm not -- I think you're -- I
   14        A. No. I got it. I got it.                     14   think you're mixing some things up.
   15        Q. -- see what I'm talking about.              15         Q. Well, let's do this. Let's look
   16             Right there. I think that's it.           16   at the slide itself and you can help us
   17        A. Yes.                                        17   understand what your role was.
   18        Q. Is that the portion of this                 18         A. Yeah. Yeah, let's --
   19   presentation that you had a hand in preparing?      19         Q. Turn to the slide where it says
   20        A. Yes.                                        20   "Notification Notes."
   21        Q. Because you were working in loss            21         A. Yep.
   22   prevention at that time. Right?                     22         Q. There you are. This is Bates
   23        A. Yes.                                        23   ending 39899.
   24        Q. So just in your own words -- and            24         A. Yes.
                                                Page 187                                                 Page 189
    1   we can go through the slide deck, too.               1         Q. Do you see where it says, "All
    2              So what changes did you in loss           2   drug loss investigations require notification be
    3   prevention implement as a result of this 2009        3   provided by the LPM to both your Regional and
    4   settlement?                                          4   Divisional LP Director and Andy Palmer"?
    5         A. I don't recall. I'm not sure --             5               That's you?
    6   I mean, we were always building out, improving       6         A. That's correct.
    7   and evolving our program.                            7         Q. So what this is saying, if I have
    8              So off of memory, I don't know            8   it right, is if there are -- drug loss
    9   that I can attribute any specific things directly    9   investigations are to be -- you are to be
   10   related to that. But certainly the program was      10   notified. Right?
   11   always, you know, evolving and improving.           11         A. Yes.
   12         Q. But in light of this settlement,           12         Q. What is LPM, by the way?
   13   it was obvious that there were some -- mistakes     13         A. LPM at that point in time
   14   had been made in the company. Right?                14   referenced loss prevention manager.
   15              MR. LAVELLE: Object to form.             15         Q. And there was also something
   16              THE WITNESS: That was the                16   called the divisional LP director?
   17         allegation. Correct.                          17         A. There were both regional LP
   18   BY MR. SIMMER:                                      18   directors as well as divisional LP directors.
   19         Q. The company paid $5 million.               19         Q. And the second bullet, you see
   20              They didn't pay it for nothing.          20   where it says, "Any investigation involving a
   21   Right?                                              21   pharmacist (drug loss or otherwise) also requires
   22              MR. LAVELLE: Object to form.             22   notification be provided to Andy Palmer upon
   23              THE WITNESS: I can't speculate           23   discovery."
   24         on why something was or wasn't paid.          24               Do you see that?

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    1        A. Yes.                                         1   pharmacist realized that he just dispensed 120
    2        Q. So are these all investigations              2   versus 100. And maybe he calls the customer and
    3   involving what you've been talking about as          3   says, hey, you know, could you please bring that
    4   shrinkage?                                           4   back, I have made a mistake, or maybe he can't
    5        A. There's two separate bullets                 5   reach the customer, or the customer refuses to
    6   here. The first bullet, drug loss                    6   bring it back, you would have a loss. You would
    7   investigations, the answer there would absolutely    7   have a loss of 20. And that loss, you know,
    8   be yes. The second -- second part here, not          8   might go on a suspected loss form. But there
    9   necessarily.                                         9   wouldn't be any investigation because the issue
   10        Q. It's broader than just shrinkage            10   is already known.
   11   then?                                               11              So what this is saying really is
   12        A. That would be a little bit                  12   that people should not be conducting drug loss
   13   broader.                                            13   investigations without my being aware that
   14        Q. Okay. Would this also include               14   they're conducting a drug loss investigation. I
   15   any suspicious orders that you were to be           15   realize that's a fine point.
   16   notified about?                                     16         Q. That's a good point.
   17        A. Again, my understanding is                  17              So what you're saying is
   18   suspicious orders is a DC issue, so I don't know    18   there's a -- there has to be an actual
   19   how a store or field-level person would be          19   investigation opened for you -- there to be a
   20   reporting a suspicious order.                       20   requirement that you're notified. Right?
   21        Q. Okay. So that as part of your               21         A. Yes and no. What -- the point we
   22   obligations, you know, getting notifications of     22   were trying to -- I was trying to get across here
   23   suspicious orders is not one of the things that     23   in this presentation is, nobody should be
   24   you do. Right?                                      24   conducting a drug loss investigation without the
                                                Page 191                                                 Page 193
    1         A. No, not -- not as a suspicious              1   proper investigative oversight body being aware
    2   order, my understanding of what a suspicious         2   that they're conducting an investigation.
    3   order is, no.                                        3         Q. Okay.
    4              I would like to clarify earlier.          4         A. That's really what this was meant
    5              You indicated that all drug               5   to say.
    6   losses had to be reported to me based upon this.     6         Q. Okay. And again, what you're
    7   I would like to clarify that all drug loss           7   talking about is drug loss. Right? In that
    8   investigations, you omitted that word, which is      8   first bullet?
    9   rather significant.                                  9         A. In the first bullet, yes.
   10         Q. Okay. And so tell me what the              10         Q. Okay. And in the second bullet,
   11   significance of just saying -- putting the word     11   you say that it could be somewhat broader.
   12   "investigations" is.                                12               And my question is again, I think
   13         A. Because if the drug loss was due           13   that -- I -- you know, we got an answer on this,
   14   to something known, and there, therefore, wasn't    14   but let me clarify this.
   15   going to be a corresponding investigation, there    15               Did the second bullet also
   16   would be no need to notify the investigative        16   include notification of any suspicious orders?
   17   body.                                               17               MR. LAVELLE: Object to form.
   18              If, for example, you had -- let's        18         Objection, asked and answered.
   19   say it's a misfill-type issue, where a pharmacist   19               THE WITNESS: Yeah. I think -- I
   20   filled a prescription for 100 tablets of a          20         think I have already explained, not as my
   21   controlled substance and he thought the bottle      21         understanding of suspicious orders.
   22   was a 100-count bottle and it was a full            22   BY MR. SIMMER:
   23   100-count bottle, but in reality, that particular   23         Q. So you were not to get
   24   product came in, say, 120 count, and the            24   notification of any suspicious orders.

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    1             Isn't that fair?                           1   you know if the company endeavored to train
    2         A. This is discussing                          2   pharmacists on how to identify altered
    3   investigations. But as I understand the              3   prescriptions?
    4   definition of suspicious order which I provided      4        A. I don't know that, and I'm not
    5   to you, then I think the answer is yes.              5   even sure how you would do that.
    6         Q. So following this 2009                      6        Q. Any effort by the company
    7   settlement, do you know if there was any effort      7   following the 2009 settlement to identify
    8   by the company to go out and conduct training of     8   overprescribing by a pill mill?
    9   pharmacists to assist them in how to monitor the     9        A. Repeat the question?
   10   red flags of diversion?                             10        Q. Was there any training of
   11         A. I know that there were a number            11   pharmacists about how to identify overprescribing
   12   of actions taken as a result of the settlement.     12   by a pill mill physician?
   13   I was not directly involved in the settlement,      13             MR. LAVELLE: Objection to the
   14   so, you know, I obviously just read it right now    14        form of the question. It's a different
   15   and I do remember that some things were put in      15        question than was asked.
   16   place, but I don't know that I can recall right     16             THE WITNESS: Yeah. I don't know
   17   here, right now what all of those things were.      17        the answer, and I don't even know that
   18         Q. So you don't know sitting here             18        pill mill is a defined term.
   19   today whether there was any training of             19             What's your definition of "pill
   20   pharmacists to assist them in monitoring the red    20        mill"?
   21   flags of diversion. Right?                          21   BY MR. SIMMER:
   22         A. At this point in time, no.                 22        Q. You don't know what that term
   23   Eventually the company, you know, did implement,    23   means?
   24   you know, a red flag process and red flag           24        A. I have an idea of what some
                                                Page 195                                                 Page 197
    1   training and those types of actions.                 1   people think that means, but I don't believe
    2         Q. So you do recall that eventually            2   that's a defined term.
    3   the company did implement something, but not as a    3         Q. What's your understanding the
    4   result of this 2009 settlement?                      4   term means?
    5              MR. LAVELLE: Object to form.              5         A. I think certain individuals in
    6              THE WITNESS: The first part was           6   the media and the press use that term generically
    7         correct. The second part I don't know          7   to prescribe (sic) a medical practitioner that is
    8         the answer to.                                 8   overprescribing, would be my definition.
    9   BY MR. SIMMER:                                       9         Q. You don't agree with that
   10         Q. So you believe, however, that              10   definition?
   11   there was some kind of a process implemented to     11         A. Oh, I didn't say I did or don't
   12   train pharmacists on the red flags of diversion.    12   agree with it.
   13   Right?                                              13         Q. That's just your understanding
   14         A. There is a red flag process                14   how the term is used. Right?
   15   today, yes.                                         15         A. That's my understanding from --
   16         Q. And when did that go into place?           16   yes.
   17         A. I don't know exactly. I don't              17         Q. Did the company do any training
   18   know. There's probably other people that can        18   of any kind about how to identify overprescribing
   19   better answer that.                                 19   by a physician?
   20         Q. So following the 2009 settlement,          20         A. That would be part of that red
   21   do you know if there was any effort to train        21   flags process that we talked about earlier.
   22   pharmacists how to identify forged prescriptions?   22         Q. And you think the company has
   23         A. I don't know the answer to that.           23   implemented at some point. Right?
   24         Q. Following the 2009 settlement, do          24         A. Yes.

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    1         Q. But you don't know when it                  1   its pharmacists what they were to do if they
    2   happened. Right?                                     2   suspected that physicians were bad actors?
    3         A. It's been more than a few years,            3             MR. LAVELLE: Same objection.
    4   but I -- I could not tell you whether it was 2012    4             THE WITNESS: At some point in
    5   or 2013 or exactly. But there -- I'm sure there      5         time, yes, there was a process
    6   are others who can answer that.                      6         implemented that appears to fit that
    7         Q. And who would we talk to about              7         description. I don't know when that was
    8   that?                                                8         implemented.
    9         A. I'd suggest Janet Hart.                     9   BY MR. SIMMER:
   10         Q. And you're just guessing about             10         Q. But am I right that it wasn't as
   11   the years when it was put in place. Right?          11   a result of this 2009 settlement?
   12         A. I believe it was around 2012, but          12         A. I can't speak to as whether
   13   again, I don't want to affirmatively state that.    13   things were as a result of.
   14         Q. So the efforts to go out and               14         Q. I think you referenced it earlier
   15   train Rite Aid pharmacists about the red flags of   15   about the diet clinic -- excuse me, the weight
   16   diversion, did that emanate from any of your        16   loss clinic that was involved with the
   17   compliance responsibilities that you undertook      17   overprescribing at the Lexington pharmacy.
   18   for the company?                                    18   Right?
   19              MR. LAVELLE: Object to form.             19         A. Yeah. I don't believe the
   20              THE WITNESS: Yeah. I'm not sure          20   issue -- overprescribing is your term. But
   21         what you mean by the word "emanate" in        21   I'm -- I am familiar with the Lexington store and
   22         that context.                                 22   the diet clinic.
   23   BY MR. SIMMER:                                      23         Q. And what's your understanding the
   24         Q. Were you in any way responsible            24   allegations were with regard to that weight loss
                                                Page 199                                                 Page 201
    1   for this effort to train the Rite Aid pharmacists    1   clinic?
    2   about the red flags of diversion?                    2              MR. LAVELLE: Object to form.
    3         A. Not responsible for training them           3         Objection, asked and answered.
    4   on the red flag process for diversion, no.           4              THE WITNESS: I don't even -- I
    5         Q. So in your compliance role after            5         don't know what all of the allegations
    6   you left loss prevention, you're saying that         6         were. From reading articles, I
    7   this -- the training of pharmacists about red        7         understand that part of the issue was
    8   flags, you had no responsibility for that?           8         with whether the prescriber was on site
    9         A. No responsibility --                        9         while the prescriptions were being
   10              MR. LAVELLE: Object to form.             10         prescribed, which, you know, goes back to
   11         Objection, asked and answered.                11         my response before, being a -- briefly
   12              THE WITNESS: No responsibility           12         being the district manager for that
   13         for training.                                 13         location, I don't know how I would know
   14   BY MR. SIMMER:                                      14         that.
   15         Q. Following the 2009 settlement, do          15   BY MR. SIMMER:
   16   you know whether the company endeavored to train    16         Q. You don't have an understanding
   17   its pharmacists what they were to do if they        17   that there are allegations of improper
   18   suspected that physicians were bad actors?          18   prescribing of phentermine?
   19              MR. LAVELLE: Object to form.             19              MR. LAVELLE: Object to form.
   20              THE WITNESS: Can you repeat that         20         Objection, asked and answered.
   21         question for me?                              21              THE WITNESS: Yeah, I believe
   22   BY MR. SIMMER:                                      22         I've just answered that.
   23         Q. Following the 2009 settlement, do          23   BY MR. SIMMER:
   24   you know whether the company endeavored to train    24         Q. Following the 2009 settlement,

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    1   was there any effort by -- to train Rite Aid       1        A. I don't know.
    2   pharmacists that they were to report bad actor     2        Q. Okay. From time to time, did you
    3   doctors to the DEA?                                3   actually receive copies of the forms, however?
    4             MR. LAVELLE: Object to form.             4             MR. LAVELLE: Object to form.
    5        Objection, asked and answered.                5             THE WITNESS: I don't recall. I
    6             THE WITNESS: There is a process          6        saw that form in my deposition prep.
    7        today around reporting prescribers of         7        Prior to that, I actually don't remember
    8        suspicious activity, but I can't address      8        those forms.
    9        the rest of that.                             9             MR. SIMMER: Before we -- this is
   10   BY MR. SIMMER:                                    10        a Rite Aid document. And I know you
   11        Q. So sitting here today, you don't          11        wanted to lodge an objection for the
   12   know whether there was any specific training of   12        record.
   13   Rite Aid pharmacists about reporting bad actor    13             MS. DORRIS: I'm sorry. It's a
   14   doctors to the DEA?                               14        Rite Aid document or McKesson?
   15             MR. LAVELLE: Object to form.            15             MR. SIMMER: I'm sorry, McKesson
   16        Objection, asked and answered.               16        document, excuse me.
   17             THE WITNESS: Yeah. I don't              17             MS. DORRIS: Okay, yeah. In that
   18        know.                                        18        case --
   19             MR. LAVELLE: Before we do a new         19             MR. SIMMER: This is
   20        document, can we take a break?               20        McKesson_MDL_00628212. Before I hand it
   21             MR. SIMMER: That's fine.                21        to the witness, you wanted to go ahead
   22             THE VIDEOGRAPHER: Off the record        22        and lodge your objection.
   23        at 2:13 p.m.                                 23             MS. DORRIS: Yeah. I'd like to
   24                 - - -                               24        make a standing objection that none of
                                               Page 203                                              Page 205
    1             (A recess was taken from                 1       the McKesson documents being used today
    2        2:13 p.m. to 2:32 p.m.)                       2       were provided to McKesson in advance.
    3                 - - -                                3       McKesson has previously tried to
    4             THE VIDEOGRAPHER: We're back on          4       accommodate plaintiffs, but we object to
    5        the record at 2:32 p.m.                       5       the continued violation of the protective
    6   BY MR. SIMMER:                                     6       order. And if it continues to occur, we
    7        Q. Sir, are you familiar with a --            7       reserve our right to seek relief,
    8   McKesson forms that are called threshold change    8       including having this testimony
    9   request forms?                                     9       stricken -- McKesson reserves its right
   10        A. Yes.                                      10       to seek relief, including having the
   11        Q. There's also an acronym it goes           11       testimony stricken.
   12   by, TCR.                                          12            MR. SIMMER: Again, as stated in
   13             Are you familiar with that?             13       the CMO 2, paragraph 33, the only time
   14        A. I believe I've heard that term.           14       written permission is required is if
   15        Q. And when you requested a change           15       confidential information is being used
   16   to McKesson up through the threshold change       16       solely for the purpose of the litigation.
   17   process we've been talking about, what role did   17       And then it lists certain exceptions to
   18   you have in the completion of the TCR?            18       that written requirement, including H,
   19        A. I believe the TCR forms that              19       that any individual who authored,
   20   you're referencing to are strictly a McKesson     20       prepared or previously reviewed or
   21   internal form, so none.                           21       received the information as an exception
   22        Q. So it's their form simply to              22       to the written requirement.
   23   document what's happening with the change         23            We did give them to you in
   24   request; is that right?                           24       advance, too, so...

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                                              Page 206                                                Page 208
    1            MS. DORRIS: I would say that's           1        Q. Who is that?
    2       not McKesson's understanding of the           2        A. She works for McKesson.
    3       protective order.                             3        Q. And what was her role, if you
    4            And do you mean, was it the              4   know?
    5       advance notice over the lunch break?          5        A. I really can't speak to her, you
    6            MR. SIMMER: The advance notice           6   know, title or role. She was one of the contact
    7       is only required is if the witness is not     7   points I had for McKesson.
    8       someone who has already been copied on or     8        Q. Do you see in her email where she
    9       received the information.                     9   says, "Please see the attached CSMP report for
   10            MS. DORRIS: That's not                  10   September"?
   11       McKesson's understanding.                    11        A. Yes.
   12            MR. SIMMER: Objection noted.            12        Q. What's your understanding that
   13                - - -                               13   report is that she's referring to?
   14            (Deposition Exhibit No. Rite            14        A. Controlled substance monitoring
   15       Aid-Palmer-9, Email chain, top one dated     15   report.
   16       October 02, 2008, Bates stamped              16        Q. And that's a report you got each
   17       McKesson_MDL_00628212, 2 pages, was          17   month. Right?
   18       marked for identification.)                  18        A. I don't know if this report was
   19                - - -                               19   something I got each month throughout this entire
   20   BY MR. SIMMER:                                   20   process, but, yes, it's a monthly report.
   21       Q. So we're handing you what we've           21        Q. Okay. And she says in here, "You
   22   marked as Rite Aid-Palmer Exhibit Number 9.      22   have several stores that" have "reached their
   23            MS. DORRIS: I'd also like to            23   threshold. Please let us know how you would like
   24       make a standing objection to the extent      24   us to handle."
                                              Page 207                                                Page 209
    1         that these McKesson exhibits do not have    1              Do you see that?
    2         Bates numbers or confidentiality            2        A.     Uh-huh.
    3         designations. We're going to make the       3        Q.     So --
    4         standing objection that Rite Aid's          4              MR. LAVELLE: You need to answer
    5         counsel made in regards to replacing        5         it yes, no, I don't know.
    6         them.                                       6              THE WITNESS: Oh, yes, yes.
    7              MR. SIMMER: Very good. And             7              MR. SIMMER: Thank you, John.
    8         we're going to be swapping in the ones      8   BY MR. SIMMER:
    9         with the Bates number. I'll identify it     9         Q. And so when she flagged something
   10         for the record as MCKMDL00628212 through   10   like this, that starts the process we've been
   11         628213.                                    11   talking about in terms of the CSMP threshold
   12              MR. LAVELLE: I think my previous      12   review. Right?
   13         statement was clear, but my standing       13         A. That's not normally -- no, not
   14         objection also relates to the McKesson     14   normally how this process worked, from my
   15         documents being used without Bates         15   recollection.
   16         numbers and confidentiality.               16         Q. It normally comes from the
   17   BY MR. SIMMER:                                   17   pharmacy district manager to you. Right?
   18         Q. Have you had a chance to review         18         A. Yes, that's correct.
   19   this document?                                   19         Q. So in this instance, it came from
   20         A. Yes.                                    20   McKesson flagging this issue. Right?
   21         Q. So the email string starts with         21         A. Yes.
   22   an email from Melissa Evangelista.               22         Q. And then your -- and that email
   23              Do you know who that is?              23   is dated Monday, September 29, 2008.
   24         A. Yes.                                    24              Do you see that?

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    1         A. Yes.                                             1   you're requesting a 20 percent increase.
    2         Q. And then you respond to her on                   2             And what would you have done in
    3   Thursday of that week, October 2, 2008.                   3   order to come up with a 20 percent increase as
    4             Do you see that?                                4   being the right number to request?
    5         A. Yes.                                             5             MR. LAVELLE: Object to form.
    6         Q. In your response you say,                        6             THE WITNESS: Contacted the PDM.
    7   "Melissa, Store 1459 needs a 20% threshold                7   BY MR. SIMMER:
    8   increase on base code Oxycodone. The location is          8         Q. And the PDM would tell you what
    9   experiencing a significant increase in script             9   the pharmacy needs?
   10   count and maxed out in September. Please add 20%         10         A. The PDM would provide the --
   11   to this."                                                11   basically let me know what's going on business
   12             Do you see that?                               12   reason wise and what would be an appropriate
   13         A. Yes.                                            13   increase. In this case, this location is
   14         Q. Can you tell us what's going on                 14   experiencing a significant increase in script
   15   here?                                                    15   count. That would refer to that organic growth
   16         A. There's not enough information                  16   that I was talking about earlier.
   17   here to really exactly know. There's not really          17         Q. Fair to say that's business need
   18   enough information.                                      18   that's being described there. Right?
   19         Q. Okay. Well, first of all, we                    19         A. Organic growth would be business
   20   looked up 1459. It's a Rite Aid pharmacy in --           20   need.
   21   we believe in Zanesville, Ohio.                          21         Q. In a situation like this, what
   22         A. Uh-huh.                                         22   would you do to validate that this was a
   23         Q. Does that seem correct?                         23   justifiable need that the pharmacy had?
   24         A. I would -- I don't have --                      24             MR. LAVELLE: Object to form.
                                                    Page 211                                                 Page 213
    1         Q. No reason to dispute it, however?                1              THE WITNESS: In a case of
    2         A. No reason to dispute.                            2         organic growth, if a PDM indicated a
    3         Q. Okay. You say that they need a                   3         store was experiencing significant
    4   20 percent threshold increase.                            4         organic growth, I could go into the
    5               How did you arrive at the                     5         system and verify that the store is in
    6   20 percent calculation?                                   6         fact trending upward, that they do in
    7         A. That's the part where there's not                7         fact have organic growth.
    8   enough information here. So, you know, there's a          8   BY MR. SIMMER:
    9   significant gap -- you know, the 29th through             9         Q. And the system that you're using
   10   Thursday the 2nd. One of the possibilities is            10   to validate that is the same system we talked
   11   that, you know, we contacted some of the stores          11   about earlier. Right?
   12   on that list.                                            12         A. Yes. It's -- yes. It's the
   13               The other possibility is separate            13   various access pathways into the data that
   14   to sending the CSMP report, the PDM may actually         14   resides in the proprietary pharmacy system.
   15   have sent something to us, based upon the fact           15         Q. And there's nothing in that
   16   that it's the end of the month, so... Yeah.              16   proprietary system, as we talked about earlier,
   17         Q. That's not reflected in this                    17   that would have identified inappropriate
   18   email string, is it?                                     18   prescribing as being the driver of that
   19         A. It's not. It's not.                             19   significant increase in script count, is there?
   20         Q. Okay. And it could be a separate                20         A. What I would be looking at is the
   21   email string that's just not captured here; is           21   script growth percent increase, how many scripts
   22   that right?                                              22   filled per week. So that would not necessarily
   23         A. That would be possible.                         23   indicate that.
   24         Q. Okay. But all we know is that                   24         Q. It's not that it's not

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    1   necessarily. There's no way to -- you're just           1   no way to do" dis -- "systematic perhaps you can
    2   looking at a raw number. Right?                         2   do the temp bump as soon as they hit 80% on this
    3              MR. LAVELLE: Object to form.                 3   report? I will be on vacation the 11th-15th so
    4              THE WITNESS: Script growth                   4   hoping we can have this planned for by then."
    5         numbers, yes.                                     5               Do you see that?
    6   BY MR. SIMMER:                                          6         A. Yes.
    7         Q. You don't have any idea what the               7         Q. Can you tell us what's going on
    8   driver for that script growth is. Right?                8   here?
    9              MR. LAVELLE: Object to form.                 9         A. So as we discussed a little bit
   10              THE WITNESS: In the case of                 10   earlier, certain products generally came from our
   11         organic script growth, no.                       11   Rite Aid warehouses and not McKesson. At this
   12   BY MR. SIMMER:                                         12   time hydrocodone products would come from the
   13         Q. It's fair to say that you were                13   Rite Aid warehouse, not McKesson. So the stores
   14   satisfied there were no concerns with this             14   generally did not order their hydrocodone from
   15   pharmacy 1459's orders being suspicious?               15   McKesson. What would occur and could occur
   16              MR. LAVELLE: Object to form.                16   periodically from time to time -- and I addressed
   17              THE WITNESS: Can you repeat the             17   it earlier in one of the business reasons we
   18         question?                                        18   talked about -- are supply chain type issues.
   19   BY MR. SIMMER:                                         19               So if you had a store -- well,
   20         Q. Is it fair to say that you were               20   all of our stores that were getting their
   21   satisfied that there were no concerns with this        21   hydrocodone product from our distribution center,
   22   pharmacy 1459's orders being suspicious?               22   therefore, their thresholds for the McKesson
   23         A. That is correct.                              23   program would be extremely low, because as we
   24         Q. Hand you what we've marked as                 24   also discussed before, McKesson would not know
                                                    Page 215                                                Page 217
    1 Palmer Exhibit 10. I'll identify it for the               1   about the DC purchases.
    2 record as MCKMDL00628110.                                 2              What appears to be happening here
    3                  - - -                                    3   is that in December of 2008, our supply chain was
    4             (Deposition Exhibit No. Rite                  4   unable to provide hydrocodone products or certain
    5         Aid-Palmer-10, Email chain, top one dated         5   hydrocodone products. Therefore, as opposed to a
    6         08 Dec 2008, Bates stamped MCKMDL00628110         6   unique single store issue, you rather have an
    7         and MCKMDL00628111, was marked for                7   issue that goes more broadly across your entire
    8         identification.)                                  8   network.
    9                  - - -                                    9         Q. So in that instance, you use this
   10   BY MR. SIMMER:                                         10   TCR process to request a temporary adjustment
   11         Q. And it's a multi-page exhibit.                11   across all your stores. Right?
   12   The last page is 628111.                               12         A. Yes. A temporary adjustment.
   13             Do you see where there's an email            13   The idea -- the concept of the temporary
   14   to you from Evangelista -- or, excuse me, Melissa      14   adjustment is there's a supply issue right now.
   15   Evangelista, dated December 8, 2008?                   15   These frequently occurred at the end of the year,
   16         A. Yes.                                          16   so December is not a surprise to me. But there
   17         Q. And again, she's sending you this             17   is a supply chain issue. We don't want to input
   18   CSMP report.                                           18   a permanent increase because eventually our
   19             Do you see that?                             19   warehouse will be back in stock. So, rather, we
   20         A. Yes.                                          20   need to implement a temporary increase so the
   21         Q. And you respond a short time                  21   stores can get their product from McKesson.
   22   later, approximately 15 or 17 minutes later.           22         Q. Is it fair to say that you were
   23   "Mike, Melissa, Any word on the Temp changes on"       23   satisfied that this phar -- these pharmacies had
   24   the "base code Hydrocodone for December only? If       24   a valid need for this temporary adjustment?

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    1        A. I would have no reason to believe                1 problem we were just talking about in the last
    2   otherwise.                                               2 exhibit?
    3        Q. And that you were also satisfied                 3        A. Yes.
    4   there were no concerns with any of the orders            4        Q. What's your understanding what's
    5   being suspicious?                                        5   going on here?
    6        A. I would have no reason to believe                6        A. That the outage or availability
    7   so.                                                      7   issue we initially had hoped would resolve sooner
    8                 - - -                                      8   than it did, and it did not. So it continued
    9            (Deposition Exhibit No. Rite                    9   onward into February. I think, as it's phrased
   10        Aid-Palmer-11, Email chain, top one dated          10   here, "continued outs."
   11        Feb 16 06, Bates stamped MCKMDL00536012            11                 - - -
   12        and MCKMDL00536013, was marked for                 12             (Deposition Exhibit No. Rite
   13        identification.)                                   13        Aid-Palmer-12, Email chain, top one dated
   14                 - - -                                     14        19 Aug 2009, Bates stamped MCKMDL00627812
   15   BY MR. SIMMER:                                          15        through MCKMDL00627814, was marked for
   16        Q. Hand you what we've marked as                   16        identification.)
   17   Palmer Exhibit Number 11. I'll identify it for          17                 - - -
   18   the record as document MCKMDL00536012 through           18   BY MR. SIMMER:
   19   536013.                                                 19        Q. Hand you what we've marked as
   20            And I'll represent the redactions              20   Rite Aid-Palmer Exhibit 12. Identify for the
   21   were the portion of the email string on which Mr.       21   record as MCKMDL00627812 through 00627813 --
   22   Palmer was not a party.                                 22   excuse me, strike that.
   23        A. Yes.                                            23             To 627814.
   24        Q. So if you look at the email that                24        A. (Reviewing document.)

                                                   Page 219                                                         Page 221
    1   begins the string, it's again from Ms.                   1               Okay.
    2   Evangelista to you and a group of other                  2         Q. I direct your attention to the
    3   individuals dated February 13, 2009.                     3   email that starts this string on the second page
    4             Do you see that?                               4   of the exhibit that's 627813.
    5        A. Yes.                                             5               And it's from Jack E. Phillipson.
    6        Q. And again, she's forwarding you                  6   It's hard to see the "to" line in here, but there
    7   the CSMP report.                                         7   is in the body of the email, it says, "Andy, can
    8             Do you see that?                               8   you remove the block on the listed items for
    9        A. Yes.                                             9   3367?"
   10        Q. That's that monthly report we've                10               You also see -- the formatting is
   11   been talking about. Right?                              11   hard to follow, but it looks to be a request that
   12        A. Yes.                                            12   was sent up to you from Mr. Phillipson for an
   13        Q. And you respond to -- her email                 13   increase.
   14   was Friday, February 13, 2009, and you respond          14               Do you know who he is, Mr.
   15   the following Monday, February 16, 2009.                15   Phillipson?
   16             Do you see that?                              16               MR. LAVELLE: Object to form.
   17        A. Yes.                                            17               THE WITNESS: Yeah. I guess --
   18        Q. And you respond, "After                         18         first off, I agree with you, this is -- I
   19   discussing with Rx Operations I need the                19         really can't follow this either.
   20   following due to continued outs issues with the         20               To your question, though,
   21   DC's on Hydrocodone."                                   21         regarding Jack Phillipson, Jack
   22             Do you see that?                              22         Phillipson was a PDM.
   23        A. Yes.                                            23   BY MR. SIMMER:
   24        Q. Is that related to the same                     24         Q. The format that I can follow, and

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    1   maybe you will as well, is the bottom of the              1         Q. Excuse me. August 19, 2009?
    2   first page your email back to him, dated                  2         A. Yes.
    3   January -- or July 24, 2009.                              3         Q. And he says, "Andy, Please
    4              Do you see that?                               4   increase 3367's Oxycodone/APAP," then some
    5         A. Uh-huh. I do.                                    5   numbers, and then also "Oxycodone/APAP" and then
    6         Q. And if you read what you say,                    6   some numbers "by 25%."
    7   it's over on the next page, you say, "As a                7              What's he requesting here?
    8   reminder I cannot remove threshold limits I can           8         A. A couple things here. Again,
    9   only change them. In order to increase a                  9   this document is kind of -- I notice below it
   10   threshold you need to send me the base code you          10   refers to Jack E. Phillipson, and then the next
   11   need adjusted (Oxycodone) for the store, the             11   communication is John E. Phillipson. I'm not
   12   business reason why" you "are using more and the         12   sure why that is, but it's interesting to note or
   13   percentage increase you are requesting (ie 10%,          13   I would note that he's listing two specific
   14   20%, et cetera)."                                        14   medications, when I've already explained to him
   15              Do you see that?                              15   that this is done by base code.
   16         A. Yes.                                            16              But basically what he's doing is
   17         Q. This is what I think you talked                 17   he's listing two medications within the oxycodone
   18   about earlier, that if there was a process issue         18   base code that he's asking for a 25 percent
   19   where the PDM came in and requested a change that        19   increase on. And the business reason he has
   20   didn't follow the process, your response might be        20   listed here is that the store received a pour of
   21   to go back and say I can't approve it unless you         21   1,100 last year and has -- as a result has been
   22   give me this information.                                22   running out basically two thirds of the way
   23              Am I reading that correctly?                  23   through the month.
   24         A. Yes. That they didn't --                        24         Q. And we talked about that term

                                                    Page 223                                                        Page 225
    1   sometimes they didn't understand the process, and         1   "pour" earlier. That's when the -- there's been
    2   yes, this is clarifying this is how it works.             2   another store acquired and that business has been
    3         Q. And you go on to say, "I can then                3   acquired; is that right?
    4   request the increase in threshold. This process           4              MR. LAVELLE: Object to form.
    5   and procedure has been in place almost a full             5         Objection, asked and answered.
    6   year (in answer" to your -- "(in answer your rphs         6              THE WITNESS: Yes.
    7   question)."                                               7   BY MR. SIMMER:
    8              Do you see that?                               8         Q. And that's the example or what
    9         A. Yes.                                             9   he's giving as an explanation for this threshold
   10         Q. So you're just telling him this                 10   increase. Right?
   11   has been a process that's been in place a long           11         A. Yes.
   12   time. Right?                                             12         Q. And then you respond with an
   13         A. Yes.                                            13   email later that same day, actually five minutes
   14         Q. And this is the McKesson process.               14   later, to Ms. Evangelista, copying Michael
   15   Right?                                                   15   Oriente. And you see where you say, "Melissa,
   16         A. Yes.                                            16   Please increase base code oxycodone at store 3367
   17         Q. So he responds the following                    17   by 25% based on the PDM's request below. Please
   18   Wednesday, if I have -- actually, it's sometime          18   let me know when complete."
   19   later. There's a gap in time.                            19              Do you see that?
   20              So your email was July 24th. He               20         A. Yes.
   21   responds to you on August 19, 2009.                      21         Q. If I could, can I direct your
   22              Do you see that?                              22   attention to the attached form as well. It's the
   23              MR. LAVELLE: Object to form.                  23   last page of the exhibit.
   24   BY MR. SIMMER:                                           24              Do you see the heading at the top

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    1   of this -- and this is Bates 627814.                1             MR. LAVELLE: Object to form.
    2              Do you see the heading at the top        2             THE WITNESS: Yeah. I don't know
    3   of this "RNA-Threshold Change/Level 1 Form"?        3        what "economost number" is. I'm familiar
    4         A. Yes.                                       4        with the term "base code," but I don't
    5         Q. Do you know what "RNA" stands              5        specifically know what -- again, it's an
    6   for?                                                6        internal McKesson document.
    7         A. No.                                        7   BY MR. SIMMER:
    8         Q. Do you know what "threshold                8        Q. 9143 is not significant to you
    9   change/level 1" stands for?                         9   either?
   10         A. No. This is an internal McKesson          10        A. I believe it would be a base
   11   document.                                          11   code, would be my...
   12         Q. Do you see where it says under            12        Q. And then over to the right, do
   13   "Customer Name," "RITE AID 3367"?                  13   you see where it says "amount 25%"?
   14              Do you see that?                        14        A. Yes.
   15         A. Yes.                                      15        Q. That matches up with what we saw
   16         Q. And that 3367 is the number               16   on your email where you're requesting a
   17   convention for -- that Rite Aid used at least at   17   25 percent increase. Right?
   18   this time for its pharmacies. Right?               18             MR. LAVELLE: Object to form.
   19         A. Yes.                                      19             THE WITNESS: I can't -- I would
   20         Q. And then right below that do you          20        certainly think so, but again, off my --
   21   see where it says "Address: 14610 Harvard          21        I don't know for sure what 9143
   22   Avenue, Cleveland, Ohio"?                          22        represents. I think the email, which is
   23              Do you see that?                        23        our method of communicating, more clearly
   24         A. Yes.                                      24        answers your question.
                                               Page 227                                                 Page 229
    1        Q. And it says, "Corporate Contact             1   BY MR. SIMMER:
    2   Name: Andy Palmer." That's you. Right?              2         Q. So the process that Rite Aid
    3        A. Yes.                                        3   followed in requesting threshold increases of
    4        Q. Would that be an indication you             4   McKesson was this process of you sending an email
    5   were the one that had forwarded this requested      5   to your counterparts at McKesson, and then they
    6   threshold increase --                               6   would go through whatever process they had for
    7             MR. LAVELLE: Objection.                   7   approving the threshold increase; is that right?
    8   BY MR. SIMMER:                                      8         A. Yeah. I cannot speak to what
    9        Q. -- to McKesson?                             9   McKesson did, but the first part of that, yes,
   10             MR. LAVELLE: Object to form.             10   this is how our process worked.
   11             THE WITNESS: This is not -- this         11         Q. If you would also look at the
   12        is a McKesson internal form. However,         12   email that Ms. Evangelista sends to Michael
   13        the email certainly indicates that I          13   Oriente -- and who is he, by the way?
   14        submitted the request, as per the process     14         A. Michael Oriente was another
   15        we've discussed many times.                   15   employee of McKesson.
   16   BY MR. SIMMER:                                     16         Q. Did he have some role in
   17        Q. And then over -- in the next               17   threshold increase approvals?
   18   block where "Provide Economost number,             18         A. Yes. Michael was part of the
   19   Description or Base Code, Dosage amount or         19   McKesson program. He was one of my points of
   20   percentage."                                       20   contact.
   21             Do you see this "CS requested:           21         Q. For these kinds of threshold
   22   9143"?                                             22   increases?
   23             Under -- any understanding what          23         A. Yes.
   24   that number is?                                    24         Q. She says in her email, "Hi

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    1   Michael, Please see the attached TCR form to               1        Q. I hand you what we've marked as
    2   support the requested increase request. Thank              2   Palmer Exhibit 14. I'll identify it for the
    3   you."                                                      3   record as MCKMDL00629074 through 629075.
    4             And you're copied on that email.                 4        A. (Reviewing document.)
    5             Do you see that?                                 5             Okay.
    6         A. Yes.                                              6        Q. Take a look. This email string
    7         Q. Hand you what we've marked as                     7   begins with an email from Jenna Nichols.
    8   Palmer Exhibit 13.                                         8             Do you know who that is?
    9                  - - -                                       9        A. Jenna is another employee of
   10             (Deposition Exhibit No. Rite                    10   McKesson.
   11         Aid-Palmer-13, Email chain, top one dated           11        Q. That's someone you had had -- a
   12         19 Aug 2009, 4 pages, was marked for                12   point of contact for you in these situations.
   13         identification.)                                    13   Right?
   14                  - - -                                      14        A. Yeah. At some point in time,
   15   BY MR. SIMMER:                                            15   Jenna was also a point of contact.
   16         Q. Simply to close out this request,                16        Q. This is an email dated October
   17   do you see that email that was sent -- let's go           17   25, 2010.
   18   back to -- Ms. Evangelista's email was sent to            18             Do you see that?
   19   Michael Oriente on Wednesday, August 19, 2009.            19        A. Yes.
   20   And then a short time later the same day, you see         20        Q. And she says, "Hi Team, Please
   21   at the top of this email string, Mr. Oriente says         21   see the attached daily CSMP report for Rite Aid."
   22   "Completed."                                              22             Do you see that?
   23             Do you see that?                                23        A. Yes.
   24             MR. LAVELLE: Object to form.                    24        Q. Are these reports always -- have
                                                       Page 231                                                Page 233
    1             THE WITNESS: I see that.                         1   they always been daily like this?
    2   BY MR. SIMMER:                                             2        A. I do not believe so.
    3        Q. And you're copied on that email.                   3        Q. So is this a change now that it's
    4   Right?                                                     4   a daily report?
    5        A. Yes.                                               5             MR. LAVELLE: Object to form.
    6        Q. And what's your understanding of                   6             THE WITNESS: I can't answer
    7   what Mr. Oriente meant when he said "completed"?           7        that.
    8             MR. LAVELLE: Object to form.                     8   BY MR. SIMMER:
    9             THE WITNESS: That it was                         9        Q. And you respond later that same
   10        completed.                                           10   day, actually seven minutes later, to an email to
   11   BY MR. SIMMER:                                            11   Janet Hart, Owen McMahon, Karen Staniforth and
   12        Q. That the TCR had been approved?                   12   copying Robert Oberosler.
   13        A. Again, TCR is a McKesson internal                 13             Are those all Rite Aid employees?
   14   nomenclature. I would say that the threshold              14        A. Yes.
   15   increase process, whatever it is that they need           15        Q. And you have "Importance: High."
   16   to do on the back end, has been completed.                16             Do you see that?
   17                 - - -                                       17        A. Yes.
   18             (Deposition Exhibit No. Rite                    18        Q. When you put "Importance: High"
   19        Aid-Palmer-14, Email chain, top one dated            19   on an email that you're sending to folks in the
   20        25 Oct 2010, Bates stamped MCKMDL00629074            20   company, what did you mean by that?
   21        and MCKMDL00629075, was marked for                   21        A. That it's important.
   22        identification.)                                     22        Q. It's out of the ordinary, they
   23                 - - -                                       23   should respond quickly. Right?
   24   BY MR. SIMMER:                                            24             MR. LAVELLE: Object to form.

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    1              THE WITNESS: That it's                    1   the field to corporate to the field to corporate.
    2         important.                                     2              So I think I need to change my
    3   BY MR. SIMMER:                                       3   last answer to I don't know, because now in
    4         Q. Do you see where you say,                   4   looking at the response, I'm not sure if this was
    5   "Through October 24th we have now have 46            5   a point in time when she was in corporate or when
    6   locations at or near Oxycodone threshold limits.     6   she was in the field. Now that I look clearer at
    7   This rises exponentially as end of month             7   her response, that response more likely indicates
    8   approaches. At this rate I would predict between     8   to me that she was in pharmacy operations in
    9   200-300 stores to be impacted by months end"?        9   corporate, because this is expressing her
   10              Do you see that?                         10   familiarity with the recall.
   11         A. Uh-huh, yes.                               11         Q. So am I right that this looks
   12         Q. Do you also see where you go on            12   like she's a decision-maker on this particular
   13   to say, "I think this is at least partially being   13   issue. Right?
   14   driven by shifts from OxyContin (new formulation)   14              MR. LAVELLE: Object to form.
   15   to generic Oxycodone IR (I have no solid proof      15              THE WITNESS: She's providing
   16   just a theory)"?                                    16         information on this particular issue,
   17              Do you see that?                         17         which I probably was not aware of
   18         A. Yes.                                       18         originally.
   19         Q. Tell us what you had surmised              19   BY MR. SIMMER:
   20   from what was going on here.                        20         Q. What do you mean, you were
   21         A. Well, I think the next sentence,           21   probably not aware of originally?
   22   you know, really clarifies what was happening       22         A. The recall.
   23   here, which is a recall had been done on specific   23         Q. So when you sent your email to
   24   oxycodone products. This is another example of      24   the folks that you sent on Monday, October 25th,
                                                Page 235                                                 Page 237
    1   where, you know, when the stores -- when there's     1   you didn't know there had -- was a recall in
    2   a recall on the product, the product gets            2   place.
    3   returned, but the McKesson threshold process         3             Is that what you're saying?
    4   would have no visibility into that product being     4             MR. LAVELLE: Object to form.
    5   returned. So what appears to have happened here      5             THE WITNESS: It appears to me
    6   is there was a recall of these OxyContin             6        the reason why I'm sending it to this
    7   products. That's resulting in the stores having      7        particular audience is I'm trying to
    8   to order more product. And they were bumping up      8        understand or confirm if there's a
    9   against thresholds, which is, once again, why the    9        purchasing-supply-chain-type issue that's
   10   temporary process was being looked at.              10        causing this, and Karen appears to -- we
   11         Q. And you get a response from Karen          11        probably had a phone conversation
   12   Staniforth.                                         12        discussion in here as well. But Karen is
   13             Who is that?                              13        basically affirming on email that there
   14         A. Today or back then?                        14        is in fact a supply chain issue involved
   15         Q. At that time.                              15        here.
   16         A. At that time, Karen Staniforth             16   BY MR. SIMMER:
   17   was a field leader out in the organization.         17        Q. And do you see in the next email
   18         Q. Do you see where she responds,             18   on this string three minutes later, after Ms.
   19   "Temp increases for October and November as the     19   Staniforth's email to you, you forward this on to
   20   recall extends through November 19th"?              20   Michael Oriente and tell him or ask him, excuse
   21             Do you see that?                          21   me, "Is this agreeable? Andy." Right?
   22         A. Again, actually, I want to                 22        A. Yes.
   23   clarify my last answer, because Karen held a        23        Q. So what is it you're asking here?
   24   bunch of different positions. And she went from     24        A. For temporary increases on the

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    1   base code that's involved here.                           1         Q. And then he says, the subject
    2         Q. And you see his response a bit                   2   line is, "Rite Aid CSMP Oxycodone accounts that
    3   later that same day, "Can you call me? This               3   have NOT had any increases."
    4   should not be a problem, I just want to get the           4         A. Yes.
    5   details so I get it right."                               5         Q. Do you see in his email he says,
    6              Do you see that?                               6   "Andy, These are the stores that never had an
    7         A. Yes.                                             7   increase"?
    8         Q. Do you recall having this phone                  8              Do you see that?
    9   conversation with Mr. Oriente about this?                 9         A. Yes.
   10         A. I do not recall the particular                  10         Q. Do you have an idea or a
   11   phone conversation.                                      11   recollection of what the situation was?
   12         Q. Do you know whether this                        12         A. This appears to tie back to the
   13   particular temporary increase was approved?              13   previous referenced exhibit.
   14         A. I do not. I have no reason to                   14         Q. In what way?
   15   believe it wouldn't have been, but I do not.             15         A. So the other exhibit ended with
   16         Q. So in this particular temporary                 16   Mike Oriente asking me to call him on October 25,
   17   increase, there was a business need in order to          17   2010. He's wanting to understand details around
   18   make the increase. Right?                                18   this. And I think there's really two things
   19         A. Yes.                                            19   involved here. Number one is the recall of the
   20         Q. It's fair to say that you were                  20   OxyContin product. But number two, as you see
   21   satisfied that these pharmacies indeed had a             21   here, I made a speculation in my email here that
   22   valid need for this temporary increase. Right?           22   now makes much more sense, which is the move from
   23              MR. LAVELLE: Object to form.                  23   OxyContin to oxycodone IR. That would have a
   24              THE WITNESS: I would have no                  24   huge impact on thresholds within the base code.

                                                      Page 239                                                    Page 241
    1          reason to believe otherwise.                       1   So we don't have the in-between conversation, but
    2   BY MR. SIMMER:                                            2   I think that these are related.
    3          Q. Okay. It's also fair to say that                3         Q. Do you see later that same day,
    4   you were satisfied that there were no concerns            4   actually six minutes later, you respond, "Wow.
    5   with these pharmacies' orders being suspicious.           5   Can we input these?"
    6   Right?                                                    6         A. Yes.
    7          A. I would have no reason to believe               7         Q. What are you saying?
    8   that the orders were suspicious.                          8              MR. LAVELLE: Object to form.
    9                   - - -                                     9              THE WITNESS: I think -- again,
   10              (Deposition Exhibit No. Rite                  10         the shift from OxyContin, which is a
   11          Aid-Palmer-15, Email chain, top one dated         11         long-acting form, so you would -- with a
   12          30 Nov 2010, Bates stamped MCKMDL00628996         12         long-acting medication, you would take
   13          and MCKMDL00628997, was marked for                13         fewer units. And the shift that was
   14          identification.)                                  14         speculated on here was a shift within the
   15                   - - -                                    15         industry to go from, you know,
   16   BY MR. SIMMER:                                           16         longer-acting tablets to the
   17          Q. I hand you what we've marked as                17         shorter-acting product.
   18   Palmer Exhibit 15. Take a moment to review it.           18              The problem as it impacts these
   19   I'll identify it for the record as MCKMDL00628996        19         thresholds and how the threshold process
   20   through 628997.                                          20         was designed is, if you were on the
   21              Do you see the email that begins              21         longer-acting product, your dose would
   22   this string from Mr. Oriente to you dated                22         be, say, two tablets a day, one in the
   23   November 30, 2010?                                       23         morning, one in the evening. The move to
   24          A. Yes.                                           24         the shorter-acting product would mean

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    1         your dosing might be three tablets every       1   because why do a threshold increase on a store
    2         four hours.                                    2   that, despite these things, may not need the
    3              Well, that's a change from                3   additional product. That would be, to me, not
    4         two units a day to 12 units a day. The         4   the right approach.
    5         overall milligrams might not change, but       5              So instead, it would make more
    6         the threshold goes by units.                   6   sense to -- you know, realizing you've got this
    7              So it appears to me that there            7   problem, to put the increase in on stores that
    8         was some conversation about these issues       8   are actually hitting that problem and that issue.
    9         and the challenges and, you know, that         9   And I think that's what this speaks to.
   10         Michael basically put together a bit of a     10         Q. So you see his response back
   11         spreadsheet to try and help alleviate         11   to you later that same day, yes, where he says,
   12         that. And I took a look at it and,            12   "Andy," I -- or "just updated 102 stores for
   13         correspondingly, the effort was to make       13   Oxycodone."
   14         some kind of adjustment.                      14              Do you see that?
   15   BY MR. SIMMER:                                      15         A. Yes.
   16         Q. Did you have an understanding of           16         Q. So what he seems to be
   17   which product was more subject to addiction         17   indicating, that McKesson just updated the
   18   abuse, short acting or long acting?                 18   threshold limits for oxycodone, that's the
   19         A. I think they both would be                 19   generic version, for 102 stores. Right?
   20   subject to abuse.                                   20              MR. LAVELLE: Object to form.
   21         Q. You don't have an understanding            21              THE WITNESS: That's a base code.
   22   that the short acting is the one that the addicts   22         That's not -- again, base -- I would
   23   prefer?                                             23         disagree with your characterization of it
   24         A. No. Because you can bust the               24         as the generic version, because base code
                                                Page 243                                                        Page 245
    1   long acting open with a hammer and, voila, you've    1         includes all products, all versions.
    2   got short acting, so that doesn't make sense to      2              Other than that, you're correct.
    3   me. That's my opinion. That would make no            3   BY MR. SIMMER:
    4   sense.                                               4         Q. Fair point.
    5         Q. In response, Mr. Oriente asks               5              But he does indicate that he
    6   you, "Do you want 20, 30, 40 or 50% increase?"       6   approved your request to increase the threshold
    7              Do you see that?                          7   by 50 percent for these 102 stores. Right?
    8         A. Yes.                                        8              MS. DORRIS: Object to form.
    9         Q. And then you respond a short time           9              THE WITNESS: I didn't
   10   later, "I think we did 50% on round 1. Can we do    10         specifically ask that I can tell for 102
   11   that for this group?"                               11         stores. But, yes, it would appear that
   12              Do you see that?                         12         based upon information I don't have as
   13         A. Yes.                                       13         far as how many stores, that based upon
   14         Q. Okay. What are you talking about           14         the report, he inputted increases for the
   15   here?                                               15         stores on the report. I'm assuming that
   16         A. So if I recall the way we handled          16         was 102, but I can't verify that because
   17   this issue -- so we obviously have two              17         I don't have a spreadsheet in front of
   18   significant issues impacting thresholds within      18         me. But I would assume that that is 102.
   19   this base code. We've got a recall, but more        19   BY MR. SIMMER:
   20   importantly, we've got a shift driving more         20         Q. So the string begins at 10:00 in
   21   units, not necessarily more drug but more units.    21   the morning on November 30th. And by what looks
   22              You would not handle that                22   like 4:27 in the afternoon, the thresholds have
   23   issue -- or I would suggest not handling that       23   been increased for these 102 stores. Right?
   24   issue by blanket increasing every single store,     24         A. That appears to be correct.

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    1         Q. So far as your role in this, you                  1   code Oxycodone here and its only the 25th. Can
    2   were satisfied that these pharmacies had a valid           2   we look at these locations and do an initial
    3   need. Right?                                               3   increase on any that did not get one? Andy."
    4         A. I would have no reason to believe                 4         A. Yes.
    5   otherwise.                                                 5         Q. What are you saying?
    6         Q. Did you actually do any                           6         A. This goes back to what I was
    7   investigation at all to determine that was an              7   saying before is, as opposed to doing what would
    8   accurate statement?                                        8   be the wrong thing, in applying blanket
    9         A. No, not in 102 stores.                            9   adjustments to stores relative to the shift that
   10         Q. Is it also fair to say that you                  10   resulted in, you know, the unit increases we
   11   satisfied yourself that there were no concerns            11   discussed, it made -- makes more sense to wait to
   12   with these pharmacies' orders being suspicious?           12   see if stores are running into the issue or
   13         A. I would have had no reason to                    13   hitting those thresholds and then adjust them at
   14   believe that these orders were suspicious.                14   that time. So that's really what's being
   15         Q. And, again, you did no                           15   represented here.
   16   investigation at all to determine that, did you?          16         Q. Mr. Oriente responds to you on
   17              MR. LAVELLE: Object to form.                   17   that same day, just about an hour-and-a-half
   18              THE WITNESS: This is an                        18   later, roughly.
   19         industry-wide issue, potentially                    19         A. Uh-huh.
   20         impacting every single Rite Aid store,              20         Q. "Any the" -- I think he means
   21         not a singular-type issue like we                   21   Andy, but that says, "Any these would be the
   22         discussed with other issues.                        22   stores that are highlighted over 90%. The rest
   23                  - - -                                      23   are below 90% but also have never received an
   24              (Deposition Exhibit No. Rite                   24   increase. Do you want just the highlighted or
                                                       Page 247                                                Page 249
    1        Aid-Palmer-16, Email chain, top one dated             1   all to get the 50% increase?"
    2        25 Mar 2011, Bates stamped MCKMDL00629858             2              Do you see that?
    3        and 629859, was marked for                            3         A. Yes.
    4        identification.)                                      4         Q. Do you have an understanding what
    5                 - - -                                        5   he's asking here?
    6   BY MR. SIMMER:                                             6         A. There's a corresponding
    7        Q. Hand you what we've marked as                      7   spreadsheet. What he's asking is to take a look
    8   Palmer Exhibit 16. We'll identify it for the               8   at the spreadsheet. You know, some are at
    9   record as Bates MCKMDL00629858 through 629859.             9   90 percent as of the 25th. There are others at
   10        A. Okay.                                             10   perhaps 89 percent, 88 percent, 79.5 percent. So
   11        Q. Do you see the email string                       11   his question is, are we going to just adjust the
   12   begins with an email from Jenna Nichols at                12   90 percent or the 88 percent, the 89 percent, the
   13   McKesson to you and a group of individuals on             13   87 percents as well.
   14   Friday, March 25, 2011?                                   14         Q. And you respond a short time
   15        A. Yes.                                              15   later, seven minutes later, "Can you get all in
   16        Q. Do you see she says, "Hi Team,                    16   for us? Andy."
   17   Please see the attached daily CSMP report for             17         A. Yes.
   18   Rite Aid. Let me know if we need to make any              18         Q. What's your response mean?
   19   adjustments to the current thresholds"?                   19              MR. LAVELLE: Object to form.
   20             Do you see that?                                20              THE WITNESS: It goes back to the
   21        A. Yes.                                              21         previous question. So as opposed to just
   22        Q. And you respond at 3:57 that same                 22         doing the 90 percent, yes, take care of
   23   day, so in the afternoon that day, "Mike, Jenna,          23         the 89 percent, the 88.5 percent one as
   24   We have quite a few locations at 90% plus on base         24         well.

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    1   BY MR. SIMMER:                                      1   here --
    2         Q. You want all of them increased.            2             MR. LAVELLE: Object to form.
    3   Right?                                              3   BY MR. SIMMER:
    4         A. The ones that were reflected in            4        Q. -- in order to approve this
    5   the spreadsheet, yes.                               5   threshold increase?
    6         Q. And then Mr. Oriente responds a            6             MR. LAVELLE: Same objection.
    7   short time later, "Completed. Jenna, please         7             THE WITNESS: Yes. Again, these
    8   attach this file to a TCR and send to me on         8        are not, you know, individual store
    9   Monday. Thank you."                                 9        issue. These are industry-wide issues
   10             It appears that he's saying that         10        that are causing the problem here.
   11   this threshold increase of 50 percent for this     11   BY MR. SIMMER:
   12   group of stores had been approved. Right?          12        Q. Hand you what we've marked as
   13         A. Yes. It looks like he approved            13   Palmer Exhibit Number 17.
   14   it.                                                14                 - - -
   15         Q. It actually looks like it is              15             (Deposition Exhibit No. Rite
   16   approved and completed before the TCR form had     16        Aid-Palmer-17, Email chain, top one dated
   17   been filled out. Right?                            17        31 Mar 2011, Bates stamped
   18             MS. DORRIS: Objection.                   18        MCKMDL00627679, was marked for
   19             THE WITNESS: Again, I'm not              19        identification.)
   20         familiar with this whole internal            20                 - - -
   21         McKesson process or TCR or -- I'm            21   BY MR. SIMMER:
   22         familiar with our, you know, process, not    22        Q. I'll identify it for the record
   23         what happens on the back end at McKesson.    23   as MCKMDL00627679.
   24   BY MR. SIMMER:                                     24        A. Okay.
                                               Page 251                                                 Page 253
    1         Q. So tell us everything you did to           1         Q. So this is an email that begins
    2   investigate whether these stores in fact needed     2   with Jenna Nichols' email dated March 31, 2011 to
    3   the increase -- strike that.                        3   you and a group of other individuals.
    4              Tell us everything you did to            4              She says, "Hi Team, Please see
    5   investigate whether there was a valid need to       5   the attached daily CSMP report for Rite Aid."
    6   justify this increase.                              6              Do you see that?
    7              MR. LAVELLE: Object to form.             7         A. Yes.
    8              THE WITNESS: Yeah. The business          8         Q. This is the same kind of email
    9         increase would be the issues we were          9   we've been seeing that time and time again is
   10         already aware of.                            10   starting this process. Right?
   11   BY MR. SIMMER:                                     11         A. Yes.
   12         Q. It's fair to say that you                 12         Q. And then you respond at 9:15 a.m.
   13   satisfied yourself there were no concerns with     13   on March 31st. I think that's a time zone
   14   these pharmacies' orders being suspicious?         14   difference, but I'm not sure why it seems like --
   15         A. We would have no reason to                15   it looks like you responded before she sent the
   16   believe these orders were suspicious.              16   email.
   17         Q. And just looking at how long this         17              But in any event, you say in your
   18   process took, starts at 9:46 a.m. on the morning   18   email, "Mike, Jenna, 480 locations on here. That
   19   of Friday, March 25th, and it's been approved by   19   means over 10% of our locations hit or came close
   20   late in the day that same day. Right?              20   to a block of some sort this month. Can" you
   21         A. Yes.                                      21   "take another look at ones that made it on here
   22         Q. So am I right that there really           22   that have never had" an "initial bump again?
   23   hadn't been much in the way of an investigation    23   Andy."
   24   beyond what you already thought was going on       24         A. Yes.

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    1        Q.      What are you saying?                    1         3:32 p.m. to 3:56 p.m.)
    2              MR. LAVELLE: Object to form.              2                 - - -
    3              THE WITNESS: That all of these            3              THE VIDEOGRAPHER: We're back on
    4         exhibits all tie to each other. This is        4         the record at 3:56 p.m.
    5         this -- more of the same of what we            5   BY MR. SIMMER:
    6         talked about here.                             6         Q. Sir, we went through a series of
    7              And again, we could have                  7   exhibits looking at threshold increases across a
    8         implemented the increase across all 6,000      8   number of Rite Aid stores before we took our
    9         stores at one time, in which case it           9   break. Right?
   10         would appear that -- you know, that           10         A. Yes.
   11         wouldn't, in your view, be an issue. I        11         Q. Is it fair to say that in
   12         think the more responsible approach was       12   approving those threshold increases, you
   13         to not input increases across 6,000           13   satisfied yourself that nothing about them was in
   14         locations and only deal with locations as     14   any way related to the opioids epidemic happening
   15         the issue is being reflected, because the     15   in America at the time?
   16         end result is far fewer locations are         16         A. I had no reason --
   17         going to receive an increase.                 17              MR. LAVELLE: Object to form.
   18   BY MR. SIMMER:                                      18              THE WITNESS: -- to believe so.
   19         Q. Do you see Jenna's email to you            19         No reason to believe so.
   20   later that same day, do you see where she says,     20   BY MR. SIMMER:
   21   "Andy, Please see the attached file of stores       21         Q. Okay. Did you do anything to
   22   that have not been increased. Please keep in        22   investigate to make sure that that was not
   23   mind that there is only one more ordering day       23   anything that was driving the utilization, the
   24   left for the month of March. There were 2 more      24   increase?
                                                Page 255                                                       Page 257
    1   ordering days this month than average months,        1             MR. LAVELLE: Object to form.
    2   which resulted in more stores hitting their          2             THE WITNESS: The particular
    3   thresholds. I can submit an increase for the         3         increases that we were discussing
    4   attached stores if you need it. Please let me        4         previous to the break, there was an
    5   know what percentage you would like to increase      5         industry-wide issue, paradigm shift that
    6   these thresholds? Thank you, Jenna Nichols"?         6         we believed was driving those increases.
    7             Do you see that?                           7   BY MR. SIMMER:
    8        A. Yes.                                         8         Q. Nothing related to the epidemic.
    9        Q. This is where the email string               9   Right?
   10   stops.                                              10         A. Not that I would necessarily
   11             Do you know whether this in fact          11   believe is directly related to -- to...
   12   was approved?                                       12         Q. Again, just to clarify, what did
   13        A. Without -- I would need -- I                13   you actually do to confirm that that wasn't in
   14   would need -- the answer is no, I would need more   14   any way a driving force behind these increases?
   15   of the email string or something to refresh my      15         A. If -- if the increases was the
   16   recollection.                                       16   first-time increase after the industry changes
   17             MR. SIMMER: Can we take a short           17   that we talked about, the recall and the shift to
   18        break?                                         18   short-acting product, then the -- you know, the
   19             MR. LAVELLE: Yeah.                        19   assumption was that that was the driver for those
   20             THE WITNESS: We can.                      20   increases.
   21             THE VIDEOGRAPHER: Off the record          21             There are also points in those
   22        at 3:32 p.m.                                   22   things where the reiteration is, had the increase
   23                 - - -                                 23   already been done, so if subsequent increases
   24             (A recess was taken from                  24   would have come in, those would have been handled

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    1   differently.                                         1   percentage, a valid business reason and so forth.
    2                - - -                                   2         Q. We've looked and 3151 is a
    3             (Deposition Exhibit No. Rite               3   pharmacy located in Akron, Ohio.
    4        Aid-Palmer-18, Email dated December 03,         4              Do you have any reason to dispute
    5        2008, Bates stamped MCKMDL00628183, was         5   that?
    6        marked for identification.)                     6              MR. LAVELLE: Object to form.
    7                - - -                                   7              THE WITNESS: I have no reason to
    8   BY MR. SIMMER:                                       8         believe you're incorrect in that.
    9        Q. Hand you what we've marked as                9   BY MR. SIMMER:
   10   Palmer-18. I'll identify it for the record as       10         Q. And you say that you'd like to
   11   MCKMDL00628183.                                     11   increase by 20 percent.
   12        A. Okay.                                       12              Any idea what would have gone on
   13        Q. Do you see your email of December           13   to lead you to conclude to raise it by
   14   3, 2008, to Melissa Evangelista. Right?             14   20 percent?
   15        A. Yes.                                        15         A. A conversation with the pharmacy
   16        Q. And she works for McKesson.                 16   district manager or an email.
   17   Right?                                              17         Q. Okay. And you say that the
   18        A. At that time she did. I can't               18   location is seeing increased business from a
   19   confirm that she works there now, but yes.          19   local pain clinic.
   20        Q. And the other two individuals,              20         A. Yes.
   21   we've identified one already, Michael Oriente, as   21         Q. Would that be the kind of thing
   22   a McKesson employee at the time. Right?             22   that would be a justification for an increase in
   23        A. Yes.                                        23   the threshold?
   24        Q. And what about Michael Musson?              24         A. It could be. Increased business
                                                Page 259                                                 Page 261
    1          A.      Mike Musson was employed by Rite      1   from a local pain clinic, cancer treatment
    2   Aid.                                                 2   center, new physician, yes.
    3         Q. And what was his job?                       3         Q. So tell us everything you would
    4         A. Mike was a -- an analyst. I                 4   do in a situation like this when you got a
    5   believe the term we used at that point in time       5   request for a threshold increase that is being
    6   was a data miner.                                    6   driven by a particular medical provider?
    7         Q. An analyst in what department?              7             MR. LAVELLE: Object to form.
    8         A. In the loss prevention                      8             THE WITNESS: At this point in
    9   department.                                          9         time?
   10         Q. Did he work under you?                     10   BY MR. SIMMER:
   11         A. He did.                                    11         Q. Yes, sir.
   12         Q. Do you see where you say in your           12         A. Okay. This was 2008. The
   13   email, "Melissa, Please increase threshold on       13   program was brand new. And at this point in
   14   base code Oxycodone at store 3151 by 20%.           14   time, I don't know that we would have done
   15   Location is seeing increased business from a        15   anything other than probably affirming that the
   16   local pain clinic. Let me know when in. Andy"?      16   script growth is in fact, you know, increasing by
   17             Do you see that?                          17   about the percentage that's being requested.
   18         A. Yes. Yes, I do.                            18         Q. What program are you talking
   19         Q. Can you tell us what your --               19   about?
   20   what's going on here?                               20         A. The McKesson threshold program.
   21         A. It's 2008, which is ten years              21   We discussed earlier that that was implemented in
   22   ago, so I don't specifically recall, other than     22   2008.
   23   it appears to fit the parameters of how, you        23         Q. You say it was new at this point
   24   know, these increases were done, needed a           24   in time.

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    1              Is there some reason why you              1   prescribing hundreds of thousands of doses of
    2   believe it may have changed over time?               2   painkillers and other pills to customers for no
    3              MS. DORRIS: Object to form.               3   legitimate medical purpose, even after he learned
    4              MR. LAVELLE: Object to form.              4   some customers had died from overdose-related
    5              THE WITNESS: I think, you know,           5   deaths, law enforcement officials said"?
    6         the program got better and was a learning      6             Do you see that?
    7         experience throughout, as any program          7             MR. LAVELLE: Object to form.
    8         should be, of any sort.                        8             THE WITNESS: Yes.
    9   BY MR. SIMMER:                                       9   BY MR. SIMMER:
   10         Q. Is it fair to say that you                 10         Q. Ever heard of that before?
   11   wouldn't have made a request like this unless you   11         A. No.
   12   were satisfied that pharmacy 3151 had a valid       12         Q. Look at the fifth paragraph. Do
   13   need for this threshold increase?                   13   you see where it says, "Together" -- and that's
   14         A. I would not have, you know,                14   in reference to Dr. Harper and several others --
   15   requested the increase if I had reason to believe   15   "they distributed hundreds of thousands of doses
   16   that there was no business need.                    16   of prescription medications -- including
   17         Q. Is it fair to say that you were            17   OxyContin, Percocet, Roxicet, Opana and others --
   18   satisfied that there were no concerns with 3151's   18   from Adolph Harper's medical offices in Akron
   19   orders being suspicious?                            19   between 2009 and 2012, according to...
   20         A. I would not have submitted the             20   documents" -- excuse me -- "according to court
   21   increase or have any reason to believe that the     21   documents"?
   22   orders were suspicious.                             22             Do you see that?
   23         Q. Hand you what we've previously             23             MR. LAVELLE: Object to form.
   24   marked as Novack Exhibit 8. I'll identify it for    24             THE WITNESS: I do. That's not
                                                Page 263                                                 Page 265
    1   the record as a press release from the Department    1         what it says, though.
    2   of Justice dated October 20, 2014, the title of      2   BY MR. SIMMER:
    3   which says, "Akron Doctor Pleads Guilty to           3         Q. It doesn't say that?
    4   Illegally Prescribing Painkillers."                  4         A. You said from Adolph Harper's
    5             Do you see that?                           5   medical officers -- or you said offices. The
    6         A. Yes.                                        6   word here is "officers."
    7         Q. Are you familiar with Dr. Adolph            7         Q. Thank you for that correction. I
    8   Harper?                                              8   think that may be a typo in the actual press
    9         A. No.                                         9   release. I don't think it means officers, but
   10         Q. Never heard the name before?               10   with that correction.
   11         A. Not that I recall.                         11              Have you heard of this before,
   12         Q. Are you familiar with the pain             12   that between 2009 and 2012, that these
   13   clinic that he ran in Akron, Ohio?                  13   individuals were illegally filling -- or writing
   14         A. Not that I recall.                         14   prescriptions for OxyContin, Percocet, Roxicet,
   15         Q. Familiar with the fact that he             15   Opana and others?
   16   was a gynecologist?                                 16         A. No, I'm not familiar with this.
   17         A. No.                                        17              I also would point out, and maybe
   18         Q. Familiar with the fact that his            18   this is an error as well, but it says they were
   19   patients filled prescriptions at pharmacy 3151?     19   distributed -- the doses were distributed from
   20         A. No.                                        20   Adolph Harper's -- assuming you are correct,
   21         Q. Take a look at the first                   21   offices. So they're saying that these were
   22   paragraph.                                          22   distributed from his offices, they were handed
   23             Do you see where it says, "An             23   out at his office, is that what they're saying?
   24   Akron physician pleaded guilty to illegally         24         Q. I think they're actually

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    1   referring to the prescriptions themselves, not              1 HARPER, PATRICIA LAUGHMAN and Tequilla Berry, the
    2   the drug.                                                   2 defendants herein, and others known and unknown
    3        A. So it's inaccurate.                                 3 to the Grand Jury, did unlawfully, knowingly and
    4             MR. LAVELLE: Objection to the                     4 intentionally combine, conspire, confederate and
    5        form. Objection.                                       5 agree together and with each other, and with
    6   BY MR. SIMMER:                                              6 diverse others known and unknown to the Grand
    7        Q. I don't know whether it's                           7 Jury to knowingly and intentionally distribute
    8   inaccurate.                                                 8 and dispense oxycodone, oxymorphone, methadone,
    9             Let's look at the indictment and                  9 amphetamines, Schedule II controlled substances;
   10   see what the indictment said. I'll hand you what           10 buprenorphine and hydrocodone, Schedule III
   11   we've previously marked as Novack Rite Aid                 11 controlled substances, and alprazolam and
   12   Exhibit 7.                                                 12 zolpidem, Schedule IV controlled substances,
   13        A. So I don't need this one?                          13 outside the usual course of professional practice
   14             MR. LAVELLE: No.                                 14 and not for a legitimate medical purpose,
   15   BY MR. SIMMER:                                             15 contrary to and in violation of Title 21, United
   16        Q. I'll identify it for the record                    16 States Code sections 841(a)(1), (b)(1)(C),
   17   as a pleading dated March 25, 2014 from the                17 (b)(1)(E), (b)(2) and 846"?
   18   Northern District of Ohio, Eastern Division,               18            Do you see that?
   19   captioned United States of America, Plaintiff,             19            MR. LAVELLE: Object to form.
   20   vs. Adolph Harper, Jr., Adria Harper, Patricia             20            THE WITNESS: Yes.
   21   Laughman and Tequilla Berry, Defendants.                   21 BY MR. SIMMER:
   22   Indictment Case Number 5:14CR096.                          22       Q.    Did you ever hear of that before?
   23             Do you see that?                                 23            MR. LAVELLE: Object to form.
   24        A. Yes.                                               24            THE WITNESS: Not that I recall.

                                                        Page 267                                                          Page 269
    1         Q. Do you see in the very first                       1   BY MR. SIMMER:
    2   paragraph, where it says, and I'll quote, "From             2         Q. Look at paragraph 24. Do you see
    3   on or about September 1, 2009, and continuing               3   where it says, and I'll quote, "It was further
    4   through on or about May 18, 2012, the defendants            4   part of the conspiracy that ADOLPH HARPER, JR.
    5   ADOLPH HARPER, JR., ADRIA HARPER, PATRICIA                  5   pre-signed blank prescription forms, and ADRIA
    6   LAUGHMAN, TEQUILLA BERRY and others                         6   HARPER, LAUGHMAN, and BERRY completed
    7   (collectively, the 'HARPER DRUG TRAFFICKING                 7   prescription information for customers and
    8   ORGANIZATION' or 'HARPER DTO') agreed to                    8   distributed 'prescriptions' to the customers,
    9   illegally distribute hundreds of thousands of               9   anticipating that the customers would fill the
   10   doses of prescription painkillers to customers             10   'prescriptions' at a pharmacy and receive
   11   located in the Northern District of Ohio and               11   controlled substances"?
   12   elsewhere"?                                                12             You see that?
   13              Do you see that?                                13             MR. LAVELLE: Object to form.
   14              MR. LAVELLE: Object to form.                    14             THE WITNESS: Yes.
   15              THE WITNESS: Yes, I see that.                   15   BY MR. SIMMER:
   16   BY MR. SIMMER:                                             16         Q. Look at paragraph 27. "It was
   17         Q. Direct your attention to                          17   further part of the conspiracy that ADOLPH
   18   paragraph 21 on page 8.                                    18   HARPER, JR., continued to distribute
   19              Do you see where it says, and                   19   'prescriptions' for controlled substances after
   20   I'll quote, "Beginning at least on or about                20   he learned that some of his customers had died
   21   September 1, 2009, and continuing through on or            21   from overdose-related deaths."
   22   about May 18, 2012, the exact dates to the Grand           22             See that?
   23   Jury unknown, in the Northern District of Ohio,            23             MR. LAVELLE: Object to form.
   24   Eastern Division, ADOLPH HARPER, JR., ADRIA                24             THE WITNESS: Yes.

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    1             MR. LAVELLE: Move to strike this                1   BY MR. SIMMER:
    2        entire reading of a document that the                2         Q. So you're saying if you had known
    3        witness has said he has no familiarity               3   that Dr. Harper's pain clinic that was driving
    4        with. Counsel is just reading paragraphs             4   this increase in prescriptions from 30 --
    5        of a document that the witness knows                 5   pharmacy 3151, you would have done nothing at
    6        nothing about. It's a total waste of                 6   all?
    7        time and I move to strike it.                        7              MR. LAVELLE: Object to form.
    8             MR. SIMMER: Objection noted.                    8              THE WITNESS: If I would have
    9   BY MR. SIMMER:                                            9         known that Dr. Harper was prescribing for
   10        Q. Look at paragraph 29.                            10         illegitimate medical purposes, then no.
   11             "It was further part of the                    11         And that was driving the increases, then
   12   conspiracy that ADOLPH HARPER, JR., distributed,         12         no, I would not have approved the
   13   'prescriptions' to customers after conducting a          13         increase.
   14   cursory examination of the customer and often            14              But your question was simply if
   15   without examining the customer."                         15         it was Dr. Clinic's -- Harper's clinic
   16             See that?                                      16         prescribing them, would you have approved
   17             MR. LAVELLE: Object to form.                   17         the increase.
   18             THE WITNESS: Yes.                              18   BY MR. SIMMER:
   19   BY MR. SIMMER:                                           19         Q. So you are agreeing with me that
   20        Q. Look at paragraph 31.                            20   if you had known that Dr. Harper was prescribing
   21             "It was further part of the                    21   for illegitimate medical purposes, that you would
   22   conspiracy that the HARPER DTO posted...ADOLPH           22   not have approved this threshold increase.
   23   HARPER, JR.'S 'medical' office a list of                 23   Right?
   24   pharmacies that were likely to fill ADOLPH HARPER        24              MR. LAVELLE: Object to form.
                                                    Page 271                                                  Page 273
    1   JR.'s customers' 'prescriptions.'"                        1             THE WITNESS: If I would have
    2             Do you see that?                                2        known that the increase was due to
    3             MR. LAVELLE: Object to form.                    3        illegitimate prescriptions, I would not
    4             THE WITNESS: Yes.                               4        have approved the increase.
    5   BY MR. SIMMER:                                            5   BY MR. SIMMER:
    6         Q. In conducting the investigation                  6        Q. Can you pull back Exhibit 5,
    7   and approving the threshold increase that we just         7   please. We looked at it earlier today. I think
    8   looked at for pharmacy 3151, did you do anything          8   that was --
    9   to validate what the pain pharmacy -- excuse me,          9             MR. LAVELLE: Here. I can help
   10   the pain practice was that was driving the               10        you.
   11   increase?                                                11             THE WITNESS: Okay. How do I
   12             MR. LAVELLE: Objection, asked                  12        know what's what?
   13         and answered.                                      13             MR. LAVELLE: Each of these has a
   14             THE WITNESS: In the 2008 case,                 14        number on it, so we just have to look for
   15         no.                                                15        Exhibit 5.
   16   BY MR. SIMMER:                                           16             5 is this document.
   17         Q. Is it fair to say that had you                  17             THE WITNESS: Okay.
   18   known that the increase was being driven by Dr.          18             MR. LAVELLE: Get these other
   19   Harper, you would not have approved this                 19        ones out of your way.
   20   threshold increase?                                      20   BY MR. SIMMER:
   21             MR. LAVELLE: Object to form.                   21        Q. When you testified with regard to
   22             THE WITNESS: Yeah. I don't                     22   questions I asked you about Exhibit 5, you
   23         understand what you're asking. It                  23   referred to the system in this exhibit as the
   24         appears to be very speculative.                    24   inventory replenishment system.

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    1              Do you remember that?                     1   orders. Right?
    2         A. I believe I referred to it as               2            MR. LAVELLE: Object to form.
    3   more than just that. I think the explanation was     3        Objection, asked and answered.
    4   more extensive, proprietary system that includes     4            THE WITNESS: I don't know the
    5   replenishment and dispensing. I have to go back      5        answer to that.
    6   and look, but I think my answer was a little more    6   BY MR. SIMMER:
    7   expansive than you're --                             7        Q. Hand you what we've marked as
    8         Q. Well, I'm just trying to clarify,           8   Palmer Exhibit 19.
    9   just the inventory replenishment system sometimes    9                 - - -
   10   is referred to as the auto replenishment system.    10            (Deposition Exhibit No. Rite
   11   Am I right?                                         11        Aid-Palmer-19, Email chain, top one dated
   12         A. That is correct, yes. Yes.                 12        2011-01-17, Bates stamped
   13         Q. And am I right that this is part           13        Rite_Aid_OMDL_0050633, was marked for
   14   of the system that Rite Aid uses to monitor         14        identification.)
   15   diversion. Right?                                   15                 - - -
   16         A. I would say yes. It is one of              16   BY MR. SIMMER:
   17   the systems that could detect potential             17        Q. I'll identify for the record as a
   18   diversion, yes.                                     18   one-page document, Rite_Aid_OMDL_0050633.
   19         Q. And I'm also right that this is a          19        A. Okay.
   20   system that's part of Rite Aid's efforts to         20        Q. The two emails here, the first
   21   monitor for suspicious orders. Right?               21   one from Janet Hart to a group of individuals
   22         A. Again, as I've said multiple               22   dated January 17, 2011.
   23   times throughout, my understanding of suspicious    23            And you see your name there?
   24   orders is that that's a distribution center         24        A. Yes.
                                                Page 275                                               Page 277
    1   thing. And I've clarified several times that,        1         Q. And the subject line is
    2   you know, my understanding of suspicious order       2   "Suspicious Monitoring."
    3   monitoring is relative to distribution centers.      3              Do you see that?
    4   I think I've clarified that a couple times.          4         A. Yes.
    5         Q. I'm just trying to get a clear              5         Q. And the other individuals, Maggie
    6   record here.                                         6   Perritt, Kevin Mitchell and Janet Hart, she
    7              The auto replenishment system, or         7   copied herself on this email.
    8   what you I think referred to as the inventory        8              Do you see that?
    9   replenishment system, that's one of the things       9         A. Yes.
   10   that Rite Aid uses to monitor suspicious orders;    10         Q. And she says, "Can we make the
   11   is that right?                                      11   meeting 10:30? I have a meeting at the capitol
   12         A. I think you're changing monitor            12   at 9."
   13   for diversion to monitor for suspicious orders.     13              Do you see that?
   14   I think you're switching those words up in your     14         A. Yes.
   15   various questions.                                  15         Q. This is -- all this was in this
   16              As it states here, these are             16   email.
   17   tools to monitor controlled substance purchases     17              And do you have any idea what
   18   relative to diversion.                              18   this is in reference to?
   19         Q. And just to get a clear record,            19         A. Not based on this alone.
   20   and I apologize if I'm asking a question that you   20         Q. Okay. Any idea what -- if there
   21   feel you've answered.                               21   was an effort of some kind to have meetings to
   22              But you're saying that it had --         22   discuss suspicious monitoring?
   23   as far as you know, it did not have any part in     23         A. I don't -- I don't recall.
   24   the company's efforts to monitor for suspicious     24         Q. So you left loss -- or strike

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    1   that.                                                1   that you had supervised came periodically to ask
    2             You left the loss prevention               2   you questions; is that right?
    3   department in April of 2011; is that right?          3         A. Yes.
    4        A. That's correct.                              4         Q. Did Ms. Lai come to you for any
    5        Q. Who replaced you in that                     5   kind of training or assistance in learning her
    6   position?                                            6   new job?
    7        A. Sophia Novack, but her name was              7              MR. LAVELLE: Object to form.
    8   not Sophia Novack at that time.                      8              THE WITNESS: Yes. When Ms. Lai
    9        Q. It was Sophia Lai, L-A-I. Right?             9         started, I provided her, you know, some
   10        A. Yes.                                        10         guidance, gave her some tools, introduced
   11        Q. Did she begin immediately after             11         her to the team, things like that.
   12   you left the position?                              12   BY MR. SIMMER:
   13        A. No.                                         13         Q. What kinds of things did you give
   14        Q. Was there a period of time when             14   her guidance on?
   15   the position was vacant?                            15         A. Really everything, you know,
   16        A. Yes.                                        16   relative to the role. So administrative guidance
   17        Q. So who continued then to fulfill            17   on, you know, again, the team members and their
   18   the functions that you had been in terms of the     18   strengths. I gave her some -- you know, a number
   19   approval of threshold requests, threshold           19   of different documents, you know, that were
   20   increase requests?                                  20   things that we used and told her if she had
   21        A. I don't recall.                             21   questions, you know, after looking them over, to
   22        Q. No one?                                     22   come see me, I'm down the -- you know, again, her
   23        A. I don't know that the answer is             23   office was my old office. So encouraged her to,
   24   no one. I mean, at some point, I know -- like I     24   you know, come down to the other side and ask
                                                Page 279                                                 Page 281
    1   think Janet Hart does these today. But off           1   those questions.
    2   memory from seven years ago during a time when I     2         Q. You said you gave her some tools.
    3   was transitioning into a new role and before         3             What were those?
    4   Sophia came there, I don't recall.                   4         A. I don't recall all of them, but
    5         Q. Did you do anything during                  5   in the course of my role, I had put together, you
    6   that -- the interval while the position was          6   know, different decks and, you know, tools and
    7   vacant to continue any of your responsibilities      7   spreadsheets to, you know, help in the role. And
    8   as you had been in loss prevention?                  8   I provided some of those to her.
    9         A. I would say -- I would say yes.             9         Q. Did you train her in the process
   10   The team -- as an example, the team that reported   10   to get thresholds increased?
   11   to me in that group would sometimes come down to    11         A. I don't recall, but I believe so.
   12   my new office and ask for, you know, help,          12         Q. One area that we didn't really
   13   assistance, guidance. So it -- you know,            13   cover sufficiently early on is, as part of your
   14   certainly to some degree, yes. Still helping out    14   training over time in loss prevention and
   15   in that role, still being involved to -- I just     15   compliance generally, did you get any outside
   16   don't recall if specifically how we handled the     16   training from any third parties?
   17   gap with regards to that specific item.             17         A. Yes.
   18         Q. So you were physically located in          18         Q. What third parties?
   19   a different office; is that right?                  19         A. I mean, we're required to have --
   20         A. Yes, yes.                                  20   I'm required to have continuing education, both
   21         Q. And a different floor location?            21   for my licenses and for all those certifications.
   22         A. No. Actually, opposite ends of             22   So I could not list, you know, for example, every
   23   the same building.                                  23   training program I took for the past 15 years.
   24         Q. And you recall that the people             24         Q. Did you attend any third-party

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                                                Page 282                                                 Page 284
    1   courses or training sessions with regard to          1       A.       Not that I recall.
    2   controlled substances?                               2       Q.       A little unclear.
    3            MR. LAVELLE: Object to form.                3              You said that you did not recall
    4            THE WITNESS: Can you better                 4   attending a Buzzeo conference, but then you said,
    5        define training program?                        5   I think I may have attended one of the
    6   BY MR. SIMMER:                                       6   conferences.
    7        Q. Well, I'll you give you an                   7              Did I have that right?
    8   example.                                             8         A. You do, because I don't
    9            Did you train -- or attend any              9   specifically remembering a Buzzeo conference, but
   10   Buzzeo conferences?                                 10   in thinking through it, I don't know what other
   11        A. I did not personally attend                 11   way I would know or be familiar with Buzzeo. So
   12   Buzzeo conferences that I can recall.               12   I think it's possible that I may have attended
   13        Q. You know what I mean by the                 13   one. I can't affirmatively state that, but it's
   14   Buzzeo conferences?                                 14   possible.
   15        A. I do. I am familiar with Buzzeo.            15         Q. Any idea what approximate time
   16        Q. And that Buzzeo offered                     16   frame when you would have attended the Buzzeo
   17   conferences and training on controlled              17   conference?
   18   substances?                                         18         A. No.
   19        A. I am familiar with that.                    19         Q. And just for the record, I want
   20        Q. And your testimony is that you              20   to make sure I'm spelling it correctly and see if
   21   attended none of his conferences?                   21   you agree on this.
   22        A. I don't recall attending his                22              It's B-U-Z-Z-E-O; is that
   23   conferences. I may have attended one.               23   correct?
   24            But what I was referring to                24         A. I believe that's correct, yes.
                                                Page 283                                                 Page 285
    1   earlier with the question clarification on           1         Q. Okay. Any other third-party
    2   training was during those regulatory road shows,     2   training on controlled substances that you recall
    3   for example, Janet would sometimes have a            3   having received?
    4   representative from the DEA come out to actually     4         A. That's very broad. But, you
    5   present or teach at the road show. So I was          5   know, again, with 15 hours of continuing
    6   trying to clarify whether that constitutes           6   education required every single year and being a
    7   training.                                            7   practicing pharmacist for 20-some-odd years, I
    8         Q. Do you remember what individuals            8   can almost guarantee you that some of those
    9   from the DEA came and presented along with you?      9   continuing education programs had something to do
   10         A. I do not.                                  10   with controlled substances. That's a very broad
   11         Q. What did they present during               11   question.
   12   those road shows?                                   12         Q. But you have no specific
   13         A. I could not -- I would not recall          13   recollection of what those training courses were?
   14   all of the topics. I recall one where they were     14         A. No. I'd have to go back and
   15   talking about suspected loss forms and 106s.        15   look.
   16         Q. That's that same kind of a DEA             16         Q. Where would you look?
   17   form we looked at earlier, that the forms are       17         A. At least in recent time frame, I
   18   filled out after a suspected theft or a loss in a   18   have some of my continuing education, you know,
   19   store?                                              19   that I've taken.
   20         A. Yes.                                       20              You have to produce those to the
   21              MR. LAVELLE: Object to form.             21   board on a periodic basis, so you have to
   22   BY MR. SIMMER:                                      22   maintain your continuing -- much like I'm sure
   23         Q. Did they give any presentations            23   attorneys have a similar process, I would assume.
   24   on suspicious order monitoring that you recall?     24         Q. You have to produce those to the

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    1   Board of Pharmacy?                                       1        the day was you would take paper courses
    2         A. You do. It's not so matter much                 2        or you would print out courses and you
    3   of producing in today's environment. It's all            3        would have to maintain a stack of your
    4   electronic now. So the way it works today is,            4        continuing education courses.
    5   you know, you take the courses and you register          5             You know, again, I believe that's
    6   with a system that basically records those               6        very similar to what attorneys have to do
    7   courses. And then you -- when you do your                7        with regards to their continuing
    8   licensure examination, you attest to the fact            8        education.
    9   that you've taken the courses. And then if they          9   BY MR. SIMMER:
   10   were to want to look to see if you have completed       10        Q. During your continuing education
   11   the requirements, they can actually go out and if       11   courses, you take examinations?
   12   they would want to and check that, is my                12        A. Yes.
   13   understanding of how it works, but...                   13        Q. And those examinations, any of
   14         Q. You mentioned that you were                    14   them include information about controlled
   15   actually licensed in three different states; is         15   substances?
   16   that right?                                             16        A. I don't know the answer to that.
   17         A. That's correct.                                17        Q. So are these records you're
   18         Q. And the procedure you've just                  18   talking about that you either submitted through
   19   described, is that true in all three states?            19   NABP or ones that were the old way that were
   20         A. All three states require                       20   submitted, I guess, paper courses I think you
   21   continuing education, yes.                              21   talked about, is that information that you
   22         Q. So if we wanted to get copies of               22   provided to your counsel?
   23   what it is that you're referencing as the -- I          23        A. Provided to my counsel?
   24   guess, continuing education materials you               24        Q. The counsel sitting next to you
                                                     Page 287                                              Page 289
    1   provided to these Boards of Pharmacy, do you have        1   today.
    2   copies of what you submitted to each of these            2              MR. LAVELLE: Object to form.
    3   three Boards of Pharmacy?                                3              THE WITNESS: No.
    4             MR. LAVELLE: Object to form.                   4   BY MR. SIMMER:
    5             THE WITNESS: I would have a list               5        Q. Did they ask you for that
    6        of courses, is potentially what I would             6   information?
    7        have on a, you know, NABP-type website.             7              MR. LAVELLE: Object to form.
    8   BY MR. SIMMER:                                           8        Direct the witness not to answer on the
    9        Q. That's the national boards --                    9        grounds that it seeks attorney-client
   10   National Association of Boards of Pharmacy, NABP.       10        communications.
   11   Right?                                                  11              MR. SIMMER: I'm going to request
   12        A. That's correct.                                 12        that you actually get that information
   13        Q. And you have -- I'm not sure what               13        from the witness. We need to determine
   14   you mean by NABP website.                               14        whether this is information that's
   15             Is that someplace where you                   15        relevant to everything he's been talking
   16   submitted this information or what is -- what's         16        about about his expertise today. So I'm
   17   the reference to the website?                           17        going to ask that you get copies of that
   18             MR. LAVELLE: Object to form.                  18        and we can determine whether that's
   19             THE WITNESS: NABP, over the past              19        subject to a further inquiry, so...
   20        few years, has developed a process where,          20              MR. LAVELLE: Mr. Simmer, you can
   21        again, you can -- when you take your               21        put any requests you have in writing.
   22        continuing education, it can be                    22        We'll take a look at it. We'll consider
   23        automatically loaded to an NABP, you               23        it after the deposition.
   24        know, website. The old process back in             24              MR. SIMMER: We can go off the

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    1       record.                                          1        A. Page 141?
    2            THE VIDEOGRAPHER: Off the record            2        Q. Yes.
    3       at 4:33 p.m.                                     3        A. I have it.
    4                - - -                                   4        Q. And it has controlled drug portal
    5            (A recess was taken from                    5   application on it?
    6       4:33 p.m. to 4:56 p.m.)                          6        A. Yes.
    7                - - -                                   7        Q. All right. Mr. Palmer, I'd like
    8            THE VIDEOGRAPHER: We're back on             8   to ask you to just take a look at the section of
    9       the record at 4:56 p.m.                          9   the PowerPoint here of pages 141 through 146 and
   10            MR. SIMMER: I have no further              10   ask you whether you recognize it.
   11       questions.                                      11        A. Yes.
   12            I would say that if -- depending           12        Q. Did you prepare this portion of
   13       on what documents are in this continuing        13   the PowerPoint?
   14       education production, we may still              14        A. Yes. This looks like my
   15       reserve the right to come back and ask          15   PowerPoint.
   16       the witness some additional questions.          16        Q. Do you recall you were asked
   17            MR. LAVELLE: We're going to go             17   questions by plaintiff's counsel earlier today
   18       off the record briefly while we switch          18   about this PowerPoint and its use? Do you recall
   19       places here.                                    19   being asked about that earlier today?
   20            THE VIDEOGRAPHER: Off the record           20        A. Yes.
   21       at 4:56 p.m.                                    21        Q. All right. Do you remember what
   22                - - -                                  22   you used the PowerPoint section pages 141 through
   23            (A discussion off the record               23   146 for?
   24       occurred.)                                      24             MR. SIMMER: Object to form.
                                                Page 291                                                      Page 293
    1                  - - -                                 1             THE WITNESS: This would have
    2              THE VIDEOGRAPHER: We're back on           2        been part of the regulatory road show
    3         the record at 4:57 p.m.                        3        presentations I described earlier, for
    4                  - - -                                 4        where a multi-functional team presented
    5                 EXAMINATION                            5        to field leaders on various topics to
    6                  - - -                                 6        educate, reinforce and elevate their
    7   BY MR. LAVELLE:                                      7        knowledge with regards to certain
    8         Q. Good afternoon, Mr. Palmer. This            8        compliance-related tools or activities.
    9   is John Lavelle representing Rite Aid, and I have    9   BY MR. LAVELLE:
   10   just a few questions for you.                       10        Q. So, Mr. Palmer, what is the
   11              I would like to ask you first to         11   controlled drug portal application that's
   12   put in front of yourself what was marked earlier    12   described in this section of the PowerPoint that
   13   today in questioning by counsel for plaintiffs as   13   we're talking about?
   14   Palmer-4.
   15              Do you have that in front of you,
   16   sir?
   17         A. Exhibit Number 4?
   18         Q. Yes.
   19         A. Yes.
   20         Q. And I'd like to ask you to turn
   21   to what's numbered page 141. And the Bates
   22   number is Rite_Aid_OMDL_0033030.                    22        Q. All right. Do you have in front
   23              Just let me know when you have           23   of you the portion of the PowerPoint that's at
   24   that in front of you, sir.                          24   page 142, which is Rite_Aid_OMDL_003031?

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    1         A. Yes.                                       1        Q.    Let me ask it this way.
    2         Q. All right. Could you just read             2             When did you first learn that
    3   for the members of the jury who are viewing this    3   there was something called an Above Average
    4   video what you have written here on this page?      4   report?
    5         A. Yes.                                       5        A. Oh, when I was a pharmacist or a
    6            MR. SIMMER: Object to form.                6   pharmacy district manager working for Rite Aid,
    7            THE WITNESS: Yes.                          7   there was a more manual version of the Above
                                                            8   Average report back as far as I know.
                                                            9        Q. Okay. What do you have written
                                                           10   on page 143 of the PowerPoint about the Above
                                                           11   Average report?
                                                           12             MR. SIMMER: Object to form.
                                                           13        Strike -- object to form.


   16   BY MR. LAVELLE:
   17        Q. And was that accurate at the time          17   BY MR. LAVELLE:
   18   you prepared this PowerPoint?                      18        Q. And what did you mean when you
   19            MR. SIMMER: Object to form.               19   wrote that?
   20            THE WITNESS: Yes.                         20        A. That's a description of how the
   21   BY MR. LAVELLE:                                    21   Above Average portal works. It's basically
   22        Q. Let's turn to the next page,               22   looking at, you know,
   23   please.
   24            At the top of this page, it says,         24        Q.    Let's turn now to the next page
                                                Page 295                                                    Page 297
    1   "Above Average Report"; is that right?              1   of the PowerPoint, page 144, Bates number
    2        A. Yes.                                        2   Rite_Aid_OMDL_0033033.
    3        Q. Do you remember mentioning in               3            Do you have that in front of you,
    4   your testimony earlier today the Above Average      4   sir?
    5   report?                                             5        A. Yes.
    6        A. Yes.                                        6        Q. All right. And it has a
    7        Q. What was the Above Average                  7   subcaption of "Store Detail Information."
    8   report?                                             8            Do you see that?
                                                            9        A. Yes.
                                                           10        Q. What do you have written with the
                                                           11   arrows pointing to a particular portion of this
                                                           12   page?
                                                           13            That's a bad question. Let me
                                                           14   rephrase it.
                                                           15            What do you have written in red
                                                           16   here on page 144 with the arrows?
   17       Q. What time frame was this Above
   18   Average report available?
   19           MR. SIMMER: Object to form.                19       Q.    Can you explain to us what that
   20           THE WITNESS: By time frame, do             20   means?
   21       you mean how long there was an Above
   22       Average report or specifically this
   23       version of the portal?
   24   BY MR. LAVELLE:

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                                                             1   there no loss and everything is appropriate, in
                                                             2   which case they need to populate the on-hand
    3         Q. Is what is shown on this screen             3   appropriate quantity. And also there's an
    4   here, on this PowerPoint, a screenshot from the      4   opportunity over to the right for them to add
    5   Above Average report?                                5   notes into this.
    6             MR. SIMMER: Object to form.                6         Q. Were exceptions a potential
    7             THE WITNESS: Yes.                          7   indicator of diversion?
    8   BY MR. LAVELLE:                                      8              MR. SIMMER: Object to form.
    9         Q. Let's turn to the next page of              9              THE WITNESS: Exceptions could be
   10   this PowerPoint, page 145, Rite_Aid_OMDL_0033034.   10         an indicator of drug diversion.
   11             Do you have that in front of you?         11   BY MR. LAVELLE:
   12         A. Yes.                                       12         Q. Let's turn to the next page, 146,
   13         Q. And it has a subcaption under              13   which I think is the last page of this section of
   14   "Above Average Report" of "Exception Detail."       14   the PowerPoint.
   15             Do you see that?                          15              Can you explain to us what you
   16         A. Yes.                                       16   have here on this page under "Email
   17         Q. Can you explain to the members of          17   Notifications"?
   18   the jury who are viewing this video what is on      18         A. Yes.
   19   this page of the PowerPoint?                        19              So as part of this iteration of
   20         A. This would be what a pharmacy              20   the Above Average report, there was a process
   21   district manager would see when they drill into     21   built to drive automated emails out, alerting
   22   the -- one of their exceptions is they would see    22   field leaders really to the status of their
   23   this screen.                                        23   responses to their exceptions.
   24             So the -- a previous screen is            24              So, you know, at the 11th of the
                                                Page 299                                                 Page 301
    1   sort of the summary level screen. And if they        1   month, there was an email that went out -- I
    2   were to click on this, that would take them to       2   believe these populated on the 10th of every
    3   this detail screen, providing detail relative to     3   month. So on the 11th an automated email went
    4   the exception.                                       4   out to pharmacy district managers saying, hey,
    5         Q. There's a section of this page              5   your exceptions are out there.
    6   that has a heading that says, "Information           6             And then on the 30th of the
    7   Worksheet."                                          7   month, if they haven't done them, there was an
    8              Am I reading that correctly?              8   email that said, hey, you have not yet looked at
    9         A. Yes.                                        9   these and responded.
   10         Q. What is listed under that section          10             The 5th of the following month,
   11   of this page?                                       11   that email went a level up. It went to the
   12         A. A number of choices for the                12   regional vice presidents saying they still have
   13   pharmacy district manager to select, and in some    13   not been reviewed or responded to.
   14   cases, input additional information or populate     14             And then on the 10th of the
   15   additional drop-downs.                              15   following month, if they still hadn't responded,
   16         Q. And what was the PDM, or pharmacy          16   that notification went higher up to the SVPs, to
   17   district manager, supposed to do with this Above    17   corporate.
   18   Average report?                                     18             And at the 16th, at that point,
   19         A. The pharmacy district manager              19   the exceptions are overdue, so there was an email
   20   should look into this -- the issue, the             20   providing a list of overdue expectations.
   21   exception, and try and make a determination, for    21         Q. All right. Mr. Palmer, I'd like
   22   example, if there is a drug loss, what stage that   22   to ask you to put in front of yourself the
   23   loss is in, you know, is it an active               23   document that was earlier marked as Palmer
   24   investigation, was there a loss identified, is      24   Exhibit 5.

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    1         A. I have it.                                       1   together for field teams, specifically the loss
    2         Q. And you recall being asked                       2   prevention, district managers and regional
    3   questions about this document earlier today by            3   managers on a specific case, but really designed
    4   counsel for plaintiff?                                    4   to help educate them on, you know, how to -- to
    5         A. Yes.                                             5   properly conduct these sorts of investigations.
    6         Q. Turn to the second page of this                  6        Q. Is this a PowerPoint that you
    7   document, please. It's Rite_Aid_OMDL_0046595.             7   used in presentations?
    8              Do you have that in front of you?              8             MR. SIMMER: Object to form.
    9         A. Yes.                                             9             THE WITNESS: Yes.
   10         Q. Take a look at the first bullet                 10   BY MR. LAVELLE:
   11   point, the second sentence.                              11        Q. To whom did you make those
   12              Would you just read that out loud             12   presentations?
   13   for the members of the jury, please.                     13        A. To the loss prevention teams.
   14         A. "Exceptions are generated for                   14        Q. And why did you make this
   15   field review and response monthly."                      15   presentation to the loss prevention teams?
   16         Q. Can you tell us whether that --                 16        A. Because it illustrates the best
   17   what you just read is consistent with the Above          17   practices and how a well done or well executed
   18   Average report, as described in that PowerPoint          18   pharmacy loss prevention case is conducted.
   19   we were just looking at?                                 19        Q. Are you familiar with the facts
   20              MR. SIMMER: Object to form.                   20   in the case that is described in this document?
   21              THE WITNESS: It is consistent                 21             MR. SIMMER: Object to form.
   22         with the Above Average report.                     22             THE WITNESS: I am familiar.
   23              MR. LAVELLE: All right. I'd                   23   BY MR. LAVELLE:
   24         like to mark an exhibit.                           24        Q. How are you familiar with those
                                                      Page 303                                                      Page 305
    1             We're up to 20; is that right?                  1   facts?
    2             COURT REPORTER: Yes.                            2         A. Again, from putting together and
    3                 - - -                                       3   presenting on this presentation.
    4             (Deposition Exhibit No. Rite                    4         Q. All right. Let's turn to the
    5        Aid-Palmer-20, PowerPoint, "Anatomy of a             5   second page of the PowerPoint.
    6        Pharmacy Case Presented by Director                  6             Can you read for the members of
    7        Pharmacy Loss Prevention Andy Palmer,"               7   the jury what you have on this page?
    8        Bates stamped Rite_Aid_OMDL_0037816                  8         A. The store, store 1924 in Akron,
    9        through Rite_Aid_OMDL_0037851, was marked            9   Ohio, a date range, and then some of the involved
   10        for identification.)                                10   parties, LPM Brian Stimmel, PDM Patty Mendenhall,
   11                 - - -                                      11   division 2 data miner Cathy Krug and a graphic of
   12   BY MR. LAVELLE:                                          12   the state of Ohio.
   13        Q. Mr. Palmer, we've put in front of                13         Q. So the date range you have here,
   14   you what we've labeled for identification as             14   when was this investigation conducted?
   15   Exhibit Palmer-20. Please take a look at that            15         A. This investigation was conducted
   16   and let me know when you're ready to ask --              16   in 2007.
   17   answer some questions about it.                          17         Q. How did this investigation start?
   18        A. Yeah, I'm ready.                                 18         A. The next page of the
   19        Q. Okay. Mr. Palmer, do you                         19   presentation, "Phase 1 -- Initial Detection,"
   20   recognize the document we've marked for                  20   indicates that "Data miner Cathy Krug comes
   21   identification as Palmer-20?                             21   across store 1924 during a routine review of
   22        A. Yes.                                             22   Division 2 NaviScript KPI's." And "The data
   23        Q. What is it?                                      23   indicates possible inventory issues at this
   24        A. This was a presentation I put                    24   location involving controlled substances."

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                                                Page 306                                                 Page 308
    1        Q. Turn to the next page, I think is            1   would be further research done to try and
    2   the fourth page of this PowerPoint, Bates            2   determine if those KPIs are indicative of actual
    3   Rite_Aid_OMDL_0037819.                               3   losses.
    4             Do you have that in front of you?          4         Q. If you can turn to the page of
    5        A. Yes.                                         5   the PowerPoint -- it's at Rite_Aid_OMDL_0037624
    6        Q. And it says, "Naviscript Data -              6   (sic). It's captioned "Phase 2 -- Detailed
    7   1924."                                               7   Research."
    8        A. Yes.                                         8         A. Uh-huh.
    9        Q. What is on this page?                        9         Q. You need to answer audibly, yes,
   10        A. The first bullet is one of our              10   no, I don't know.
   11   key performance indicators, "Cycle count down       11         A. Yes.
   12   HT," which stands for high theft, "- CS," which     12         Q. Okay.
   13   stands for controlled substances, "% cycle count    13              MR. SIMMER: John, what page are
   14   down," and then in red a percent, "37.93%."         14         you on again?
   15             Next bullet, "5th highest in              15              MR. LAVELLE: It's
   16   division."                                          16         Rite_Aid_OMDL_0037824.
   17             Next bullet, "2nd highest in              17   BY MR. LAVELLE:
   18   region."                                            18         Q. Do you have that in front of you,
   19             Fourth bullet, another KPI, "DC           19   Mr. Palmer?
   20   orders adjusted quantity HT-CS % DC Orders          20         A. Yes.
   21   adjusted," again in red a percentage, "17.95%."     21         Q. So what is the detailed research
   22             And the following bullets are             22   that is described on this page of your
   23   similar, 19th highest in division, fourth highest   23   PowerPoint?
   24   in region.                                          24         A. So "Cathy," the data miner,
                                                Page 307                                                 Page 309
    1        Q. Then you have two pages of what              1   "utilizes filtering and sorting functionalities
    2   appear to be screenshots from a computer; is that    2   within NaviScript to research the" aforementioned
    3   right?                                               3   "cycle counts and DC order adjustments in greater
    4             MR. SIMMER: Object to form.                4   detail."
    5             THE WITNESS: These are                     5              And then the next bullet
    6        screenshots from the Navi -- Navi system.       6   indicates that "A pattern indicates particular
    7   BY MR. LAVELLE:                                      7   drugs as issues and a particular ID being
    8        Q. And what do these show?                      8   associated with" those particular activities.
    9        A. They show the same data                      9         Q. What do you mean by that, a
   10   referenced on the same -- previous page. So, for    10   particular ID associated with the majority of the
   11   example, 1924 is highlighted in black. And the      11   activity?
   12   37.93 percent has a red arrow going to it. And      12         A. Within our system, when actions
   13   the KPI is cycle count down HT-CS, as indicated     13   are taken within the system, those events are
   14   in yellow up in the upper right.                    14   logged and the ID, meaning -- everyone that uses
   15             And the corresponding next page           15   the system has a unique assigned user ID. That
   16   similarly has store 1924 highlighted in black,      16   ID basically tells you who performed a particular
   17   the arrow pointing to the aforementioned            17   activity. And that's what that's referring to.
   18   17.95 percent. And the KPI referenced up above,     18         Q. Right. If you could turn to the
   19   DC orders adjust HT-CS.                             19   following page of this PowerPoint, it's
   20        Q. All right. Once this is                     20   Rite_Aid_OMDL_0037825.
   21   identified, what happened next in the               21              Are you able to find on that page
   22   investigation?                                      22   the particular ID that's associated with the
   23        A. So once Cathy Krug identifies               23   majority of the activity that was referenced on
   24   these, you know, sort of initial flags, there       24   that previous page of the PowerPoint?

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                                                     Page 310                                                  Page 312
    1             MR. SIMMER: Object to form.                      1   information regarding the potential losses and
    2             THE WITNESS: Yeah. That would                    2   the ID associated with the concerning activities.
    3         be under the "User" column. And the ID               3   The case also provides instruction to the LPM to
    4         is RXPHFK.                                           4   work with the PDM to request DUR, which stands
    5   BY MR. LAVELLE:                                            5   for drug utilization reports, from Janet Hart.
    6         Q. What does that ID tell you about                  6         Q. And what is going to be done with
    7   the identity of the user?                                  7   those drug utilization review reports?
    8         A. Well, the RXP indicates they're a                 8         A. Drug utilization review reports
    9   pharmacist. So RXP is the prefix of a                      9   are used to determine if you have losses and the
   10   pharmacist. And the HFK, in the general                   10   exact amount of those losses. It's part of a
   11   convention for assigning IDs, represents the              11   reconciliation process.
   12   individual -- the initials of the user. So this           12         Q. All right. Let's move on to
   13   is a pharmacist with initials HFK.                        13   phase 4 of the investigation, as described in
   14         Q. Do you know who that pharmacist                  14   this PowerPoint.
   15   is?                                                       15             What happened in phase 4 of the
   16         A. In this particular case, that was                16   investigation?
   17   a Henry or Hank Kusik (ph), I believe.                    17         A. Phase 4, in phase 4, the DUR
   18         Q. What happened next in this                       18   reports were ordered from Janet for a period of
   19   investigation?                                            19   May 1, 2006 to May 1, 2007, after review and
   20         A. Once we were able to narrow down                 20   discussion of the case. May 1 is the time of
   21   to a pattern involving particular drugs and a             21   year when we do our annual controlled substance
   22   particular user ID, which is what these next few          22   counts. So you have a known count at a given
   23   pages show, the next step was detailed research           23   point in time. Another known count at another
   24   by Cathy, the data miner, to try and determine as         24   given point in time. And the DUR reports from
                                                       Page 311                                                Page 313
    1   to the best of her ability using data from the             1   Janet detailing all the ins and outs in between,
    2   replenishment system, as well as Navi, what                2   which would enable them to determine if drugs are
    3   exactly might be missing and the quantity that             3   missing and how much.
    4   might be missing.                                          4         Q. Was it possible to confirm losses
    5        Q. Is that what's described in phase                  5   from the review of the DUR reports and the
    6   3 under Bates number Rite_Aid_OMDL_0037831?                6   reconciliations?
    7             MR. SIMMER: Object to form.                      7              MR. SIMMER: Object to form.
    8             THE WITNESS: That's described in                 8              THE WITNESS: Absolutely.
    9        phase 2, OMDL_0037829 and OMDOL_0037830               9   BY MR. LAVELLE:
   10        (sic).                                               10         Q. And that's -- is that described
   11   BY MR. LAVELLE:                                           11   in this PowerPoint anywhere?
   12        Q. Okay. Thank you.                                  12              MR. SIMMER: Object to form.
   13        A. The spreadsheet.                                  13              THE WITNESS: The reconciliation
   14        Q. Thank you. Sorry for the                          14         process itself isn't described in this
   15   confusion.                                                15         presentation, but I think, you know, what
   16             All right. Let's go to phase 3                  16         I've described is the process. You take
   17   of your investigation as described in this                17         the starting point count and you put all
   18   PowerPoint.                                               18         the ins -- ins and outs in there, and
   19             What happened during phase 3?                   19         then that gives you the ending count you
   20        A. So in phase 3, Cathy opens up a                   20         should have. And then you compare that
   21   case in the case management system, which was             21         to what is actually on the shelf at that
   22   NaviCase at that time, for store 1924, based upon         22         point in time. And the difference is the
   23   the research and also notifies loss prevention            23         drugs that you're missing.
   24   manager Stimmel. The case provides detailed               24   BY MR. LAVELLE:

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    1         Q. All right. So at this point of              1   have any -- the bottles with medication were
    2   the investigation, you've confirmed losses; is       2   missing. It was also noted that all three were
    3   that right?                                          3   for the same patient and the same drug.
    4              MR. SIMMER: Object to form.               4         Q. All right. Was there an effort
    5              THE WITNESS: At this point in             5   made to use video surveillance to assist in this
    6         the investigation, losses have been            6   investigation?
    7         confirmed.                                     7              MR. SIMMER: Object to form.
    8   BY MR. LAVELLE:                                      8              THE WITNESS: Yes.
    9         Q. Are authorities notified at this            9   BY MR. LAVELLE:
   10   point?                                              10         Q. And what was done in using video
   11              MR. SIMMER: Object to form.              11   surveillance?
   12              THE WITNESS: So at the point             12         A. So in this case, once -- the
   13         that losses are confirmed, then, yes, a       13   general process is once the covert counts
   14         number of authorities would be informed       14   determine losses, would be to pull the video and
   15         at this point.                                15   examine the video, looking for concealment on
   16   BY MR. LAVELLE:                                     16   video. In this case, LPM Stimmel pulls the video
   17         Q. And who is informed? Which                 17   and the video does not show any concealment but
   18   authorities?                                        18   does show some suspicious behavior from the very
   19         A. A suspected loss form would be             19   pharmacist whose IDs were associated with the
   20   filed with the DEA, and also the state Board of     20   activities.
   21   Pharmacy would be notified.                         21              The behavior included the RPH
   22              MR. SIMMER: Object.                      22   removing will-call bags hidden under checkout and
   23   BY MR. LAVELLE:                                     23   placing pharmacy containers into a pharmacy bag,
   24         Q. All right. And is that what                24   but yet placing the paperwork into will-call.
                                                Page 315                                                 Page 317
    1   happened here, the DEA -- was the DEA notified?      1         Q. All right. What happens next?
    2         A. On the -- yes. On the next page,            2         A. So LPM Stimmel and PDM Mendenhall
    3   "5/28/2007 -- Suspected loss form submitted by       3   learned that the suspect is close friends with
    4   PDM."                                                4   the patient whose prescriptions were being
    5             And then the fourth bullet down,           5   tampered with. They also learned that this
    6   "State board notified for cooperative effort."       6   patient may have a history of drug abuse.
    7         Q. What happened next in this                  7              LPM Stimmel also contacted
    8   investigation, after notifying the DEA and the       8   director of pharmacy loss prevention Andy Palmer
    9   state board?                                         9   with a request to review the patient profile
   10         A. Well, that same slide indicates            10   associated with the activity. Palmer grants that
   11   that the camera -- cameras' locations were looked   11   permission as being pursuant to an active
   12   at. And it was determined that six cameras were     12   investigation. A review of the profiles reveal
   13   in existence covering most of the pharmacy.         13   that the suspect's friend is on all of the same
   14   Also, covert counts were being conducted            14   medications that happen to be missing from this
   15   pre-opening every day by the LPM and the PDM.       15   location.
   16         Q. All right. What happens next in            16              MR. SIMMER: I'll note for the
   17   this investigation?                                 17         record the witness is simply just reading
   18         A. So the pre-opening counts, which           18         from the slide and not actually
   19   were done with the state board agent present,       19         testifying at this point.
   20   indicated an additional loss of 54 hydrocodone      20   BY MR. LAVELLE:
   21   APAP5/500 occurred since the 28th. In addition,     21         Q. Mr. Palmer, what happened next in
   22   a review of will call revealed three prescription   22   the investigation?
   23   vials with product missing from the bottles. The    23         A. Additional cameras were added to
   24   paperwork was present, but the bottles did not      24   try and better capture the activity within the

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    1   will call area and by the pharmacy door and also    1          the explanation of how the CCT footage,
    2   get a view of the hydrocodone. So additional        2          you know, enabled us to see this very,
    3   cameras were added.                                 3          very suspect activity involving printing
    4        Q. And you describe that in your               4          out the monographs and the labels.
    5   PowerPoint here?                                    5   BY MR. LAVELLE:
    6        A. Yes.                                        6          Q. Did the team provide this
    7        Q. And that's on the page that's               7   additional information to the state board?
    8   Bates stamped Rite_Aid_OMDL_0037840?                8               MR. SIMMER: Object to form.
    9        A. That's correct.                             9               THE WITNESS: Yes.
   10              MR. SIMMER: Object to form.             10   BY MR. LAVELLE:
   11   BY MR. LAVELLE:                                    11          Q. And what happened as a result of
   12        Q. All right. Turn, please, to                12   providing that information to the state board?
   13   Rite_Aid_ OMDL_0037842.                            13          A. We work very closely with the
   14              Do you see that?                        14   state board, especially in Ohio. And in this
   15        A. Yes.                                       15   case, as in, you know, in general in our
   16        Q. All right. And what's described            16   investigations and especially in Ohio, it's a
   17   on this page of the "Phase 4 - Investigation"      17   cooperative effort between the state board and
   18   PowerPoint?                                        18   the Rite Aid investigator in regards to, again,
   19        A. The continuing process to take             19   the entire investigative process, including
   20   pre-opening covert counts. And that those          20   ultimately the interview process.
   21   pre-opening covert counts continue to reveal       21          Q. Turn to Rite_Aid_OMDL_0037848.
   22   additional losses.                                 22   It's the slide that is captioned "Phase 5 -
   23        Q. At some point, does this                   23   Resolution."
   24   investigation find any evidence on video of        24               Do you have that in front of you,
                                               Page 319                                               Page 321
    1   activity by the pharmacist?                         1   Mr. Palmer?
    2              MR. SIMMER: Object to form.              2        A. Yes.
    3              THE WITNESS: Yes. The                    3        Q. What happened in terms of the
    4         suspicious activity was identified on         4   resolution of this investigation?
    5         video. And what it really revealed was        5        A. The interview occurred. And
    6         that the suspect was utilizing a very         6   again, that was done with both our investigator
    7         unique methodology to divert the drug         7   and the state board agent present. When
    8         products.                                     8   confronted with the evidence, there was an
    9   BY MR. LAVELLE:                                     9   admission obtained to the theft of controlled
   10         Q. And what was that unique                  10   substances by printing extra labels on his
   11   methodology?                                       11   accomplice's medication and then filling in
   12         A. Basically printing out labels             12   labeling those with drugs and then handing them
   13   from existing filled prescriptions and then        13   off. A statement was signed. A civil demand
   14   basically taking those -- those bottles, which     14   report was issued. And the suspect was removed
   15   were really nothing more than documents related    15   from the location, terminated and an arrest
   16   to a previous dispensing, and basically setting    16   warrant was issued.
   17   those aside. And then when his suspect             17        Q. Was all of this reported to the
   18   accomplice came in, effectively handing those      18   DEA as well?
   19   products off.                                      19             MR. SIMMER: Object to form.
   20         Q. Is that described in this                 20             THE WITNESS: All of the losses
   21   PowerPoint at Rite_Aid_OMDL_0037844?               21        would have been reported to the DEA on a
   22         A. Yes. That --                              22        Form 106 form submitted by Janet Hart to
   23              MR. SIMMER: Object to form.             23        the DEA.
   24              THE WITNESS: Yes. That provides         24   BY MR. LAVELLE:

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    1         Q. And if you turn to                         1              (A recess was taken from
    2   Rite_Aid_OMDL_0037849.                              2         5:33 p.m. to 5:44 p.m.)
    3              Do you have that in front of you?        3                  - - -
    4         A. Yes.                                       4              THE VIDEOGRAPHER: We're back on
    5         Q. "Phase 6 - Final Documentation."           5         the record at 5:44 p.m.
    6         A. Yes.                                       6                  - - -
    7         Q. What do you have written there in          7                EXAMINATION
    8   the first bullet point?                             8                  - - -
    9         A. "A Form 106 is prepared by the             9   BY MR. SIMMER:
   10   PDM, approved by Janet Hart and submitted to the   10         Q. Sir, you were asked some
   11   DEA as loss due to employee theft."                11   questions a moment ago about -- I think this is
   12         Q. So --                                     12   Exhibit 4, the very large document. And you were
   13              MR. SIMMER: I note for the              13   asked questions about Rite_Aid_OMDL0033034. This
   14         record the witness just read this. I'm       14   is the Above Average report.
   15         not sure that's testimony, so...             15         A. I'm there.
   16   BY MR. LAVELLE:                                    16         Q. And you talked about how there
   17         Q. All right. Is that what                   17   was -- this report is used to identify
   18   happened? Is that an accurate description of       18   exceptions. Right?
   19   what happened?                                     19         A. Yes.
   20         A. It is an accurate description.            20         Q. Is there anything in the
   21         Q. We've just reviewed a detailed            21   exceptions that are listed here that would have
   22   PowerPoint that you presented.                     22   identified suspicious orders?
   23              Is everything that we just went         23         A. Again, I think it goes to the
   24   over accurate to the best of your knowledge and    24   definition of suspicious order. In cases -- in

                                               Page 323                                                      Page 325
    1   recollection?                                       1   certain cases, this could identify theft or
    2        A. Yes.                                        2   losses. And those orders, relative to the
    3        Q. And why did you prepare and                 3   diversion, you know -- it could detect diversion.
    4   present this PowerPoint to people at Rite Aid?      4   Let's put it that way.
    5             MR. SIMMER: Objection, asked and          5        Q. If -- and by diversion, what
    6        answered.                                      6   you're referring to is potential theft. Right?
    7             THE WITNESS: I think it                   7        A. Yes.
    8        represented a sort of textbook execution       8        Q. Anything beyond theft this Above
    9        of a loss investigation that could have        9   Average report really couldn't identify.
   10        been a very difficult loss prevention         10             Isn't that right?
   11        investigation due to the very unique          11             MR. LAVELLE: Object to form.
   12        methodology that ultimately the               12             THE WITNESS: Can you give an
   13        individual utilized to steal these drugs.     13        example?
   14        And, you know, the idea really was to         14   BY MR. SIMMER:
   15        take this very well done pharmacy loss        15        Q. Inappropriate prescribing. It
   16        investigation and use it to help other        16   doesn't identify anything about that, does it?
   17        loss prevention managers understand,          17        A. This would not identify that.
   18        this -- this is how you do this. This is      18        Q. So the Dr. Harper situation we
   19        how it's done.                                19   talked about earlier today, the Above Average
   20             MR. LAVELLE: Thank you, Mr.              20   report wouldn't help anybody identify that
   21        Palmer. No further questions.                 21   situation, would it?
   22             THE VIDEOGRAPHER: Off the record         22             MR. LAVELLE: Object to form.
   23        at 5:33 p.m.                                  23             THE WITNESS: No, I don't believe
   24                  - - -                               24        so.

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    1   BY MR. SIMMER:                                       1         A. Yes.
    2         Q. Could we pull up then Exhibit 20            2         Q. What other information would be
    3   that you were just asked some questions about.       3   included in a patient profile other than the
    4              Now, the whole subject matter of          4   prescriptions that had been filled for that
    5   what you're talking about here, this is a, what      5   particular patient?
    6   you would say, a pharmacy case.                      6         A. The patient profile would have a
    7              This, as we -- I think you went           7   number of different pieces of information, drug,
    8   through with counsel just a moment ago, this         8   drug name, quantity, refill number, original
    9   involved a theft from one of your pharmacies.        9   prescription, refill number, prescriber name.
   10   Right?                                              10   All those kinds of things.
   11         A. Yes.                                       11         Q. And that's prescribing data, is
   12         Q. And in doing that investigation            12   it not?
   13   about theft from one of your pharmacies, the        13              MR. LAVELLE: Object to form.
   14   investigators would have had access to              14              THE WITNESS: It is prescribing
   15   prescribing data. Right?                            15         data, but it's not relevant to this
   16         A. Can you clarify what you mean by           16         particular investigation.
   17   prescribing data?                                   17   BY MR. SIMMER:
   18         Q. So they would have looked at the           18         Q. It says that you gave access to
   19   prescriptions that would been filled in this        19   this patient's profile. And you just went over
   20   pharmacy. Right?                                    20   what kind of information is in the profile, and
   21         A. Not necessarily.                           21   that included the prescribing data, did it not?
   22         Q. They don't review the prescribing          22         A. It also includes a whole bunch of
   23   data at all?                                        23   other things that -- when you're conducting an
   24         A. You're speaking relative to this           24   investigation and when you're requesting, you
                                                Page 327                                                 Page 329
    1   case, and I think we walked through this case        1   know, something like a patient profile, you're
    2   extremely thoroughly. I don't see any reference      2   requesting it specifically to look at specific
    3   or no -- nor do I see any relevance to -- the        3   things. There are probably other pieces of
    4   individual was stealing drugs through the process    4   information in there, too.
    5   described here.                                      5             If you think that information is
    6        Q. Could you look at 373839, please.            6   relevant to this particular investigation, I'd be
    7        A. I think you mean 37839, is that              7   interested to know why.
    8   what you mean?                                       8         Q. These are your words you put on
    9        Q. Yes. 37839.                                  9   this page. Right?
   10              MR. LAVELLE: 37839.                      10         A. Yes. The patient profile.
   11              THE WITNESS: Yes.                        11         Q. The patient profile.
   12   BY MR. SIMMER:                                      12             And I think you just said it
   13        Q. You see in the middle of the                13   includes the prescribing data. Right?
   14   page -- and this is a slide you created. Right?     14         A. It would include the name of the
   15        A. Yes.                                        15   prescriber. Correct.
   16        Q. Do you see right in the middle of           16         Q. And you talked about the names of
   17   the page where you say, "LPM Stimmel contacts       17   the drugs. Right?
   18   Director" of "Pharmacy LP Andy Palmer"?             18         A. Yes. Names of the medication.
   19              That's you. Right?                       19         Q. The package size. Right?
   20        A. Yes.                                        20         A. Refill number, package size.
   21        Q. It says, "With a request to                 21         Q. Dosage?
   22   review the patient profiles associated with         22         A. Dosage form, yes. All kinds of
   23   activity."                                          23   information.
   24              Do you see that?                         24         Q. So all that prescribing data is
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    1   at the investigator's fingertips in conducting      1   inappropriate prescribing? Do you remember we
    2   this information. Right?                            2   talked about that earlier?
    3              MR. LAVELLE: Object to form.             3        A. The KPIs involved here would not
    4   BY MR. SIMMER:                                      4   be used to identify inappropriate prescribing.
    5         Q. Strike that.                               5   That's correct.
    6              All of that prescribing data is          6        Q. Could they be used to identify
    7   at this investigator's fingertips in conducting     7   suspicious orders?
    8   this investigation. Right?                          8        A. Again, when it comes to
    9              MR. LAVELLE: Object to form.             9   suspicious orders, as we've talked about before,
   10              THE WITNESS: The information            10   I'm not clear on what your definition of
   11         that is included in the requested patient    11   suspicious order is. It's my understanding it's
   12         profiles would be available to the           12   more related to the distribution centers.
   13         investigator.                                13   However, certainly these order adjustments, which
   14   BY MR. SIMMER:                                     14   is part of ordering, and these cycle count down,
   15         Q. So the subject of this                    15   which is part of ordering, ultimately could be
   16   investigation was, again, a theft, was it not?     16   and were indicative of diversion. So I would say
   17              MR. LAVELLE: Objection, asked           17   diversion, yes.
   18         and answered.                                18        Q. Diversion, if you define it as
   19              THE WITNESS: Yes.                       19   only theft of drugs by a Rite Aid employee.
   20   BY MR. SIMMER:                                     20   Right?
   21         Q. We had a situation of a product           21              MR. LAVELLE: Object to form.
   22   loss involving a Rite Aid employee. Right?         22              THE WITNESS: Well, in this case,
   23         A. Yes.                                      23        I would point out that there also was an
   24         Q. Nothing about this investigation          24        external individual involved in this
                                               Page 331                                                 Page 333
    1   identified any red flags of diversion other than    1         particular theft or fraud, scam, so...
    2   the theft. Right?                                   2   BY MR. SIMMER:
    3              MR. LAVELLE: Object to form.             3         Q. Would this kind of investigation
    4              THE WITNESS: The diversion               4   have identified the kind of inappropriate
    5         detected was theft.                           5   prescribing that Dr. Adolph Harper was engaged
    6   BY MR. SIMMER:                                      6   in, for example?
    7         Q. Did this investigation identify            7         A. This type of investigation would
    8   any inappropriate prescribing, for example?         8   not.
    9         A. That was not the purpose of the            9         Q. Okay. Could you turn to Bates
   10   investigation, nor would it identify that.         10   37820, please.
   11         Q. There's no way for the company to         11         A. Uh-huh. Yes.
   12   identify using the tools you just went through,    12         Q. And just tell us generally, what
   13   is there?                                          13   is the information that's on this particular
   14              MR. LAVELLE: Object to form.            14   slide?
   15              THE WITNESS: I don't know --            15              MR. LAVELLE: Object to form.
   16         when you refer to tools, I assume you're     16              THE WITNESS: 7820. Right?
   17         referring to, you know, NaviScript in a      17   BY MR. SIMMER:
   18         more totalitarian perspective, as opposed    18         Q. Yes, sir.
   19         to the specific KPIs referenced here.        19         A. This is a screenshot from the
   20   BY MR. SIMMER:                                     20   Navi product sorted -- looks like in this case
   21         Q. So the KPIs that we talked                21   sorted by division and filtered, ranking the
   22   about -- and I even asked you questions about      22   cycle count down adjustments on a percentage
   23   that in the prior examination. I said, are those   23   basis for the locations in the division.
   24   KPIs, could they be used to identify               24         Q. Okay. Do you know if there was

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    1   an investigation done of store 4436?                 1              THE WITNESS: What you don't know
    2         A. There would have been additional            2        here is, again, what she saw in the
    3   analysis done by Cathy on the other stores that      3        detail. For example, these are
    4   are above store 1924, yes.                           4        percentages. Okay? So, for example,
    5         Q. You know that for a fact, that              5        store 4436 may have had one cycle count
    6   she did in fact analyze store 4436. Right?           6        down. You know, you have to go a little
    7              MR. LAVELLE: Object to form.              7        bit further into these things. It's not
    8              THE WITNESS: I cannot say that I          8        telling you how many counts down. It's
    9         know for a fact, but that would be part        9        not telling you whether there were
   10         of the data miner's job and process. It       10        offsetting counts up.
   11         wouldn't be a good data miner activity to     11              So as a data miner, what this
   12         somehow or other pick, you know, a store      12        screen is sort of demonstrating is here's
   13         number 6 on the list and not                  13        a starting point. You know, and each of
   14         correspondingly also do that additional       14        the data miners, you know, approached
   15         detail research into the stores ranked        15        these things, you know, with their -- a
   16         higher.                                       16        little bit of their own flair or flavor.
   17   BY MR. SIMMER:                                      17        So I can't speak to exactly what Cathy
   18         Q. What about stores that show up on          18        Krug's approach is in her data mining
   19   this report generally, would they all be ones the   19        back in 2007, but she certainly would
   20   data miner would look at as well?                   20        have also drilled into the stores above
   21         A. I would note that this is the              21        1924.
   22   entire division. So this is -- this is -- the       22   BY MR. SIMMER:
   23   screenshot is cut off, but, you know, a typical     23        Q. And would this investigation have
   24   division would have -- division 2 at that time      24   identified a situation like the Dr. Harper
                                                Page 335                                              Page 337
    1   might have well over a thousand stores.              1   situation, inappropriate prescribing that we
    2             So the data miners, you know,              2   talked about earlier today?
    3   would look at the stores that had the higher         3        A. This type of investigation would
    4   number of exceptions and then drill down into        4   not identify that.
    5   those for more detail.                               5             MR. SIMMER: No further
    6         Q. Okay. Take a look down the list             6        questions.
    7   and there's a pharmacy that we talked about          7             MR. LAVELLE: Nothing further
    8   earlier today.                                       8        based on that redirect.
    9             You see 3151?                              9             The witness reserves -- I'm
   10         A. Yes.                                       10        sorry, the witness reserves the right to
   11         Q. Do you know whether your data              11        read and sign.
   12   miner would have done an investigation of           12             THE VIDEOGRAPHER: This concludes
   13   pharmacy 3151?                                      13        today's deposition. The time is
   14             MR. LAVELLE: Object to form.              14        5:58 p.m. We are off the record.
   15             THE WITNESS: I think you mean             15             (Witness excused.)
   16         would the data miner have done any more       16             (Deposition concluded at
   17         detailed analysis?                            17        approximately 5:58 p.m.)
   18   BY MR. SIMMER:                                      18
   19         Q. Yes, sir.                                  19
   20         A. Okay. I do not.                            20
   21         Q. So out of this whole haystack,             21
   22   they picked 1924 to do a further investigation.     22
   23   Right?                                              23
   24             MR. LAVELLE: Object to form.              24


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    1                                                         1             - - - - - -
    2              CERTIFICATE                                               ERRATA
    3
                                                              2             - - - - - -
    4
                                                              3
    5             I HEREBY CERTIFY that the witness
        was duly sworn by me and that the deposition is a     4 PAGE LINE CHANGE
    6   true record of the testimony given by the             5 ____ ____ _____________________________________
        witness.                                              6     REASON: _____________________________________
    7
                 It was requested before
                                                              7   ____ ____ _____________________________________
    8   completion of the deposition that the witness,        8     REASON: _____________________________________
        ANDY PALMER, RPh, have the opportunity to read        9   ____ ____ _____________________________________
    9   and sign the deposition transcript.                  10     REASON: _____________________________________
   10
   11                                                        11   ____ ____ _____________________________________
   12                                                        12     REASON: _____________________________________
   13                                                        13   ____ ____ _____________________________________
            __________________________________               14     REASON: _____________________________________
   14       ANN MARIE MITCHELL, a Federally                  15   ____ ____ _____________________________________
            Approved Certified Realtime
   15       Reporter, Registered Diplomate                   16     REASON: _____________________________________
            Reporter, Registered Merit Reporter and          17   ____ ____ _____________________________________
   16       Notary Public                                    18     REASON: _____________________________________
   17
   18
                                                             19   ____ ____ _____________________________________
   19             (The foregoing certification of            20     REASON: _____________________________________
   20   this transcript does not apply to any                21   ____ ____ _____________________________________
   21   reproduction of the same by any means, unless        22     REASON: _____________________________________
   22   under the direct control and/or supervision of       23   ____ ____ _____________________________________
   23   the certifying reporter.)
   24                                                        24     REASON: _____________________________________

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    1           INSTRUCTIONS TO WITNESS                       1
    2                                                         2         ACKNOWLEDGMENT OF DEPONENT
                                                              3
    3             Please read your deposition over
                                                              4           I,_____________________, do
    4   carefully and make any necessary corrections.
                                                              5 hereby certify that I have read the foregoing
    5   You should state the reason in the appropriate
                                                              6 pages, 1 - 341, and that the same is a correct
    6   space on the errata sheet for any corrections         7 transcription of the answers given by me to the
    7   that are made.                                        8 questions therein propounded, except for the
    8             After doing so, please sign the             9 corrections or changes in form or substance, if
    9   errata sheet and date it.                            10 any, noted in the attached Errata Sheet.
   10             You are signing same subject to            11
   11   the changes you have noted on the errata sheet,      12
   12   which will be attached to your deposition.           13 ________________________________________________
   13             It is imperative that you return           14 ANDREW PALMER, RPh                         DATE
   14   the original errata sheet to the deposing            15
                                                             16
   15   attorney within thirty (30) days of receipt of
                                                             17 Subscribed and sworn
   16   the deposition transcript by you. If you fail to
                                                                to before me this
   17   do so, the deposition transcript may be deemed to
                                                             18 _____ day of ______________, 20____.
   18   be accurate and may be used in court.                19 My commission expires:______________
   19
                                                             20
   20
                                                                ____________________________________
   21
                                                             21 Notary Public
   22                                                        22
   23                                                        23
   24                                                        24


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